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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

 In re:                                                      Chapter 11

 CarePoint Health Systems Inc. d/b/a Just Health             Case No. 24-12534 (JKS)
 Foundation, et al.
                                                             (Jointly Administered)
                Debtors.


                    COMBINED DISCLOSURE STATEMENT AND
                  JOINT CHAPTER 11 PLAN OF REORGANIZATION



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Dated: January 7, 2025




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                                DISCLAIMERS

       THIS COMBINED DISCLOSURE STATEMENT AND PLAN CONTAINS CERTAIN
SUMMARIES OF CERTAIN STATUTORY PROVISIONS AND CERTAIN DOCUMENTS
RELATED TO THE COMBINED DISCLOSURE STATEMENT AND PLAN THAT MAY BE
ATTACHED AND ARE INCORPORATED BY REFERENCE AND DESCRIBES CERTAIN
EVENTS IN THE CHAPTER 11 CASES. ALTHOUGH THE PLAN PROPONENTS BELIEVE
THAT THIS INFORMATION IS FAIR AND ACCURATE, THIS INFORMATION IS QUALIFIED
IN ITS ENTIRETY TO THE EXTENT THAT IT DOES NOT SET FORTH THE ENTIRE TEXT OF
SUCH DOCUMENTS OR STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH EVENTS.
THE TERMS OF THE COMBINED DISCLOSURE STATEMENT AND PLAN GOVERN TO THE
EXTENT OF ANY INCONSISTENCY WITH ANY OTHER DOCUMENTS RELATED TO THE
COMBINED DISCLOSURE STATEMENT AND PLAN. CREDITORS AND OTHER
INTERESTED PARTIES SHOULD READ THE COMBINED DISCLOSURE STATEMENT AND
PLAN, THE DOCUMENTS RELATED THERETO, AND THE APPLICABLE STATUTES
THEMSELVES FOR THE FULL AND COMPLETE STATEMENTS OF SUCH TERMS AND
PROVISIONS.

     THE FACTUAL STATEMENTS AND REPRESENTATIONS CONTAINED HEREIN OR
ATTACHED HERETO ARE MADE AS OF THE DATE OF THIS COMBINED DISCLOSURE
STATEMENT AND PLAN, UNLESS ANOTHER TIME IS SPECIFIED. THIS COMBINED
DISCLOSURE STATEMENT AND PLAN WAS COMPILED FROM INFORMATION OBTAINED
FROM NUMEROUS SOURCES BELIEVED TO BE ACCURATE TO THE BEST OF THE PLAN
PROPONENTS’ KNOWLEDGE, INFORMATION, AND BELIEF. THERE CAN BE NO
ASSURANCES THAT THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT
ANY TIME AFTER THIS DATE. THE PLAN PROPONENTS DISCLAIM ANY OBLIGATION
TO UPDATE ANY SUCH STATEMENTS AFTER THE SOLICITATION OF VOTES TO ACCEPT
OR REJECT THE PLAN. THE DELIVERY OF THE COMBINED DISCLOSURE STATEMENT
AND PLAN SHALL NOT BE DEEMED OR CONSTRUED TO CREATE ANY IMPLICATION
THAT THE INFORMATION CONTAINED HEREIN IS CORRECT AT ANY TIME AFTER THE
DATE HEREOF.

      NO REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE ACCURACY OF
THE FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS REGARDING
THE DEBTORS’ BUSINESS. EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL
INFORMATION CONTAINED IN THIS COMBINED DISCLOSURE STATEMENT AND PLAN
AND IN THE RELATED EXHIBITS HAS NOT BEEN AUDITED BY A CERTIFIED PUBLIC
ACCOUNTANT AND HAS NOT BEEN PREPARED IN ACCORDANCE WITH GENERALLY
ACCEPTED ACCOUNTING PRINCIPLES IN THE UNITED STATES OR ANY OTHER
JURISDICTION.

     THIS COMBINED DISCLOSURE STATEMENT AND PLAN HAS BEEN PREPARED IN
ACCORDANCE WITH BANKRUPTCY CODE SECTIONS 1123 AND 1125 AND BANKRUPTCY
RULE 3016 AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL OR STATE
SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAWS. THIS COMBINED
DISCLOSURE STATEMENT AND PLAN HAS NOT BEEN APPROVED OR DISAPPROVED BY
THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION (THE “SEC”), ANY
STATE SECURITIES COMMISSION OR ANY SECURITIES EXCHANGE OR ASSOCIATION,
NOR HAS THE SEC, ANY STATE SECURITIES COMMISSION, OR ANY SECURITIES


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EXCHANGE OR ASSOCIATION PASSED UPON THE ACCURACY OR ADEQUACY OF THE
STATEMENTS CONTAINED HEREIN. NO OTHER GOVERNMENTAL OR OTHER
REGULATORY AUTHORITY HAS PASSED ON, CONFIRMED, OR DETERMINED THE
ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED HEREIN.

     EXCEPT AS EXPRESSLY SET FORTH HEREIN, NOTHING STATED HEREIN SHALL
BE DEEMED OR CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY BY ANY
PARTY, OR BE DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL
EFFECTS OF THE COMBINED DISCLOSURE STATEMENT AND PLAN ON THE DEBTORS
OR HOLDERS OF CLAIMS OR INTERESTS. CERTAIN STATEMENTS CONTAINED HEREIN,
BY NATURE, ARE FORWARD-LOOKING AND CONTAIN ESTIMATES AND ASSUMPTIONS
AND INVOLVE MATERIAL RISKS AND UNCERTAINTIES THAT ARE SUBJECT TO
CHANGE BASED ON A NUMBER OF FACTORS. ACCORDINGLY, THERE CAN BE NO
ASSURANCE THAT SUCH STATEMENTS WILL REFLECT ACTUAL OUTCOMES AND THE
DEBTORS’ FUTURE PERFORMANCE AND FINANCIAL RESULTS MAY DIFFER
MATERIALLY FROM THOSE EXPRESSED OR IMPLIED IN ANY SUCH FORWARD-
LOOKING STATEMENTS.

     ANY PROJECTED RECOVERIES TO CREDITORS SET FORTH IN THE COMBINED
DISCLOSURE STATEMENT AND PLAN ARE BASED UPON THE ANALYSES PERFORMED
BY THE PLAN PROPONENTS AND THEIR ADVISORS. ALTHOUGH THE PLAN
PROPONENTS AND THEIR ADVISORS HAVE MADE EVERY EFFORT TO VERIFY THE
ACCURACY OF THE INFORMATION PRESENTED HEREIN, THE PLAN PROPONENTS AND
THEIR ADVISORS CANNOT MAKE ANY REPRESENTATIONS OR WARRANTIES
REGARDING THE ACCURACY OF SUCH PROJECTED RECOVERIES.

      HOLDERS OF CLAIMS AND INTERESTS SHOULD NOT CONSTRUE THE CONTENTS
OF THIS COMBINED DISCLOSURE STATEMENT AND PLAN AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL, OR TAX ADVICE. THEREFORE, EACH SUCH HOLDER SHOULD
CONSULT WITH ITS OWN LEGAL, BUSINESS, FINANCIAL, AND TAX ADVISORS AS TO
ANY SUCH MATTERS CONCERNING THE COMBINED DISCLOSURE STATEMENT AND
PLAN AND THE TRANSACTIONS CONTEMPLATED HEREBY.

      IF YOU ARE ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, YOU ARE
RECEIVING A BALLOT WITH YOUR NOTICE OF THE COMBINED DISCLOSURE
STATEMENT AND PLAN. PRIOR TO DECIDING WHETHER OR HOW TO VOTE ON THE
PLAN, EACH HOLDER OF A CLAIM THAT IS ENTITLED TO VOTE SHOULD CAREFULLY
REVIEW ALL OF THE INFORMATION IN THIS COMBINED DISCLOSURE STATEMENT
AND PLAN, INCLUDING THE RISK FACTORS DESCRIBED IN GREATER DETAIL HEREIN.

    THE PLAN PROPONENTS AND HUDSON REGIONAL HOSPITALS, LLC
SUPPORT CONFIRMATION OF THE COMBINED DISCLOSURE STATEMENT
AND PLAN AND RECOMMEND ALL HOLDERS OF CLAIMS ENTITLED TO
VOTE ON THE PLAN VOTE TO ACCEPT THE PLAN.




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                                                 ARTICLE I.
                                               INTRODUCTION

A.       Overview1

       The Debtors and the Official Committee of Unsecured Creditors (the “UCC” and together
with the Debtors, the “Plan Proponents”) hereby propose the Combined Disclosure Statement and
Joint Chapter 11 Plan of Reorganization (the disclosure statement portion hereof, the “Disclosure
Statement” and the chapter 11 plan portion hereof, the “Plan”, as the same may be subsequently
modified, amended, or supplemented from time to time), pursuant to Bankruptcy Code sections
1125 and 1129.2 The Plan Proponents are the proponents of the Plan within the meaning of
Bankruptcy Code section 1129.

        The Plan Proponents submit the Disclosure Statement pursuant to Bankruptcy Code section
1125 to Holders of Claims against and Interests in the Debtors in connection with (i) solicitation
of acceptances of the Plan; and (ii) the hearing to consider approval of the Disclosure Statement.
The Disclosure Statement contains, among other things, a discussion of the Debtors’ history,
business operations, events leading to the filing of the Chapter 11 Cases, significant events that
have occurred during the Chapter 11 Cases, certain risk factors, and a discussion of certain other
related matters. The Disclosure Statement also discusses the Confirmation process and the
procedures for voting, which procedures must be followed by the Holders of Claims entitled to
vote under the Plan in order for their votes to be counted.

        The Plan constitutes a joint chapter 11 plan of reorganization for the Debtors. Except as
otherwise provided by Order of the Court, Distributions will occur on the Effective Date or as soon
thereafter as is practicable. The Plan provides that, upon the Effective Date, the Litigation Trust
Assets will be transferred to the Litigation Trust. The Litigation Trust Assets will be administered
and distributed as soon as practicable pursuant to the terms of the Plan and the Litigation Trust
Agreement.

        Subject to the restrictions on modifications set forth in Bankruptcy Code section 1127 of
and Bankruptcy Rule 3019 and those restrictions on modifications set forth in Article XVI hereof,
the Plan Proponents expressly reserve the right to alter, amend, or modify the Plan, one or more
times, before its substantial Consummation.

B.       Summary of Treatment of Claims and Interests

     ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS ENTITLED TO VOTE ON
THE PLAN ARE ENCOURAGED TO READ THE COMBINED DISCLOSURE STATEMENT
AND PLAN IN ITS ENTIRETY, AND TO CONSULT WITH AN ATTORNEY, BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN.



1
     Capitalized terms not defined in this introduction shall have the same meanings set forth in Article II.A hereof.
2
     Copies of all Filings in the Chapter 11 Cases (as defined herein) can be obtained and viewed free of charge at the
     following web address: https://dm.epiq11.com/case/carepoint/info.

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        The classification and treatment of Claims against the Debtors pursuant to the Plan is as
set forth below and as further detailed in Article V hereof:3

                                                                                                              Estimated
                                                                                                                Dollar
                                                                                                              Amount of
               Claim /                                                                         Voting
    Class                                    Treatment                         Status                          Allowed
               Interest                                                                        Rights
                                                                                                               Claims /
                                                                                                              Projected
                                                                                                              Recovery
                              On, or as soon as reasonably
                              practicable after the Effective
                              Date, HRH shall receive on
                              account of its Allowed HRH
                              Claims, the HRH Exit Facility.
                              No Litigation Trust Assets shall
                              be used to pay the Allowed HRH
                              Claims (other than certain
                              proceeds of Litigation Claims as
                              set forth herein), which claims                                                 Estimated
                              will be treated as an HRH Exit                                                  Amount:
                              Facility, which will be paid from                                              $88 million
                 HRH                                                                          Entitled
     1                        the Reorganized Debtors’ future                Impaired
                Claims                                                                        to Vote
                              operations. For the avoidance of                                                Projected
                              doubt, the HRH Claims are                                                       Recovery:
                              deemed      Allowed       in     the                                           [●]%-[●]%
                              approximate estimated amount of
                              $88 million for all purposes under
                              the Plan, subject to final
                              reconciliation as shall be set forth
                              in the HRH Exit Facility Credit
                              Agreement and except as
                              provided in Article IX.C of the
                              Plan. For the avoidance of doubt,
                              nothing herein grants HRH more


3
      The information set forth herein is provided in summary form for illustrative purposes only and is subject to
      material change based on certain contingencies, including those related to the Claims reconciliation process.
      Actual recoveries may widely vary within these ranges and any changes to any of the assumptions underlying
      these amounts could result in material adjustments to recovery estimates provided herein and/or the actual
      distributions received by Holders of Allowed Claims. The projected recoveries are based on information available
      as of the date hereof and reflect estimates as of the date hereof only. The reconciliation of Claims remains ongoing,
      which may impact the estimated amounts and projected recoveries reflected above. In addition to the cautionary
      notes contained elsewhere in the Combined Disclosure Statement and Plan, it is underscored that the Plan
      Proponents make no representation as to the accuracy of these recovery estimates. The Plan Proponents reserve
      the right, but expressly disclaim any obligation, to update any estimates or assumptions after the date hereof on
      any basis.


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                                                                                       Estimated
                                                                                         Dollar
                                                                                       Amount of
            Claim /                                                       Voting
 Class                             Treatment                   Status                   Allowed
            Interest                                                      Rights
                                                                                        Claims /
                                                                                       Projected
                                                                                       Recovery
                       rights for purposes of credit
                       bidding than as set forth in
                       Article IX.E.
                       Notwithstanding           anything
                       contained herein, in the event that
                       an Alternative Transaction is
                       consummated, the Allowed HRH
                       Claims shall be paid in full upon
                       the closing of the Alternative
                       Transaction.
                       On, or as soon as reasonably
                       practicable after the Effective
                       Date, Capitala shall receive, on
                       account of its Allowed Capitala
                                                                                       Estimated
                       Claims, the Capitala Exit Facility.
                                                                                      Amount: $[●]
                       Capitala shall receive no
           Capitala                                                       Entitled
   2                   Distributions under the Plan,          Impaired
           Claims                                                         to Vote       Projected
                       other than rights provided under
                                                                                        Recovery:
                       the Capitala Exit Facility. No
                                                                                       [●]%-[●]%
                       Litigation Trust Assets shall be
                       used to pay the Allowed Capitala
                       Claims.

                       Holders of Capitala Specialty                                   Estimated
           Capitala    Lending Claims shall not receive                               Amount: $[●]
           Specialty   or retain any property under the                  Deemed
   3                                                          Impaired
           Lending     Plan on account of such Claims.                   to Reject     Projected
            Claims                                                                     Recovery:
                                                                                          0%
                       Holders of Maple Secured                                        Estimated
                       Claims shall not receive or retain                             Amount: $[●]
             Maple
                       any property under the Plan on                    Deemed
   4        Secured                                           Impaired
                       account of such Claims.                           to Reject     Projected
            Claims
                                                                                       Recovery:
                                                                                          0%
            Maple      Holders of Maple Unsecured                                      Estimated
                                                                         Deemed
   5       Unsecured   Claims shall not receive or retain     Impaired                 Amount:
                                                                         to Reject
            Claims                                                                    $14,902,959


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                                                                                       Estimated
                                                                                         Dollar
                                                                                       Amount of
            Claim /                                                       Voting
 Class                             Treatment                   Status                   Allowed
            Interest                                                      Rights
                                                                                        Claims /
                                                                                       Projected
                                                                                       Recovery
                       any property under the Plan on
                       account of such Claims.                                         Projected
                                                                                       Recovery:
                                                                                          0%
                       On, or as soon as reasonably
                       practicable after the later of the
                       Effective Date and the date each
                       Other Secured Claim is Allowed,
                       to the extent not otherwise paid
                       pursuant to another Court order,
                       each Holder of an Allowed Other
                       Secured Claim shall receive from
                       the Reorganized Debtors, on
                       account of, in exchange for, and
                                                                                       Estimated
                       in full and final satisfaction,
                                                                                      Amount: $[●]
             Other     compromise, settlement, release,                   Deemed
   6        Secured    and discharge of such Allowed         Unimpaired     to
                                                                                       Projected
            Claims     Other Secured Claim, (i) cash                      Accept
                                                                                       Recovery:
                       equal to the unpaid portion of the
                                                                                        100%
                       Allowed Other Secured Claim,
                       (ii) the collateral securing such
                       Allowed Other Secured Claim,
                       (iii) the indubitable equivalent of
                       such Allowed Other Secured
                       Claim, or (iv) such other
                       treatment as to which such
                       Holder and the Reorganized
                       Debtors agree in writing.

                       On, or as soon as reasonably
                       practicable after, the Effective
                       Date, except to the extent such                                 Estimated
                       Holder and the Debtors or the                                  Amount: $[●]
            General
                       Litigation Trustee, as applicable,                 Entitled
   7       Unsecured                                          Impaired
                       shall have agreed upon in writing                  to Vote       Projected
            Claims
                       to alternative treatment, each                                   Recovery:
                       Holder of an Allowed General                                    [●]%-[●]%
                       Unsecured Claim shall receive,
                       on account of, in exchange for,


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                                                                                        Estimated
                                                                                          Dollar
                                                                                        Amount of
            Claim /                                                        Voting
 Class                              Treatment                   Status                   Allowed
            Interest                                                       Rights
                                                                                         Claims /
                                                                                        Projected
                                                                                        Recovery
                        and in full and final satisfaction,
                        compromise, settlement, release,
                        and discharge of such Allowed
                        General Unsecured Claim, a Pro
                        Rata beneficial interest in the
                        Litigation Trust.

                        Holders of Insured Claims shall
                                                                                        Estimated
                        recover only from the proceeds of
                                                                                       Amount: $[●]
                        available insurance and shall not
            Insured                                                        Entitled
   8                    be entitled to any Distributions       Impaired
            Claims                                                         to Vote      Projected
                        from the Reorganized Debtors or
                                                                                        Recovery:
                        Litigation Trust.
                                                                                          TBD
                        Holders of Prior Owner Claims                                   Estimated
                        shall not receive or retain any                                Amount: $[●]
             Prior
                        property under the Plan on                        Deemed
   9        Owner                                              Impaired
                        account of such Claims.                           to Reject     Projected
            Claims
                                                                                        Recovery:
                                                                                           0%
                        Holders of Intercompany Claims
                                                                                        Estimated
                        shall receive no recovery under
                                                                                       Amount: $[●]
                        the Plan as a result of the
           Intercompa                                                     Deemed
   10                   substantive consolidation of the       Impaired
            ny Claims                                                     to Reject     Projected
                        Debtors’ Estates for purposes of
                                                                                        Recovery:
                        voting and Distribution.
                                                                                           0%
   11       Bayonne     Bayonne Interests shall be             Impaired   Deemed           N/A
            Interests   cancelled by the Reorganized                      to Reject
                        Debtors on the later of: (a) the
                        date that is thirty (30) days after
                        the last applicable provider
                        agreement is transferred to the
                        entity designated as the new
                        operator of the assets of Bayonne,
                        or (b) twenty four (24) months
                        after the Effective Date, and
                        Holders of Bayonne Interests
                        shall not receive or retain any

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                                                                                         Estimated
                                                                                           Dollar
                                                                                         Amount of
              Claim /                                                        Voting
 Class                              Treatment                   Status                    Allowed
              Interest                                                       Rights
                                                                                          Claims /
                                                                                         Projected
                                                                                         Recovery
                         property under the Plan on
                         account of such Bayonne
                         Interests.

     12       Other      Other     Interests   shall     be   Unimpaired    Deemed          N/A
             Interests   unaffected by the Plan and the                       to
                         Holders thereof shall retain all                   Accept
                         legal, equitable and contractual
                         rights to which such Interests are
                         otherwise entitled.


        In the event the Plan is not confirmed and the Chapter 11 Cases are dismissed or the cases
of the for-profit Debtors are converted to cases under chapter 7 of the Bankruptcy Code, the
settlements provided for herein will be void and the projected recoveries set forth above will not
be available.

        Therefore, in the Plan Proponents’ view, the Plan offers Holders of Allowed Claims the
best opportunity to maximize value for recovery purposes and is therefore in the best interests of
all creditors. Accordingly, the Plan Proponents urge the Holders of HRH Claims, Capitala Claims,
General Unsecured Claims and Insured Claims to vote to accept the Plan.

                                   ARTICLE II.
           DEFINITIONS, RULES OF INTERPRETATION AND CONSTRUCTION,
                  COMPUTATION OF TIME, AND GOVERNING LAW

A.        Definitions

        For purposes of the Combined Disclosure Statement and Plan, except as expressly provided
herein or unless the context otherwise requires, all capitalized terms not otherwise defined herein
shall have the meanings ascribed to them in this Article II.

        1.1    “Accounts Receivable” means the Debtors’ accounts receivable that have yet to
be collected and converted to Cash as of the Effective Date. For avoidance of doubt, this definition
includes health care claims as well as rebate and credit card receivables.

        1.2   “Administrative and Priority Claims Estimate” means, as of the Effective Date,
the estimated amount, exclusive of Professional Fee Claims, of all unpaid Claims that will be
Allowed Administrative Expense Claims, Allowed Priority Tax Claims, and Allowed Priority
Non-Tax Claims.

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        1.3     “Administrative Expense Claim” means a Claim against the Debtors or their
Estates for costs or expenses of administration of the Estate pursuant to Bankruptcy Code sections
364(c)(1), 503(b), 503(c), 507(b), or 1114(e)(2), including: (a) the actual and necessary costs and
expenses incurred after the Petition Date and through the Effective Date of preserving the Estates
and operating the business of the Debtors; (b) compensation for legal, financial advisory,
accounting, and other services and reimbursement of expenses awarded or allowed under
Bankruptcy Code sections 330(a) or 331, including Professional Fee Claims; and (c) all fees and
charges assessed against the Estates under chapter 123 of title 28 of the United States Code, 28
U.S.C. sections 1911-1930.

       1.4     “Administrative Expense Claims Bar Date” means the deadline for filing
requests for payment of Administrative Expense Claims (other than a Professional Fee Claim or
any Statutory Fees), which shall be 30 days after the Effective Date, unless otherwise ordered by
the Court; provided that Professional Fee Claims shall be subject to the Professional Fee Claims
Bar Date.

      1.5     “Administrative Expense Claims Reserve” means the reserve of Cash funded by
the Debtors and maintained by Litigation Trust for the benefit of Holders of Allowed
Administrative Expense Claims (except Professional Fee Claims) and Allowed Priority Claims in
an amount equal to the Administrative and Priority Claims Estimate.

       1.6     “Affiliate” shall have the meaning set forth in Bankruptcy Code section 101(2).

        1.7   “Allowed” means, when used in reference to a Claim or Interest within a particular
Class, an Allowed Claim or Interest in the specified Class or of a specified type.

         1.8    “Allowed Claim” means a Claim or any portion thereof (a) that has been allowed
by a Final Order of the Court, (b) that has been Scheduled as a liquidated, non-contingent, and
undisputed Claim in an amount greater than zero in the Schedules, and the Schedules have not
been amended with respect to such Claim on or before the Claims Objection Deadline or the
expiration of such other applicable period fixed by the Court, (c) that is the subject of a timely
Filed Proof of Claim and either (i) no objection to its allowance has been Filed on or before the
Claims Objection Deadline or the expiration of such other applicable period fixed by the Court or
(ii) any objection to its allowance has been settled, waived through payment or withdrawn, or has
been denied by a Final Order, or (d) that is expressly allowed in a liquidated amount (x) in the Plan
or (y) after the Effective Date, by the Litigation Trustee in writing; provided, however, that with
respect to an Administrative Expense Claim, “Allowed Claim” means an Administrative Expense
Claim as to which a timely written request for payment has been filed with the Court or, if after
the       Effective       Date,       with      the      Claims        and      Noticing       Agent
(https://dm.epiq11.com/case/carepoint/claims), by the Administrative Expense Claims Bar Date
and as to which (a) the Debtors or the Litigation Trustee, as applicable, or any other party-in-
interest (x) has not Filed an objection on or before the Claims Objection Deadline or the expiration
of such other applicable period fixed by the Court or (y) has interposed a timely objection and such
objection has been settled, waived through payment or withdrawn, or has been denied by Final
Order, or (b) after the Effective Date, the Litigation Trustee has expressly allowed in a liquidated
amount in writing. For purposes of computing Distributions under the Plan, a Claim that has been
deemed “Allowed” shall not include interest, fees, costs, or charges on such Claim from and after

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the Petition Date, except as provided in Bankruptcy Code section 506(b) or as otherwise expressly
set forth in the Plan.

           1.9     “Alternative Transaction” has the meaning set forth in Article IX.E hereof.

        1.10 “Assets” means all of the assets of the Debtors of any nature whatsoever, including,
without limitation, all property of the Estates pursuant to Bankruptcy Code section 541, Cash,
Causes of Action, Accounts Receivable, tax refunds, claims of right, interests and property, real
and personal, tangible and intangible, and the proceeds of all of the foregoing.

       1.11 “Avoidance Actions” means any and all Causes of Action of the Debtors arising
under chapter 5 of the Bankruptcy Code, including, without limitation, sections 544, 545, 547,
548, 549, and 550 thereof, and/or similar state law Causes of Action.

        1.12 “Ballot” means the applicable form or forms of ballot(s) distributed to each Holder
of an Impaired Claim entitled to vote on the Plan on which the Holder indicates either acceptance
or rejection of the Plan.

         1.13 “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101
et seq., as such title has been, or may be, amended from time to time, to the extent that any such
amendment is applicable to the Chapter 11 Cases.

        1.14 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, the
Official Bankruptcy Forms, and the Local Rules, as each has been, or may be, amended from time
to time, to the extent that any such amendment is applicable to the Chapter 11 Cases.

       1.15        “Bayonne” means Bayonne Medical Center.

        1.16 “Bayonne DIP Credit Agreement” means that certain Debtor-in-Possession Loan
and Security Agreement among Bayonne Opco and IJKG, as loan parties, and DIP Lender, as
lender, dated as of October 9, 2024.

       1.17 “Bayonne Interests” means all Interests in Debtors Benego CarePoint LLC,
Evergreen Community Assets, LLC, Bayonne Intermediate Holdco, LLC, Sequoia BMC Holdco,
LLC, IJKG, LLC, and IJKG Opco LLC.

      1.18 “Bayonne Opco” means IJKG Opco LLC d/b/a CarePoint Health – Bayonne
Medical Center.

       1.19        “Bayonne/Maple Loan Agreement” is defined in Article III.A.3.ii hereof.

        1.20 “Books and Records” means any and all books and records of the Debtors,
including any and all documents and any and all computer generated or computer-maintained
books and records and computer data, as well as electronically generated or maintained books and
records or data, along with books and records of the Debtors maintained by or in the possession of
third parties, wherever located.




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        1.21 “Business Day” means any day other than a Saturday, Sunday, or any legal holiday
(as that term is defined in Bankruptcy Rule 9006(a)).

       1.22     “Capitala” means Capitala Private Advisors, LLC.

        1.23 “Capitala Claims” means all Claims of Capitala, as administrative agent and
collateral agent for (a) the lenders under the Christ/Capitala Loan Agreement, and (b) the lenders
under the Hoboken/Capitala Loan Agreement.

       1.24 “Capitala Exit Facility” means a new credit facility provided to the Debtors
pursuant to the Capitala Exit Facility Credit Agreement and related agreements and documents.

       1.25 “Capitala Exit Facility Credit Agreement” means a credit agreement by and
among, certain of the Debtors, Capitala, as administrative agent and collateral agent, and the
lenders party thereto, in form and substance acceptable to HRH, Capitala, the Debtors and the
UCC.

       1.26     “Capitala Specialty Lending” means Capitala Specialty Lending Corp.

      1.27 “Capitala Specialty Lending Claims” means all Claims of Capitala Specialty
Lending, as administrative agent and collateral agent for the lenders under the Sequoia Credit
Agreement.

       1.28     “CarePoint” means CarePoint Health Systems, Inc.

       1.29     “Cash” means legal tender of the United States of America and equivalents thereof.

        1.30 “Causes of Action” means any and all claims, actions, proceedings, causes of
action, Avoidance Actions, suits, accounts, controversies, agreements, promises, rights to legal
remedies, rights to equitable remedies, rights to payment and Claims, whether known or unknown,
reduced to judgment or not reduced to judgment, liquidated or unliquidated, contingent or non-
contingent, matured or unmatured, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, in law, equity or otherwise, based in whole or in part upon any act or
omission or other event occurring prior to the Petition Date or during the course of the Chapter 11
Cases, through and including the Effective Date, that the Debtors and/or the Estates may hold
against any Person or Entity.

       1.31 “Chapter 11 Cases” means the chapter 11 cases of the Debtors, which are jointly
administered under case number 24-12534 (JKS) in the Court.

       1.32     “Christ Hospital” means Christ Hospital in Jersey City.

       1.33     “Christ Opco” means Hudson Hospital Opco LLC d/b/a CarePoint Health – Christ
Hospital.

       1.34     “Christ/Capitala Loan Agreement” is defined in Article III.A.3.i hereof.




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       1.35 “Christ/HUMC DIP Credit Agreement” means that certain Super Priority Senior
Secured Debtor-in-Possession Credit and Security Agreement among CarePoint, HUMC Opco and
Christ Opco, as borrowers, and DIP Lender, as lender, dated as of October 31, 2024.

       1.36     “Christ/Maple Loan Agreement” is defined in Article III.A.3.ii hereof.

        1.37 “Claim” means a claim against the Debtors, whether or not asserted, as such term
is defined in Bankruptcy Code section 101(5).

       1.38 “Claims and Noticing Agent” means Epiq Corporate Restructuring, LLC or any
successor thereto.

        1.39 “Claims Objection Deadline” means the last day for filing objections to Claims,
Proofs of Claim and Administrative Expense Claims (other than Disallowed Claims for which no
objection or request for estimation is required), which day shall be 180 days after the Effective
Date; provided, however, that the period of time for filing objections to Claims and Administrative
Expense Claims shall automatically renew for successive periods of 180 days until the earlier of
(i) the date upon which all Claims and Administrative Expense Claims have been Allowed or
Disallowed, or (ii) the date fixed by the Court upon motion of the Litigation Trustee, a Holder of
a Claim, or another party in interest.

       1.40 “Class” means each category or group of Holders of Claims or Interests that has
been designated as a class in Article V hereof.

       1.41     “Clerk” means the clerk of the Court.

       1.42 “Collateral Surrender Agreement” means the Collateral Surrender and
Operations Transfer Agreement, as amended hereby, dated as of October 9, 2024.

       1.43 “Collateral Surrender Motion” means the Motion of Debtors IJKG Opco, LLC
and IJKG, LLC for Entry of (A) an Interim Order Approving Collateral Surrender and Operations
Transfer Agreement to Allow Inter Alia, Interim Hospital Operations, (B) a Final Order Approving
a Private Sale of All or Substantially All Assets of IJKG Opco, LLC and IJKG, LLC and (C)
Granting Related Relief [D.I. 18].

        1.44 “Combined Disclosure Statement and Plan” means this combined disclosure
statement and chapter 11 plan of reorganization, including, without limitation, the Disclosure
Statement, the Plan, the Plan Supplement(s), all exhibits, supplements, appendices, and schedules
hereto, either in their present form or as the same may be altered, amended, or modified from time
to time in accordance with the terms hereof.

       1.45 “Confirmation” means the entry of the Confirmation Order, subject to all
conditions specified in Article XIII.A having been satisfied or waived pursuant to Article XIII.D.

      1.46 “Confirmation Date” means the date of entry of the Confirmation Order on the
Docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.



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       1.47 “Confirmation Hearing” means the hearing(s) held by the Court to consider
confirmation of the Plan pursuant to Bankruptcy Code section 1129, as such hearing may be
adjourned or continued from time to time.

          1.48     “Confirmation Hearing Notice” shall have the meaning set forth in Article VI.D
hereof.

       1.49 “Confirmation Order” means the order of the Court confirming the Plan pursuant
to Bankruptcy Code section 1129.

          1.50     “Consummation” means the occurrence of the Effective Date.

       1.51 “Court” means the United States Bankruptcy Court for the District of Delaware,
having jurisdiction over the Chapter 11 Cases, or such other court as may have jurisdiction over
the Chapter 11 Cases.

       1.52        “Creditor” means any Person or Entity that is the Holder of a Claim against the
Debtors.

      1.53 “Current D&Os” means the Debtors’ current officers, directors, trustees and/or
managers serving on the Effective Date.

          1.54     “Debtor Releases” shall have the meaning set forth in Article III.D hereof.

         1.55 “Debtors” means CarePoint Health Systems Inc. d/b/a Just Health Foundation and
its affiliated debtors and debtors-in-possession in the Chapter 11 Cases.

          1.56     “Delaware Action” shall have the meaning set forth in Article III.A hereof.

          1.57     “DIP Lender” means Bayonne Medical Center Opco, LLC.

      1.58 “DIP Lender Claims” means all claims of the DIP Lender under the Christ/HUMC
DIP Credit Agreement and the Bayonne DIP Credit Agreement.

        1.59 “Disallowed” means, when used in reference to a Claim or Interest within a
particular Class, a Disallowed Claim or Interest in the specified Class or of a specified type.

        1.60 “Disallowed Claim” means a Claim or any portion thereof that (a) has been
disallowed by a Final Order, (b) is Scheduled at zero or as contingent, disputed, or unliquidated
and as to which no Proof of Claim has been Filed by the General Claims Bar Date or deemed
timely Filed with the Court pursuant to either the Bankruptcy Code or any Final Order or under
applicable law, (c) is not Scheduled, and as to which (i) no Proof of Claim has been Filed by the
General Claims Bar Date or deemed timely Filed with the Court pursuant to either the Bankruptcy
Code or any Final Order or under applicable law, or (ii) no request for payment of an
Administrative Expense Claim has been filed by the Administrative Expense Claims Bar Date or
deemed timely filed pursuant to either the Bankruptcy Code or any Final Order or under applicable
law, or (d) after the Effective Date, has been disallowed in a written agreement by and between
the Litigation Trustee and the Holder of such Claim.

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       1.61 “Disbursing Agent” means the Litigation Trustee; provided, that the Litigation
Trustee may, in its discretion, retain a third party to act as Disbursing Agent.

        1.62 “Disputed Claim” means a Claim or any portion thereof, that is neither an Allowed
Claim nor a Disallowed Claim, that (a) has not been Scheduled by the Debtors or has been
Scheduled as unknown, contingent, unliquidated, disputed, or at zero, whether or not such Claim
is the subject of a proof of Claim; (b) is the subject of a proof of Claim that differs in nature,
amount or priority from the Schedules (except to the extent that the Litigation Trustee elects, in its
discretion, to treat the Claim asserted in such proof of Claim as an Allowed Claim); or (c) is the
subject of an objection interposed by the Claims Objection Deadline or such other time period
fixed by the Court, which has not been withdrawn or overruled by a Final Order; provided,
however, that a Claim shall not be a Disputed Claim to the extent it becomes an Allowed Claim or
Disallowed Claim.

        1.63 “Disputed Claim Amount” means (a) if a liquidated amount is set forth in the
Proof of Claim relating to a Disputed Claim, (i) the liquidated amount set forth in the Proof of
Claim relating to a Disputed Claim; (ii) an amount agreed to by the Reorganized Debtors or the
Litigation Trustee, as applicable, and the Holder of such Disputed Claim; or (iii) if a request for
estimation is Filed by any party, the amount at which such Claim is estimated by the Court; (b) if
no liquidated amount is set forth in the Proof of Claim relating to a Disputed Claim, (i) an amount
agreed to by the Reorganized Debtors or the Litigation Trustee, as applicable, and the Holder of
such Disputed Claim or (ii) the amount estimated by the Court with respect to such Disputed
Claim; or (c) if the Claim is a Disallowed Claim, zero.

        1.64 “Disputed Claims Reserve” means the reserve established and maintained by the
Litigation Trust pursuant to and in accordance with the terms of the Litigation Trust Agreement
for the payment of Disputed Claims that become Allowed Claims after the Effective Date. The
Disputed Claims Reserve need not be maintained by the Litigation Trust in a segregated account.

       1.65 “Distribution” means any distribution to be made by the Disbursing Agent in
accordance with the Plan of, as the case may be: (a) Cash or (b) any other consideration or residual
value distributed to Holders of Allowed Claims under the terms and provisions of the Plan.

       1.66 “Distribution Date” means any date on which a Distribution is made to Holders
of Allowed Claims under the Plan, or as otherwise agreed. The first Distributions shall occur on
or as soon as practicable after the Effective Date or as otherwise determined by the Litigation
Trustee. To the extent subsequent Distributions are necessary, such subsequent Distributions shall
occur as soon after the first Distribution Date as the Litigation Trustee shall determine in
accordance with the Litigation Trust Agreement.

       1.67 “Distribution Record Date” means the record date for the purpose of determining
Holders of Allowed Claims entitled to receive Distributions under the Plan on account of Allowed
Claims, which date shall be the Confirmation Date or such other date designated in the
Confirmation Order or any subsequent Court order.

       1.68     “Docket” means the docket in the Chapter 11 Cases maintained by the Clerk.



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        1.69 “D&O Claims” means any and all rights and Causes of Action arising under state
or federal law against the Current D&Os (subject to Article IX.D of the Plan) and/or the Debtors’
former officers, directors, trustees and/or managers, including, but not limited to, claims for breach
of fiduciary duty, and the proceeds of any such rights and claims, including from insurance policies
associated therewith; provided, however, that any claims or Causes of Action against the Current
D&Os shall be treated as set forth herein.

       1.70 “Effective Date” means the first Business Day on which all conditions to the
Consummation of the Plan set forth in Article XIII.B have been satisfied or waived in accordance
with Article XIII.D.

        1.71     “Entity” means an entity as defined in Bankruptcy Code section 101(15).

        1.72     “Epiq” means Epiq Corporate Restructuring, LLC.

       1.73 “Estates” means the estates of the Debtors created upon the commencement of the
Chapter 11 Cases pursuant to Bankruptcy Code section 541.

        1.74 “Exculpated Parties” means, collectively, and in each case in its capacity as such:
(a) the Reorganization Committee and the Current D&Os, solely with respect to their post-petition
conduct; (b) the UCC, its Professionals and its members (solely in their capacity as such); and (c)
any retained Professional of the Debtors whose retention was approved by the Court.

        1.75 “Executory Contract” means a contract to which any of the Debtors is a party that
is subject to assumption or rejection under Bankruptcy Code section 365.

        1.76     “Exhibit” means an exhibit attached to the Combined Disclosure Statement and
Plan.

       1.77 “Face Amount” means (a) when used in referenced to a Disputed Claim or
Disallowed Claim, the Disputed Claim Amount; and (b) when used in reference to an Allowed
Claim, the Allowed amount of such Claim.

       1.78 “File”, “Filed”, or “Filing” means, file, filed, or filing with the Court or its
authorized designee in the Chapter 11 Cases.

        1.79     “Final Fee Applications” shall have the meaning set forth in Article IV.D hereof.

        1.80 “Final Order” means an Order of the Court (a) as to which the time to appeal,
petition for certiorari, or move for reargument, rehearing, or new trial has expired and as to which
no appeal, petition for certiorari, or other proceedings for reargument, rehearing, or new trial shall
then be pending; (b) as to which any right to appeal, petition for certiorari, reargue, rehear, or retry
shall have been waived in writing; or (c) in the event that an appeal, writ of certiorari, reargument,
rehearing, or new trial has been sought, as to which (i) such order of the Court shall have been
affirmed by the highest court to which such order is appealed; (ii) certiorari has been denied as to
such order; or (iii) reargument or rehearing or new trial from such order shall have been denied,
and the time to take any further appeal, petition for certiorari, or move for reargument, rehearing,
or new trial shall have expired without such actions having been taken.

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       1.81 “General Claims Bar Date” means the deadline for Filing Proofs of Claim for
Claims arising before the Petition Date, which shall be 30 days after the Effective Date, unless
otherwise ordered by the Court.

        1.82 “General Unsecured Claim” means any Claim against the Debtors that (a) is
unpaid as of the Effective Date and (b) arose or is deemed by the Bankruptcy Code or Court, as
the case may be, to have arisen before the Petition Date and that is not an Administrative Expense
Claim, Priority Tax Claim, Priority Non-Tax Claim, HRH Claim, Capitala Claim, Capitala
Specialty Lending Claim, Maple Secured Claim, Maple Unsecured Claim, Other Secured Claim,
Insured Claim, Prior Owner Claim or Intercompany Claim.

       1.83 “Governmental Claims Bar Date” means the later of (a) the General Claims Bar
Date; and (b) May 2, 2025.

       1.84      “Governmental Unit” shall have the meaning set forth in Bankruptcy Code section
101(27).

       1.85      “Hoboken/Capitala Loan Agreement” is defined in Article III.A.3.i hereof.

       1.86      “HRH” means Hudson Regional Hospitals, LLC.

       1.87 “HRH Exit Facility” means a new credit facility provided to certain of the Debtors
pursuant to the Exit Facility Credit Agreement and related agreements and documents.

        1.88 “HRH Exit Facility Credit Agreement” means a credit agreement by and among,
certain of the Debtors and HRH or its designee, in form and substance acceptable to HRH, the
Debtors and the UCC.

        1.89 “HRH Claims” means all Claims of HRH, the DIP Lender, 29 E. 29 Street
Holdings, LLC, and any of their Affiliates, whether arising before or after the Petition Date,
including, without limitation, the DIP Lender Claims, the Outstanding Judgment, Administrative
Expense Claims (including liabilities incurred by HRH in managing/operating Bayonne, HUMC,
or Christ Hospital, including in the form of equipment and other lease/acquisitions, or
service/maintenance agreements), and any unsecured claims of such parties, and unpaid fees for
HRH’s management/operations of Bayonne, HUMC or Christ Hospital pursuant to the Collateral
Surrender Agreement, the Hospital Facilities MSA and the MSA; provided, however, that the HRH
Claims shall be deemed Allowed in the approximate estimated amount of $88 million for all
purposes under the Plan, subject to final reconciliation as shall be set forth in the HRH Exit Facility
Credit Agreement and except as provided in Article IX.C of the Plan.

       1.90 “HRH Transactions” means the transactions contemplated by, collectively, the
Collateral Surrender Agreement, the Hospital Facilities MSA and the MSA.

        1.91     “Holder” means a Person or Entity who is the beneficial holder of any Claim or
Interest.




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        1.92 “Hospital Facilities Management Motion” means the Motion of the Debtors for
an Order (I) Authorizing the Entry Into the Hospital Facilities Management Services Agreement,
and (II) Granting Related Relief [D.I. 212].

      1.93 “Hospital Facilities MSA” means the Hospital Facilities Management Services
Agreement, dated November 27, 2024.

       1.94     “Hospitals” means Bayonne, Christ Hospital and HUMC.

       1.95     “HUMC” means Hoboken University Medical Center.

       1.96 “HUMC Opco” means HUMC Opco LLC d/b/a CarePoint Health – Hoboken
University Medical Center.

        1.97 “Impaired” means, with respect to a Class of Claims or Interests, a Claim or an
Interest that is impaired within the meaning of Bankruptcy Code section 1124.

       1.98     “Impaired Class” means a Class of Claims or Interests that is Impaired.

        1.99 “Insurance Policies” means any and all insurance policies, insurance settlement
agreements, coverage-in-place agreements, and other agreements, documents, or instruments
relating to the provisions of insurance entered into by or issued to or for the benefit of, at any time,
the Debtors or their predecessors (including, for the avoidance of doubt, any such policies,
agreements, or other documents that have been paid in full).

        1.100 “Insured Claim” means a Claim that arises from personal injury, medical
malpractice, or wrongful death (including slip-and-fall and medical malpractice claims) and that
is covered by the terms of one or more Insurance Policies, or for which a Debtor is entitled to
indemnification, reimbursement, contribution or other payment under one or more Insurance
Policies; provided, however, that all claims for any deductible or self-insured retention obligations
of the Debtors shall be treated as General Unsecured Claims (to the extent Allowed).

       1.101 “Intercompany Claim” means any Claim held by a Debtor against another Debtor,
including, without limitation, (a) any account reflecting intercompany book entries with respect to
another Debtor; (b) any Claim not reflected in such book entries that is held by a Debtor against
another Debtor; and (c) any derivative Claim asserted by or on behalf of one Debtor against another
Debtor.

       1.102 “Interest” means the legal interests, equitable interests, contractual interests,
equity interests, ownership interests, or other rights of any Person or Entity in the Debtors,
including all partnership interests, limited liability company or membership interests, rights,
investment securities, subscriptions or other agreements and contractual rights to acquire or obtain
such an interest in the Debtors, subscription rights and liquidation preferences, and commitments
of any character whatsoever relating to any such equity or ownership interests or obligating the
Debtors to issue, transfer, or sell any interests whether or not certificated, transferable, voting, or
denominated security.



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          1.103 “Internal Revenue Code” shall have the meaning set forth in Article VIII.A
hereof.

        1.104 “Liabilities” means any and all Claims, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, and liabilities, whether liquidated or unliquidated, fixed
or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, arising in law,
equity or otherwise, that are based in whole or in part on any act, event, injury, omission,
transaction or agreement.

          1.105 “Lien” shall have the meaning set forth in Bankruptcy Code section 101(37).

        1.106 “Liquidation Analysis” means the hypothetical chapter 7 liquidation analysis to
be filed with the Plan Supplement.

         1.107 “Litigation Claims” means any and all claims and Causes of Action (known or
unknown) that the Debtors or their Estates have or may have through the Effective Date, including,
without limitation: (i) the right to object to, challenge or otherwise contest any Claims; (ii) all
Avoidance Actions; (iii) all tort claims and D&O Claims; (iv) all claims and Causes of Action of
any kind or nature arising under state or federal law against any of the Debtors’ consultants,
managers, advisors, auditors or other professionals (current or past) relating to services rendered
before the Petition Date; (v) all claims, Causes of Action, and other rights (including rights to
challenge any asserted Lien) of any kind or nature against any Creditor asserting a Secured Claim
in these Chapter 11 Cases other than the Liens and Claims of HRH or its Affiliates/subsidiaries;
(vi) all legal and equitable defenses against any Claim or Causes of Action asserted against the
Debtors; (vii) all claims and Causes of Action of any kind or nature arising under state or federal
law arising under a theory of negligence, professional negligence, and/or malpractice; (viii) all
claims and Causes of Action of any kind or nature arising under state or federal law based upon
the formation and capitalization of the Debtors; (ix) all claims and Causes of Action of any kind
or nature arising from the payment and/or repayment of claims by and/or to any current or former
affiliate of any Debtor herein; (x) all claims and Causes of Action of any kind or nature against
any current or former owners and/or managers of the Debtors and their respective affiliates and
related persons; (xi) claims under any Insurance Policies applicable to the Debtors arising on or
before the Petition Date (subject to the property and casualty exclusion described below);
provided, however, that the foregoing shall not include any cross-claims, counterclaims or third-
party claims involving alleged joint tortfeasors; (xii) all claims or Causes of Action of any kind or
nature arising under any federal and/or state antitrust laws; and (xiii) all lawsuits or Causes of
Action against Aetna, Cigna, their respective affiliates, or other insurers, including any pending or
future litigation against such parties, or other claims of similar kind or nature, arising on or before
November 3, 2023. For the avoidance of doubt, the Litigation Claims shall not include any claims
or Causes of Action released or exculpated under the Plan. Notwithstanding any other provisions
of the Plan, Litigation Claims exclude: (a) all claims and Causes of Action relating to assumed
liabilities, critical vendors, accounts receivable, health care claims, rebate and credit card
receivables; (b) claims and Causes of Action arising from HRH’s management or operations of
the facilities; (c) claims under any property or casualty Insurance Policies of the Debtors; (d)
ordinary course claims submitted to insurance companies, independent dispute resolution,
litigation or arbitration proceedings against insurance companies or intermediaries, or “out of
network transparency act” or “no surprises act” claims or Causes of Action; and (e) claims or

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causes of action personal to HRH or its subsidiaries or Affiliates, including without limitation, 29
E. 29 Street Holdings, LLC and the DIP Lender.

        1.108 “Litigation Trust” means the trust established on the Effective Date for the
purposes of, among other things, investigating, prosecuting and/or settling Litigation Claims;
liquidating the Debtors’ remaining litigation assets, including any Causes of Action, and
distributing the proceeds as required under the Plan and the Litigation Trust Agreement. With
respect to any action required or permitted to be taken by the Litigation Trust, the term includes
the Litigation Trustee or any other Person or Entity authorized to take such action in accordance
with the Litigation Trust Agreement.

       1.109 “Litigation Trust Account” means the bank account created pursuant to Article
IX.K.1 hereof.

        1.110 “Litigation Trust Agreement” means the agreement, in form and substance
acceptable to the UCC, establishing the Litigation Trust in conformity with the provisions of the
Plan approved in the Confirmation Order, and entered into by the Debtors, on behalf of the
Litigation Trust Beneficiaries, and the Litigation Trustee on or prior to the Effective Date pursuant
to the terms of the Plan. A copy of the Litigation Trust Agreement shall be Filed with the Plan
Supplement.

        1.111 “Litigation Trust Assets” means, all assets held from time to time by the
Litigation Trust, including, without limitation: (a) the Litigation Trust Seed Money; (b) the
Litigation Claims and proceeds therefrom, subject to the provisions herein governing the allocation
of such proceeds; and (c) the Administrative Expense Claims Reserve.

      1.112 “Litigation Trust Beneficiaries” means HRH and Holders of Allowed General
Unsecured Claims.

       1.113 “Litigation Trust Expenses” means the fees, expenses, costs or other obligations
incurred, payable or owed by the Litigation Trust (including, but not limited to, fees, costs, and
expenses of the Litigation Trustee, and the fees, costs and expenses of professionals or other
Persons retained by the Litigation Trustee) in connection with carrying out the duties and
responsibilities set forth in the Litigation Trust Agreement and the Plan.

        1.114 “Litigation Trust Interests” means the uncertificated beneficial interests in the
Litigation Trust representing the right of Holders of Allowed General Unsecured Claims and HRH,
to receive Distributions from the Litigation Trust in accordance with the Plan and the Litigation
Trust Agreement.

        1.115 “Litigation Trust Oversight Committee” shall have the meaning set forth in
Article X.B hereof.

        1.116 “Litigation Trust Proceeds” means the Cash or other proceeds generated by the
Litigation Trust after the Effective Date of the Plan, including, without limitation, recoveries on
account of Litigation Claims.



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        1.117 “Litigation Trust Seed Money” means $3,500,000, which HRH shall either: (a)
transfer to the Litigation Trust on the Effective Date; or (b) provide by line of credit to fund the
Litigation Trust, in accordance with the Litigation Trust Agreement.

        1.118 “Litigation Trustee” means [●] or such other Person as determined by the UCC,
in consultation with the Debtors and HRH. HRH shall have the right to approve the Litigation
Trustee, such approval not to be unreasonably withheld. The identity of the Litigation Trustee
shall also be disclosed in the Plan Supplement.

        1.119 “Local Rules” means the Local Rules for the United States Bankruptcy Court for
the District of Delaware.

       1.120 “Maple” means Maple Healthcare, LLC.

        1.121 “Maple Secured Claims” means all Claims of Maple, as administrative agent and
collateral agent for (a) the lenders under the Bayonne/Maple Loan Agreement, and (b) the lenders
under the Christ/Maple Loan Agreement, in each case, to the extent such claims are Secured
Claims.

       1.122 “Maple Unsecured Claims” means all Claims of Maple that are not Maple
Secured Claims, including, without limitation, any Claims under unsecured promissory notes
issued by any of the Debtors.

       1.123 “Mediator” means the Honorable Michael B. Kaplan (United States Bankruptcy
Court, District of New Jersey).

       1.124 “MSA” means the Management Services Agreement dated October 9, 2024.

       1.125 “MSA Motion” means the Motion of the Debtors for Entry of Interim and Final
Orders (I) Authorizing the Assumption of Management Services Agreement, (II) Scheduling a
Final Hearing, and (III) Granting Related Relief [D.I. 19].

       1.126 “Non-U.S. Holder” shall have the meaning set forth in Article VIII.A hereof.

       1.127 “Notice Parties” shall have the meaning set forth in Article VI.A hereof.

        1.128 “Objection(s)” means any objection, application, motion, complaint, or other legal
proceeding seeking, in whole or in part, to disallow, determine, liquidate, classify, reclassify, or
establish the priority, expunge, subordinate, or estimate any Claim (including the resolution of any
request for payment of any Administrative Expense Claim).

        1.129 “Official Bankruptcy Forms” means the Official Bankruptcy Forms, prescribed
by the Judicial Conference of the United States, the observance and use of which is required
pursuant to Bankruptcy Rule 9009, as such forms may be amended, revised, or supplemented from
time to time.

       1.130 “Order” means an order or judgment of the Court as entered on the Docket.



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       1.131 “Other Interests” means all Interests in the Debtors other than Bayonne Interests.

        1.132 “Other Secured Claim” means an Allowed Secured Claim arising prior to the
Petition Date against any of the Debtors, other than HRH Claims, Capitala Claims, Capitala
Specialty Lending Claims, Maple Secured Claims, Maple Unsecured Claims or Prior Owner
Claims.

        1.133 “Outstanding Judgment” means the Consent Order for Foreclosure of Security
Interests and Surrender of Property, Reversion of Operating License, Possession and Entry of
Final Judgment, entered in the Delaware Action on or around October 18, 2024.

       1.134 “PCO” means David N. Crapo, the Debtors’ patient care ombudsman, appointed
by the U.S. Trustee as of November 25, 2024 [D.I. 194], or any successor thereto.

       1.135 “Person” shall have the meaning set forth in Bankruptcy Code section 101(41).

       1.136 “Petition Date” means November 3, 2024.

        1.137 “Plan Supplement” means the documents, schedules, and any exhibits Filed in
connection with the Plan, as amended, supplemented or modified from time to time, including, but
not limited to, (a) the form of the Litigation Trust Agreement; (b) notice of the identity of the
Litigation Trustee; (c) the Liquidation Analysis; (d) a schedule, to be agreed upon by the Debtors,
the UCC, and HRH, providing for the payment of certain employee Claims in excess of the priority
cap under sections 507(a)(4)-(5) of the Bankruptcy Code; (e) the form of the Capitala Exit Facility
Credit Agreement; (f) the form of the HRH Exit Facility Credit Agreement; (g) the Schedule of
Rejected Executory Contracts and Unexpired Leases; and (h) Plan projections.

       1.138 “Plan Supplement Filing Date” means the date that is seven days prior to the
Voting Deadline.

      1.139 “Plan Term Sheet” means that certain Preliminary Plan Term Sheet agreed to by
and among the Debtors, the UCC, HRH and the DIP Lender [D.I. 378].

       1.140 “Priority Claims” means, collectively, Priority Non-Tax Claims and Priority Tax
Claims.

      1.141 “Priority Non-Tax Claim” means a Claim that is accorded priority in right of
payment under Bankruptcy Code section 507, other than a Priority Tax Claim or an Administrative
Expense Claim.

       1.142 “Priority Tax Claim” means a Claim that is entitled to priority under Bankruptcy
Code section 507(a)(8).

         1.143 “Prior Owners” means Vivek Garipalli, James Lawler, Jeffrey Mandler, any
entities directly or indirectly owned or controlled by them or any of their related Persons, including
without limitation, Strategic Ventures LLC, Pheasant Run Ventures, LLC, Oak Management,
LLC, Willow Healthcare Services, LLC, Benego Ventures, LLC, JPL Healthcare Consulting
Limited Liability Company and that certain Freehold Trust that is affiliated with Vivek Garipalli.

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       1.144 “Prior Owner Claim” means any Claim of any of the Prior Owners.

        1.145 “Professional” means any professional Person employed in the Chapter 11 Cases
pursuant to Bankruptcy Code sections 327, 328, 363, or 1103 pursuant to an Order of the Court
and to be compensated for services rendered pursuant to Bankruptcy Code sections 327, 328, 329,
330, or 331.

        1.146 “Professional Fee Claim” means a Claim of a Professional pursuant to Bankruptcy
Code sections 327, 328, 330, 331, or 503(b) for compensation or reimbursement of costs and
expenses relating to services performed on or after the Petition Date and prior to and including the
Effective Date.

        1.147 “Professional Fee Claims Bar Date” means the deadline for Filing all applications
for Professional Fee Claims, which shall be 45 days after the Effective Date.

        1.148 “Professional Fee Claims Objection Deadline” shall have the meaning set forth
in Article IV.D hereof.

        1.149 “Professional Fee Estimate” means (a) with respect to any Professional, a good-
faith estimate of such Professional’s anticipated accrued, unpaid Professional Fee Claims as of the
Effective Date to be provided by each Professional in writing to the Plan Proponents prior to the
commencement of the Confirmation Hearing, or in the absence of such a writing, to be prepared
by the Plan Proponents, and (b) collectively, the sum of all individual Professional Fee Estimates.

       1.150 “Professional Fee Reserve” means the reserve of Cash funded by the Debtors and
maintained by the Reorganized Debtors for the benefit of Holders of Allowed Professional Fee
Claims in an amount equal to the Professional Fee Estimate.

       1.151 “Proof of Claim” means the proof of claim that must be Filed before the General
Claims Bar Date, the Governmental Claims Bar Date, the Administrative Expense Claims Bar
Date, or the Rejection Claims Bar Date, as applicable, which term shall include a request for
payment of an Administrative Expense Claim.

        1.152 “Pro Rata” means, at any time, the proportion that the Face Amount of a Claim in
a particular Class bears to the aggregate Face Amount of all Claims (including Disputed Claims,
but excluding Disallowed Claims) in such Class, unless the Plan provides otherwise.

        1.153 “Rejection Claims Bar Date” means the deadline to File a Proof of Claim for
damages relating to the rejection of an Executory Contract or Unexpired Lease, which is the later
of (a) 30 days after the effective date of rejection of any Unexpired Lease or Executory Contract
of the Debtors as provided by an order of the Court or pursuant to a notice under procedures
approved by the Court, (b) 30 days after the Effective Date with respect to Executory Contracts or
Unexpired Leases rejected pursuant to the Plan, (c) any other date set by an order of the Court, or
(d) the General Claims Bar Date or the Governmental Claims Bar Date, whichever is applicable.

        1.154 “Released Parties” means, collectively, the following Entities, each in their
capacity as such: (a) HRH, including its affiliates, subsidiaries and designees, including without
limitation 29 E. 29 Street Holdings, LLC, NJMHMC LLC d/b/a Hudson Regional Hospital, the

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DIP Lender, the newly-formed management services organization who shall administer the four-
hospital system as contemplated by the MSA, and their respective former, present and future
owners, officers, directors, managers, employees, independent contractors, attorneys, agents and
representatives); (b) the UCC, its Professionals and its members (only in their capacity as such);
and (c) the Reorganization Committee and the Debtors’ Professionals whose retention was
approved by the Court.

        1.155 “Reorganization Committee” means the Debtors’ independent reorganization
committee, consisting of the Honorable Judith Fitzgerald (Ret.), the Honorable Kevin Gross (Ret.),
and Clifford A. Zucker, who are authorized to, inter alia, oversee and control the Debtors’
restructuring process and evaluate the proposed transactions with HRH, as well as any proposed
Alternative Transaction.

       1.156 “Reorganized Debtors” means the Debtors, or any successor or assign thereto, in
the form of a corporation, limited liability company, partnership, not-for-profit entity, or other
form, as the case may be, on and after the Effective Date.

       1.157 “Schedule of Rejected Executory Contracts and Unexpired Leases” means the
schedule of Executory Contracts and Unexpired Leases to be rejected by the Debtors pursuant to
the Plan, if any, as set forth and as amended, modified or supplemented from time to time in the
Plan Supplement.

        1.158 “Scheduled” means, with respect to any Claim, the status and amount, if any, of
that Claim as set forth in the Schedules.

        1.159 “Schedules” means the schedules of assets and liabilities and the statements of
financial affairs Filed by the Debtors on December 23, 2024 [D.I. 341-363], as such schedules and
statements have been or may be supplemented or amended from time to time in accordance with
Bankruptcy Rule 1009 or any orders of the Court.

        1.160 “Secured Claim” means a Claim that is secured by a Lien on property in which
the Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
law or by reason of a Final Order of the Court, or that is subject to a valid right of setoff pursuant
to Bankruptcy Code section 553, to the extent of the value of the Holder of such Claim’s interest
in the Estate’s interest in such property or to the extent of the amount subject to setoff, as
applicable, as determined pursuant to Bankruptcy Code section 506(a) or as Allowed pursuant to
the Plan as an Other Secured Claim.

        1.161 “Sequoia Credit Agreement” means that certain Credit Agreement, dated as of
August 21, 2018, as amended, restated, supplemented or otherwise modified from time to time,
between Sequoia Healthcare Management, LLC, CarePoint Health Management Associates
Intermediate Holdco, LLC, Bayonne Intermediate Holdco, LLC, Hoboken Intermediate Holdco,
LLC, Christ Intermediate Holdco, LLC, the guarantors party thereto, the lenders from time to time
party thereto, and Capitala Specialty Lending as administrative agent and collateral agent.

       1.162 “Solicitation Procedures Order” means the Order (I) Approving the Disclosure
Statement on an Interim Basis; (II) Scheduling a Combined Hearing on Final Approval of the
Disclosure Statement, Plan Confirmation and Deadlines Related Thereto; (III) Approving the

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Solicitation, Notice and Tabulation Procedures and Forms Related Thereto; and (IV) Granting
Related Relief [D.I. ●].

        1.163 “Statutory Fees” means any fees due and payable pursuant to section 1930 of Title
28 of the United States Code, together with the statutory rate of interest set forth in section 3717
of Title 31 of the United States Code to the extent applicable.

       1.164 “Treasury Regulations” shall have the meaning set forth in Article VIII.A hereof.

       1.165 “UCC” means the Official Committee of Unsecured Creditors appointed by the
U.S. Trustee as of November 19, 2024 [D.I. 157].

       1.166 “Unclaimed Distribution” means a Distribution that is not claimed by a Holder of
an Allowed Claim on or prior to the Unclaimed Distribution Deadline.

       1.167 “Unclaimed Distribution Deadline” means 90 days from the date the Litigation
Trustee makes a Distribution of Cash or other property under the Plan to a Holder of an Allowed
Claim.

        1.168 “Unexpired Lease(s)” means an unexpired lease to which a Debtor is party that is
subject to assumption or rejection under Bankruptcy Code section 365.

       1.169 “Unimpaired” means, when used in reference to a Claim, an Interest or a Class, a
Claim, an Interest or a Class that is not impaired within the meaning of Bankruptcy Code section
1124.

       1.170 “U.S. Holder” shall have the meaning set forth in Article VIII.A hereof.

       1.171 “U.S. Trustee” means the Office of the United States Trustee for Region 3.

       1.172 “Voting Classes” means Class 1 (HRH Claims), Class 2 (Capitala Claims), Class
7 (General Unsecured Claims) and Class 8 (Insured Claims).

        1.173 “Voting Deadline” means February [●], 2025 at 5:00 p.m. (Eastern Prevailing
Time), the date and time by which all Ballots to accept or reject the Plan must be received in order
to be counted, as set forth by the Solicitation Procedures Order.

B.     Rules of Interpretation and Construction

        For purposes of this Combined Disclosure Statement and Plan: (1) in the appropriate
context, each term, whether stated in the singular or the plural, shall include both the singular and
the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and neuter gender; (2) any reference herein to a contract, lease, instrument,
release, indenture, or other agreement or document being in a particular form or on particular terms
and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; (3) any reference herein to an existing document,
schedule, or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that
document, schedule, or exhibit, as it may thereafter be amended, restated, supplemented, or

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otherwise modified; (4) any reference to an Entity as a Holder of a Claim or Interest includes that
Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles”
are references to Articles of the Combined Disclosure Statement and Plan or hereto; (6) unless
otherwise specified, all references herein to exhibits are references to exhibits in the Plan
Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
Combined Disclosure Statement and Plan in its entirety rather than to a particular portion of the
Combined Disclosure Statement and Plan; (8) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of
the Combined Disclosure Statement and Plan; (9) unless otherwise specified herein, the rules of
construction set forth in Bankruptcy Code section 102 shall apply; (10) all references to “D.I.” or
docket numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers
under the Court’s CM/ECF system; (11) all references to statutes, regulations, orders, rules of
courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11
Cases, unless otherwise stated; (12) any effectuating provisions may be interpreted by the Debtors
in such a manner that is consistent with the overall purpose and intent of the Combined Disclosure
Statement and Plan all without further notice to or action, order, or approval of the Court or any
other Entity; (13) any references herein to the Effective Date shall mean the Effective Date or as
soon as reasonably practicable thereafter; (14) all references herein to consent, acceptance, or
approval shall be deemed to include the requirement that such consent, acceptance, or approval be
evidenced by a writing, which may be conveyed by counsel for the respective parties that have
such consent, acceptance, or approval rights, including by electronic mail; and (15) any term used
in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.

C.     Computation of Time

        In computing any period of time prescribed or allowed by the Combined Disclosure
Statement and Plan, the provisions of Bankruptcy Rule 9006(a) shall apply. If the date on which
a transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.

D.     Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) and except as otherwise provided herein or therein, the laws of (i) the
State of Delaware shall govern the construction and implementation of the Combined Disclosure
Statement and Plan and any agreements, documents and instruments executed in connection with
the Combined Disclosure Statement and Plan and (ii) the state of incorporation of the Debtors shall
govern corporate governance matters with respect to the Debtors, in either case without giving
effect to the principles of conflicts of law thereof.




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                                         ARTICLE III.
                                 BACKGROUND AND DISCLOSURES4

A.       General Background

         1.       Overview and Corporate Ownership Structure

        CarePoint oversees the operations and combined resources of three hospitals and related
neighborhood health centers located in Hudson County, New Jersey—Bayonne, Christ Hospital
and HUMC. Christ Hospital and HUMC are “safety net” hospitals serving a large underprivileged
community. All three hospitals are committed to one mission - treating patients with compassion
and leading with innovation to improve the health of the communities in which they serve. The
amount of free and inadequately reimbursed services provided to these underprivileged
communities is the main driver of CarePoint’s financial distress. This inadequately compensated
care, along with significant increases of post-pandemic costs of personnel and supplies, have
compounded the losses.

        The CarePoint Hospitals have numerous significant creditors and landlords. Prior to the
Petition Date, CarePoint and its legal team spent several years shopping for buyers and then many
months negotiating a comprehensive solution to the financial issues confronting CarePoint.
CarePoint commenced these bankruptcy cases in order to implement a proposed solution to the
Debtors’ financial issues and resolve CarePoint’s unsustainable level of accumulated debt.

        Among other things, involuntary Debtor Bayonne Opco5 negotiated three comprehensive
agreements with HRH that provide for the transfer of Bayonne to HRH. An affiliate of HRH, 29
E 29 Street Holdings LLC (“HRH Bayonne Landlord”), is the landlord at Bayonne Medical Center.
The Bayonne lease was in default and was terminated prepetition, and the Delaware Chancery
Court entered a default judgment and consent judgment in favor of HRH Bayonne Landlord in that
certain litigation, captioned 29 E. 29 Street Holdings, LLC; NJMHMC LLC d/b/a Hudson
Regional Hospital, and NJBMCH, INC. v. IJKG Opco, LLC and IJKG, LLC, Case No. 2020-0480-
KSJM (the “Delaware Action”). The Debtors’ agreements with HRH also provided for DIP
financing for Bayonne Opco and an eventual, coordinated four hospital system operated/managed
by HRH at the end of these Chapter 11 Cases.

        In addition to the HRH agreements, CarePoint brought in a midwestern based hospital
operator, Insight Management and Consulting Services, Inc. (“Insight”), to operate its hospitals.
Insight arranged prepetition interim funding and deferred management fees to assist CarePoint in
its turnaround. Although Insight served as the manager of the Christ Hospital and HUMC prior to
the Petition Date, HRH, through an affiliate, agreed to provide DIP financing for those hospitals


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  Statements in this Article III, including, without limitation, with respect to the Debtors’ background, prepetition
events, and the Debtors’ reasons for filing the Chapter 11 Cases, are based upon the Debtors’ characterization of the
relevant facts and prior representations in these Chapter 11 Cases. Nothing in this Article III or the exhibits referenced
therein shall bind the UCC or the Litigation Trustee or be construed to constitute an admission of any fact or waiver
of any right by the UCC or the Litigation Trustee, including for the purposes of any Litigation Claims preserved under
the Plan, or be construed to have any adverse estoppel effect.
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  Bayonne Opco’s Chapter 11 Case was filed involuntarily due to the lack of required consent of a 9.9% minority
shareholder.

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in the form of a $25 million DIP loan agreement and began operating/managing these hospitals,
as well as Bayonne, beginning on the Petition Date. The DIP loan was intended to allow CarePoint
to operate Christ Hospital and HUMC during the Chapter 11 Cases and allow it to cure and assume
the real estate leases for those two hospitals.

        Prior to the Petition Date, CarePoint briefly changed its management structure. Dr.
Achintya Moulick stepped down as CEO and Dr. Jawad Shah was appointed as CEO with the
approval of the majority of the Board. Dr. Shah is also the CEO of Insight. On October 27, 2024,
Dr. Shah resigned as CEO and on October 28, 2024, the CarePoint board unanimously reappointed
Dr. Moulick to that role. Dr. Moulick has served as the chairman of the board of CarePoint without
interruption through these transitions. The CarePoint board also elected the mayors of the cities of
Hoboken and Jersey City to the board to assure vigorous community representation. Other
community representatives, including a representative of city of Bayonne, remain on the board.

        CarePoint is a New Jersey non-profit corporation. It is a holding company with no
employees or operations and is the direct or indirect owner of either the majority or 100% of the
interests of each of the following operating companies:

       (a) HUMC Opco operates HUMC, a licensed 348 bed acute care facility that provides
           inpatient and outpatient services. HUMC was acquired out of bankruptcy through an
           asset purchase agreement in 2011. On April 1, 2022, the majority member of Hoboken
           Intermediate Holdco, LLC (then the direct parent of HUMC Holdco, LLC, the direct
           parent of HUMC Opco), donated its equity in Hoboken Intermediate Holdco, LLC to
           Benego CarePoint LLC, a subsidiary of CarePoint (“Benego”). On May 4, 2022, a
           minority owner in Hoboken Intermediate Holdco, LLC assigned its membership
           interest to Evergreen Community Assets, LLC, a subsidiary of CarePoint
           (“Evergreen”). On December 27, 2022, the remaining minority member of Hoboken
           Intermediate Holdco, LLC assigned its membership interest in Hoboken Intermediate
           Holdco, LLC directly to CarePoint. CarePoint is now the beneficial owner of 100% of
           the membership interests in HUMC Opco.

       (b) Bayonne Opco, which is an involuntary Debtor due to lack of consent of a 9.9%
           minority shareholder, operates Bayonne, a licensed 278 bed acute care facility that
           provides inpatient and outpatient services. Upon the acquisition of Bayonne out of
           bankruptcy through an asset purchase agreement by Debtor IJKG, LLC (“IJKG”),
           Bayonne Opco was formed to facilitate the operations of Bayonne. IJKG was the sole
           member and manager of Bayonne Opco. Effective October 27, 2020, IJKG sold a 9.9%
           membership interest in Bayonne Opco to BMC Hospital, LLC. On April 1, 2022, the
           majority member of Bayonne Intermediate Holdco, LLC, the sole member of Sequoia
           BMC Holdco, LLC, then the majority member of IJKG, contributed its membership
           interest in Bayonne Intermediate Holdco, LLC to Benego. On May 4, 2022, a minority
           member of Bayonne Intermediate Holdco, LLC assigned all of its membership interest
           in Bayonne Intermediate Holdco, LLC to Evergreen. On December 27, 2022, the
           remaining non-CarePoint minority member in Bayonne Intermediate Holdco, LLC
           assigned all of its membership interest in Bayonne Intermediate Holdco, LLC to
           CarePoint. On October 18, 2024, the minority members of IJKG assigned all of their
           membership interests in IJKG to Sequoia BMC Holdco, LLC. As a result of the

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           foregoing transactions, CarePoint is the beneficial owner of 90.1% of the membership
           interests in Bayonne Opco. Due to IJKG Opco’s material uncured defaults under its
           lease, the lease has terminated. IJKG Opco remains a holdover tenant pursuant to a
           tenancy-at-will.

       (c) Christ Opco operates Christ Hospital, a 349-bed acute care facility that provides
           inpatient and outpatient services. Christ Hospital was acquired out of bankruptcy
           through an asset purchase agreement in 2012. On April 1, 2022, the majority member
           of Christ Intermediate Holdco, LLC, the sole member of Hudson Hospital Holdco,
           LLC, then the majority member of CH Hudson Holdco, LLC, the direct parent of Christ
           Opco, contributed its membership interest in Christ Intermediate Holdco, LLC to Briar
           Hill CarePoint LLC, a subsidiary of CarePoint. On May 4, 2022, a minority member
           of Christ Intermediate Holdco, LLC contributed all of its membership interests in
           Christ Intermediate Holdco, LLC to Evergreen. Prior to December 27, 2022, the
           remaining non-CarePoint minority members of Christ Intermediate Holdco, LLC
           assigned all of its membership interests in Christ Intermediate Holdco, LLC to
           CarePoint. On December 27, 2022, the minority member in CH Hudson Holdco, LLC,
           the direct parent of Christ Opco, assigned all of its membership interests in CH Hudson
           Holdco, LLC to CarePoint. As a result of the foregoing transactions, CarePoint is the
           beneficial owner of 100% of the membership interests in Christ Opco.

        CarePoint now owns 100% of the ownership interests in HUMC Opco and Christ Opco
through a series of entities and owns approximately 90.1% of the ownership interests in Bayonne
Opco. All three Hospitals are affiliated by common ownership of the nonprofit parent. A chart
depicting CarePoint’s corporate ownership as of the Petition Date is attached as Exhibit A.

        CarePoint, HUMC Opco and Christ Opco are not for profit entities under section 501(c)(3)
of the Internal Revenue Code. Bayonne Opco, because of the minority 9.9% ownership of BMC
Hospital, LLC, and due to its formation under the New Jersey Revised Uniform Limited Liability
Company Act, remains a for profit entity. Christ Opco and HUMC Opco are presently considered
“disregarded entities” for tax and nonprofit status purposes.

        In addition to Bayonne, Christ Hospital and HUMC, the Debtors operate neighborhood
health centers in their service areas. These neighborhood health centers care for more than 20,000
patients annually. Many patients are children and expecting mothers. They also train dozens of
physicians annually, the majority of whom remain local following graduation to serve the
community.

       CarePoint is led by CEO Achintya Moulick, MD, MBA. Dr. Moulick is a clinical, business,
and thought leader in the healthcare industry. A neonatal cardiac surgeon by training with expertise
in congenital and acquired heart disease, he has led hospitals and hospital programs for 20 years,
as Executive Director, Chairman in Cardiovascular Surgery, Chief Medical Officer, and Chief
Executive Officer.

      As explained more fully below, the CarePoint system treats a disproportionately large
number of uninsured and undocumented patients who are generally admitted through the
emergency department. The funding received by CarePoint from the State of New Jersey is and

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has been woefully inadequate to sustain operations given the patient mix of the Hospitals. As a
result, CarePoint has accumulated significant trade debt (approximately $165 million in the
aggregate as of the Petition Date) that it has been unable to pay, resulting in one or more of the
Debtors being named as a defendant in approximately 55 lawsuits pending as of the Petition Date.

        The Chapter 11 Cases were filed to provide the Debtors an opportunity to accomplish a
restructuring by, inter alia, (a) staying the multiple pending collection actions, (b) resolving
significant Debtor claims against certain insurance carriers, (c) rejecting unfavorable contracts or
leases where necessary to efficiently streamline the Debtors’ operations, and (d) giving the Debtors
breathing room to effectuate the prepetition restructuring arrangements that were already
underway and to implement them through a plan of reorganization.

       2.      Corporate History and Business Operations

        Originally, the Hospitals were for profit entities which operated out of network with
insurance care providers and were owned by certain entities affiliated with the Prior Owners.
CarePoint was formed and received its non-profit status in November 2021. The transfer of the
for-profit ownership of the Hospitals was completed by the end of 2022 and was approved by the
State of New Jersey on March 20, 2023, for Bayonne and HUMC, followed by Christ Hospital on
April 17, 2023.

        The CarePoint Hospitals were at the forefront of providing care in Hudson County during
the COVID-19 pandemic. The Hospitals continued to operate without interruption of services
during CarePoint’s transition to non-profit. But the continued care of the underprivileged, many
of whom are uninsured or undocumented, presented mounting financial strain on the system. The
post COVID inflation in hospital expenditures, particularly drugs and staffing costs added to the
Hospital’s issues. During this time, the Hospitals received insufficient post-COVID New Jersey
state funding designated to states by the federal government under the American Rescue Plans Act
meant for businesses affected by the pandemic and incremental costs associated with it, and
insufficient FEMA funds from the federal government. CarePoint and its Hospitals continued to
serve the people of Hudson County, providing excellent healthcare, at the expense of its balance
sheet. The resulting accumulation of debt ultimately became unmanageable.

       3.      Prepetition Capital Structure

        The Debtors’ capital structure is comprised of senior secured debt held by non-insiders
Capitala and other lenders as well as former insider subordinated secured debt held by Maple, the
obligations to both of which are described in greater detail for each of the Hospitals below. Maple
is owned by the individual owners of certain of the Prior Owners.

               i.      Capitala Secured Debt Obligations

       HUMC Opco entered into an Amended and Restated Loan and Security Agreement dated
as of August 8, 2019 (as amended from time to time and most recently by that certain Fourteenth
Amendment to Amended and Restated Loan and Security Agreement and Waiver dated as of
November 4, 2022) (the “Hoboken/Capitala Loan Agreement”), with Capitala, as administrative
and collateral agent, and the other lender parties thereto (collectively, the “Hoboken/Capitala
Lenders”), pursuant to which HUMC Opco obtained a term loan facility in the aggregate principal

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amount of $30 million (the “Hoboken/Capitala Loan”), of which approximately $14.8 million was
paid down. The maturity date of the term loan facility was November 4, 2023. The
Hoboken/Capitala Loan is secured by a first priority lien on all assets6 of HUMC Opco and its
parent company, HUMC Holdco, LLC, in accordance with that certain Subordination Agreement
dated as of August 8, 2019, with Capitala and Maple. As of the Petition Date, approximately
$14,817,161 of principal remained outstanding under the Hoboken/Capitala Loan.

         Christ Opco entered into a Loan and Security Agreement dated as of November 4, 2022
(the “Christ/Capitala Loan Agreement”), with Capitala, as administrative and collateral agent, and
the other lender parties thereto (collectively, the “Christ/Capitala Lenders”), pursuant to which
Christ Opco obtained a term loan facility in the aggregate principal amount of $7,000,000 (the
“Initial Christ/Capitala Loan”). Christ Opco entered into a First Amendment to Loan and Security
Agreement dated as of February 8, 2023, with the Christ/Capitala Lenders, pursuant to which
Christ Opco obtained an additional term loan facility in the aggregate principal amount of
$2,180,000 (the “Additional Christ/Capitala Loan” and together with the Initial Christ/Capitala
Loan, the “Christ/Capitala Loan”). The maturity date of both term loan facilities under the
Christ/Capitala Loan was November 4, 2023. The Christ/Capitala Loan is secured by a first priority
lien on all assets7 of Christ Opco, in accordance with that certain Subordination and Intercreditor
Agreement dated as of November 4, 2022, with Capitala and Maple. As of the Petition Date,
approximately $4,893,648 of principal remained outstanding under the Christ/Capitala Loan.

         Bayonne Opco entered into a Loan and Security Agreement dated as of November 4, 2022
(the “Bayonne/Capitala Loan Agreement”), with Capitala, as administrative and collateral agent,
and the other lender parties thereto (collectively, the “Bayonne/Capitala Lenders”), pursuant to
which Bayonne obtained a term loan facility in the aggregate principal amount of $3,000,000 (the
“Initial Bayonne/Capitala Loan”). Bayonne Opco entered into a First Amendment to Loan and
Security Agreement dated as of February 8, 2023, with the Bayonne/Capitala Lenders, pursuant to
which Bayonne obtained an additional term loan facility in the aggregate principal amount of
$3,120,000 (the “Additional Bayonne/Capitala Loan” and together with the Initial
Bayonne/Capitala Loan, the “Bayonne/Capitala Loan”). The maturity date of both term loan
facilities under the Bayonne/Capitala Loan was November 4, 2023. The Bayonne/Capitala Loan
is secured by a first priority lien8 on all accounts, “Other Accounts” (as defined in the
Bayonne/Capitala Loan Agreement), deposit accounts, all books and records of the foregoing and
all proceeds and products of the foregoing, of Bayonne Opco, in accordance with that certain
Subordination and Intercreditor Agreement dated as of November 4, 2022, with Capitala and
Maple. As of the Petition Date, approximately $7 million remained outstanding under the



6
  Pursuant to an Amended and Restated Intercreditor Agreement dated as of August 8, 2019, the lessor of the property
on which HUMC is located has priority over the Hoboken/Capitala Lenders regarding certain collateral of HUMC
Opco specifically set forth therein.
7
  Pursuant to (i) a Lease Agreement among Christ Opco, CH 750 Park LLC, and CH Castle LLC dated as of December
27, 2022; and (ii) a Lease Agreement between Christ Opco and J.C. Opco, LLC dated as of December 27, 2022, the
landlord’s lien on Christ Opco’s licenses under each lease is subordinate to the Christ/Capitala Lenders’ security
interest.
8
  Pursuant to that certain Lease Agreement between Bayonne Opco and MPT of Bayonne, LLC, dated as of February
4, 2011, the lessor of the property on which Bayonne is located has priority over the Bayonne/Capitala Lenders
regarding certain collateral of Bayonne Opco.

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Bayonne/Capitala Loan. On or about October 21, 2024, the DIP Lender purchased all of Capitala’s
rights under the Bayonne/Capitala Loan.

       In addition to the loan facilities described above, an affiliate of Capitala, Capitala Specialty
Lending, lent money pursuant to certain loan agreements with a remote holding company owned
by the individual owners of certain of the Prior Owners and now part of the CarePoint system.
This holding company loan is known as the “Sequoia Loan”. As of the Petition Date, the
outstanding principal balance of the Sequoia Loan was approximately $35,805,000. The Debtors
believe that the proceeds of the Sequoia Loan were distributed to certain of the Prior Owners and
re-advanced to the Debtors’ operating companies.

                 ii.      Maple Secured Debt Obligations

        Christ Opco entered into an Amended and Restated Loan and Security Agreement dated as
of June 26, 2019 (as amended from time to time and most recently by that certain Third
Amendment to Forbearance Agreement and Amendment to Amended and Restated Loan and
Security Agreement dated as of November 4, 2022) (the “Christ/Maple Loan Agreement”) with
Maple, pursuant to which Christ Opco obtained a term loan facility in the aggregate principal
amount of $17,951,721 (the “Christ/Maple Loan”). The Christ/Maple Loan has matured, and
Maple agreed to forbear from exercising rights and remedies in respect of certain defaults under
the Christ/Maple Loan until November 4, 2023. Maple has continued to forbear since then. The
Christ/Maple Loan is secured by a lien on all assets of Christ Opco, subordinate to the lien of
Capitala. As of the Petition Date, approximately $34,751,366 remained outstanding under the
Christ /Maple Loan.

        Bayonne Opco, Garden State Healthcare Associates, LLC, and New Jersey Medical and
Health Associates, LLC, entered into an Amended and Restated Loan and Security Agreement
dated as of June 26, 2019 (as amended from time to time and most recently by a Forbearance Fifth
Extension Agreement and Third Amendment to Amended and Restated Loan and Security
Agreement dated as of November 4, 2022) (the “Bayonne/Maple Loan Agreement”) with Maple,
pursuant to which Bayonne Opco and the other borrower parties thereto obtained a term loan
facility in the aggregate principal amount of $10,067,955 (the “Bayonne/Maple Loan”). The
Bayonne/Maple Loan has matured, and Maple agreed to forbear from exercising rights and
remedies in respect of certain defaults under the Bayonne/Maple Loan until November 4, 2023.
Maple has continued to forbear since then. The Bayonne/Maple Loan is secured by a lien on all
assets9 of Bayonne and the other borrower parties thereto, subordinate to the lien of Capitala. As
of the Petition Date, approximately $13,506,773 remained outstanding under the Bayonne/Maple
Loan.

                iii.      Collateral Sharing Arrangement

        HUMC Opco, Christ Opco, Bayonne Opco, Capitala, and Maple, among others, entered
into a Collateral Sharing Agreement dated as of November 4, 2022, as amended by that certain


9
 Pursuant to a Second Amended and Restated Intercreditor Agreement dated as of June 26, 2019, the lessor of the
property on which Bayonne Medical Center is located has priority over Maple regarding certain collateral of Bayonne
Opco specifically set forth therein.

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First Amendment to Collateral Sharing Agreement dated as of October 15, 2024 (the “Collateral
Sharing Agreement”), whereby the proceeds derived from certain litigation matters identified in
the Collateral Sharing Agreement were shared and to be distributed to the lender parties to the
Collateral Sharing Agreement in accordance with a recently revised distribution waterfall,
notwithstanding the security and lien priority otherwise set forth in the loan documents with such
lenders. Approximately $18,500,000 was paid to Capitala in the week prior to the Petition Date
pursuant to the Collateral Sharing Agreement in partial satisfaction of its indebtedness. This
payment derived from a prepetition settlement of litigation with Aetna on which Capitala had liens
and was a precondition to Capitala’s consent to the pari passu first lien required by the DIP Lender
to HUMC Opco and Christ Opco. The principal debt balances owed to Capitala as of the Petition
Date set forth above reflect this payment.

               iv.      Prepetition Unsecured Debt Obligations

                        (a)     Maple Unsecured Debt Obligations

        On June 1, 2019, HUMC Opco entered into a Demand Promissory Note payable to Maple
in the aggregate principal amount of $3,706,553. On July 25, 2019, HUMC Opco entered into (i)
an Amended and Restated Demand Promissory Note payable to Maple in the aggregate principal
amount of $646,723.50; and (ii) an Amended and Restated Demand Promissory Note payable to
Maple in the aggregate principal amount of $4,353,276.50. These three notes are subordinate to
the Hoboken/Capitala Loan pursuant to that certain Subordination Agreement dated as of August
8, 2019, with Capitala. As of the Petition Date, approximately $14,902,959 remained outstanding
under the three notes.

                        (b)     Non-Maple Former Owners Unsecured Debt Obligations

       Certain non-Maple former owners assert certain additional unsecured debt obligations
owed by the Hospitals to certain of the Prior Owners pursuant to notes payable by HUMC Opco
and additional unsecured amounts due from HUMC Opco, Christ Opco and Bayonne Opco
pursuant to the Collateral Sharing Agreement.

                        (c)     County Option Unsecured Debt Obligations

        The Hospitals are participants in a “County Option Program” managed by the New Jersey
Department of Human Services. The County Option Program supports local hospitals and ensures
that they continue to provide necessary services to low-income residents. The legislation, which
limits eligibility to certain counties and delineates criteria for eligibility, (1) provides for increased
financial resources through the Medicaid program, and (2) provides participating counties with
new fiscal resources. Eligible hospitals fund amounts determined by the legislation to the County
Option Program. CarePoint has been unable to satisfy its payment obligations in connection with
the County Option Program over the four quarters prior to the Petition Date. As of the Petition
Date, CarePoint owed the County Option Program $15,710,447.

                        (d)     Other Unsecured Debt Obligations

        District 1199J-New Jersey Health Care Employers Pension Plan. HUMC Opco and its
parent, HUMC Holdco, LLC, entered into a Promissory Note dated as of November 4, 2011,

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payable to District 1199J-New Jersey Health Care Employers Pension Plan in the aggregate
principal amount of $750,000. As of the Petition Date, approximately $1,038,000 remained
outstanding under this Promissory Note.

        Optum Inc. Advance. Optum, Inc. (“Optum”) is a third-party insurance payor that pays the
Debtors for services provided to Optum’s beneficiaries. Optum was the victim of a cyber-attack
and, after the attack, was unable to access their billing systems to receive, process, and pay claims
to healthcare providers. As such, Optum advanced the Debtors approximately $28 million, which
was later subject to a reconciliation between Optum and the Debtors. The reconciliation process
was not complete as of the Petition Date.

       Merchant Cash Advance Loans. Beginning in January 2024, CarePoint borrowed funds
under certain merchant cash advance loans (“MCA”) at high interest rates. Insight entered a
Management Services Agreement (the “Insight MSA”) with CarePoint in April 2024 and, in
exchange for the Insight MSA, took additional MCA loans out to refinance the initial MCA loans
off CarePoint’s books. CarePoint is not aware of any MCA loans remaining on its books. CarePoint
believes the MCA loans have balances remaining which have been assumed by Insight and that
CarePoint is not responsible for the repayment of these loans.

               v.      CarePoint’s Other Prepetition Obligations

       Guaranty Obligations

         On November 4, 2022, CarePoint, HUMC Opco, Christ Opco and Bayonne Opco each
entered into a Limited Non-Recourse Guaranty Agreement (collectively, the “Guaranties”) in
connection with a Credit Agreement dated as of August 21, 2018 (as amended from time to time
and most recently by that certain Thirteenth Amendment to Credit Agreement and Reservation of
Rights dated as of November 4, 2022) with Capitala Specialty Lending Corp., as administrative
and collateral agent, and the other lender parties thereto, pursuant to which indirect upstream
Affiliates of HUMC Opco, Christ Opco and Bayonne Opco, among others, obtained a term loan
facility in the aggregate principal amount of $50,000,000 (the “Intermediate Holdco Loan”). The
Guaranties are limited to each guarantor’s right, title and interest in the litigation matters set forth
in Schedule 1 of the Collateral Sharing Agreement.

        Additionally, on August 22, 2022, HUMC Opco entered into a further Limited Non-
Recourse Guaranty Agreement in connection with the Intermediate Holdco Loan, such guaranty
being limited to $5,000,000 with sole collection recourse under HUMC Opco’s interest in that
certain Services Agreement dated as of July 20, 2022 (as amended from time to time) with
Bayonne Opco.

       Real Property Lease Obligations

      The Debtors do not own any real estate, as the real property on which each of HUMC,
Bayonne and Christ Hospital operate is leased.

      HUMC Opco is lessee under a Lease Agreement dated as of November 4, 2011 (as
amended from time to time and most recently by that certain Third Amendment to Lease
Agreement dated as of December 27, 2022) with SB Hoboken Propco, LLC as lessor (the

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“Hoboken Lease”), regarding the property on which HUMC Opco operates. The term of the
Hoboken Lease is for ten (10) years from December 27, 2022, subject to an extension option for
HUMC Opco for an additional ten (10) year term. The Hoboken Lease is secured by certain assets
of HUMC Opco under a Security Agreement, subject to the lien priority set forth in an Amended
and Restated Intercreditor Agreement dated as of August 8, 2019, between the lessor and the
Hoboken/Capitala Lenders. As of the Petition Date, the rent due under the Hoboken Lease was
one month in arrears. The Hoboken Lease requires that HUMC Opco obtain the landlord’s consent
before entering into any management agreement with any third party as well as upon the change
of ownership/control of HUMC Opco.

        Christ Opco is lessee under (i) a Lease Agreement with CH 750 Park LLC and CH Castle
LLC dated as of December 27, 2022; and (ii) a Lease Agreement with J.C. Opco, LLC dated as of
December 27, 2022 (collectively, the “Christ Hospital Lease”), regarding the property on which
Christ Opco operates. The term of the Christ Hospital Lease commences on December 27, 2022,
and ends on December 31, 2032, subject to an extension option for Christ Opco for an additional
ten (10) year term. (Christ Opco’s obligations under the Christ Hospital Lease are referred to herein
as the “Real Property Lease Obligations”). The Christ Hospital Lease is secured by a landlord’s
lien on Christ Opco’s licenses, which is subordinate in priority to the Christ/Capitala Lenders’
security interest in Christ Opco’s assets. As of the Petition Date, the rent due under the Christ
Hospital Lease was one month in arrears. The Christ Hospital Lease requires that Christ Opco
obtain the landlord’s consent before entering into any management agreement with any third party
as well as upon the change of ownership/control of Christ Opco.

         The Lease Agreement with CH 750 Park LLC and CH Castle LLC (the “Park/Castle
Lease”), which encompasses the real estate on which Christ Hospital is located and certain of the
adjacent parcels, contains a purchase option in favor of Christ Opco, to acquire the real estate that
is the subject of the Park/Castle Lease, provided that (i) certain events of default have not occurred
under the Park/Castle Lease, the J.C. Opco Lease or the Hoboken Lease (which is with a related
party lessor to the lessors at Christ Hospital), and (ii) certain breaches under the Agreement of
Purchase and Sale in connection with the Christ Hospital Real Estate Sale, have not occurred prior
to the closing of the property acquisition by exercising the option (the “Purchase Option”). Because
of certain prepetition defaults in the Real Property Lease Obligations, the Purchase Option is no
longer in effect. HRH has advised the Debtors that on or about October 29, 2024, it entered into
an option agreement with respect to the real estate on which Christ Hospital is located.

        Bayonne Opco is lessee under a Lease Agreement dated as of February 4, 2011, originally
with MPT of Bayonne, LLC and now with 29 E 29th Street Holdings, LLC, as successor to MPT
of Bayonne, LLC (the “Bayonne Lease”), regarding the property on which Bayonne Opco
operates. The term of the Bayonne Lease is for fifteen (15) years from February 4, 2011, subject
to extension options for Bayonne Opco for six (6) additional periods of five (5) years each. The
Bayonne Lease is secured by certain assets of Bayonne Opco under a Security Agreement dated
as of February 4, 2011, subject to the lien priority set forth in a Second Amended and Restated
Intercreditor Agreement dated as of June 26, 2019, between the lessor and Maple. As of the
Petition Date, the Bayonne Lease had been terminated due to prepetition defaults, with Bayonne
Opco continuing to occupy the premises pursuant to an at-will tenancy. As of the Petition Date,
the Delaware Chancery Court had entered default and consent judgments in favor of 29 E 29th
Street Holdings, LLC.

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B.     Circumstances Giving Rise to the Chapter 11 Cases

        As a system of two safety net hospitals and Bayonne, CarePoint and its Hospitals have
struggled to meet expenses and service their debts for several years and have taken steps to best
maintain operations to serve the Hudson County community. Nevertheless, financial and liquidity
challenges of the Hospitals, largely resulting from unreimbursed COVID-19 expenditures,
including nurse agency costs, and the nature of the population served by the Hospitals, continue to
plague the Hospitals, requiring formal restructuring in Chapter 11. A summary of the efforts made
by CarePoint and the Hospitals in the recent past to mitigate their financial and liquidity challenges
as well as a description of their current challenges follows below.

       1.      Christ Hospital Sale-Leaseback Transaction

        On December 27, 2022, Hudson Hospital Propco, LLC (“Hudson Propco”), the owner of
the real estate on which Christ Hospital is located, and then lessor of the Christ Hospital real estate
to Hudson Opco, entered into an Agreement of Purchase and Sale with J.C. Opco, LLC, CH 750
Park LLC and CH Castle LLC (collectively, the “Buyer”) whereby Hudson Propco sold the Christ
Hospital real estate to the Buyer (the “Christ Hospital Real Estate Sale”). At the closing of the
Christ Hospital Real Estate Sale, the then mortgage lender on the Christ Hospital real estate,
Signature Bank, whose credit facility was then in default and under lender forbearance, was paid
off in full with sale proceeds from the transaction. The balance of the proceeds were used to
subsidize CarePoint operations.

       2.      Christ Hospital Real Estate Sale – Equity Transfers

        Prior to the closing of the Christ Hospital Real Estate Sale, CarePoint then possessed an
indirect 75% majority ownership interest, and J.C. Opco, LLC possessed an indirect 25%
ownership interest, respectively, in Hudson Propco and Christ Opco. Concurrently with the Christ
Hospital Real Estate Sale, J.C. Opco, LLC donated its ownership interest to CarePoint, resulting
in the CarePoint non-profit being the one hundred percent (100%) owner of Hudson Propco and
Opco.

       3.      Charity Care, Uninsured Volumes and Reimbursement Issues

        An increasing volume of patients served by the Hospitals are charity care or uninsured
patients. This cohort of patients represents patients who have not yet complied with the Medicaid
or a charity application process. Moreover, charity care distributions received by the Hospitals for
2023 were based on 2019 data; however, the 2023 actual charity care expenditures significantly
increased due to a higher proportion of charity care patients as well as the inflationary increases in
the costs and expenses for health care labor and supplies.

        In addition, the marginal payment the Hospitals traditionally receive from patients who are
partially approved for charity care are historically not collected nor collectible considering the
demographic of the population that is served by the Hospitals. The ability to collect, year-over-
year, from self-pay patients was 11.60% in 2019, 16.95% in 2020, 20.20% in 2021, and 15.75%
in 2022.



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        CarePoint and its Hospitals have seen more than 57,000 uninsured patients in the Hospitals’
emergency departments, 41,000 uninsured patients in CarePoint’s neighborhood health centers,
and more than 12,000 homeless patients in the years preceding these Chapter 11 Cases. CarePoint
and its Hospitals also saw charity care patients outside their service areas, who were directed to
the Hospitals.

        Among other challenges, the Debtors encountered systematic inadequate levels of
reimbursement rates from non-governmental insurers including, without limitation, Horizon New
Jersey, notwithstanding the Debtors’ numerous efforts to address these issues with such insurers,
including through obtaining in-network status and partnerships with Columbia Presbyterian and
others.

       4.      Other Costs and Expenses

       The Hospitals are also experiencing a higher acuity of care, requiring a longer period of
hospital stay, which can yield a higher reimbursement for the Hospitals; however, the cost of care
is exponentially higher with more severe conditions.

        Expenses are rising across the board, exacerbated by inflation increases and supply chain
issues. The Hospitals face increasing costs for labor, drugs, purchased services, personal protective
equipment and other medical and safety supplies needed to care for the acuity of the patients.
Nationally, total expenses per hospital discharge are up 15% compared to pre-pandemic levels.
Drug costs have seen the largest increase - up by 24%.

         These costs are not unique to CarePoint and its Hospitals. Indeed, increased costs have
resulted in half of acute care hospitals in the United States ending 2022 with negative margins.
According to the American Hospital Association (2022), the cost of labor, including nursing, is up
by 19.1%, supplies are up by 20.6%, and drug costs sharply increased by 36.9%. To exemplify
this crisis, CarePoint spent over $20 million in agency nursing and other personnel costs each year
post pandemic prior to the Petition Date, and more than $70 million on hard costs of charity care
patients in the post-pandemic period. To confound inflationary pressures, as Covid is no longer
driving hospital visits or admissions, patient volumes in acute care are down year-over-year in
critical revenue-producing service lines. Together, this has created a perfect storm of higher costs
with diminished revenue, and CarePoint will require additional State and charitable support to
maintain sustainability.

       The financial impact of the pandemic has negatively impacted the ability of CarePoint and
its Hospitals to service its debt from 2021 to the present day. During that time, CarePoint has
sought, unsuccessfully, assistance from the State of New Jersey in the form of additional funding.
The State’s denial of additional funding has stalled CarePoint’s much needed expansion in
population health initiatives, the replenishment of its supplies from its vendors and pharmaceutical
suppliers and has left CarePoint struggling to maintain its aging infrastructure.

        Due to these varied issues, CarePoint and the Hospitals have been operating very leanly
over the past several years, minimizing administrative teams and positions as much as possible to
focus resources on the best possible patient care. CarePoint also instituted a number of cost-cutting
measures at the Hospitals to improve service line efficiencies in the delivery of healthcare, improve


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supply chain challenges and renegotiate vendor contracts. CarePoint regularly reviews its service
lines to optimize revenue, rethinking its business medical plan. The Debtors believe that these
initiatives, along with significant and strategic downsizing, will support the growth of the Hospitals
and stabilize cash flow going forward as CarePoint and the Hospitals restructure in Chapter 11.

C.      The Chapter 11 Cases

        The following is a brief description of certain material events that have occurred during the
Chapter 11 Cases to date. The pleadings and Orders referenced herein can be viewed free of charge
at https://dm.epiq11.com/case/carepoint/info.

        1.      First-Day Relief

        On the Petition Date, all Debtors – except Bayonne Opco – filed voluntary chapter 11
petitions, and an involuntary chapter 11 case was commenced against Bayonne Opco.10 The
Debtors continue to operate their business and manage their assets and affairs as debtors-in-
possession pursuant to Bankruptcy Code sections 1107 and 1108. On the Petition Date, the
Debtors also Filed pleadings seeking certain “first day” relief, including the following:

               Motion of the Debtors for Entry of an Order Directing Joint Administration of Their
                Chapter 11 Cases [D.I. 4], by which the Debtors sought joint administration of the
                Chapter 11 Cases. On November 6, 2024, the Court entered an Order granting joint
                administration of the Chapter 11 Cases [D.I. 80]; which order was subsequently
                amended on November 19, 2024 [D.I. 147].

               Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to File a Consolidated List of the Debtors’ Thirty Largest Unsecured
                Creditors and (II) Establishing Patient Notice Procedures [D.I. 5], by which the
                Debtors sought authority to file a single, consolidated top 30 creditor list and
                establish patient notice procedures. On November 7, 2024, the Court entered an
                interim order granting the requested relief. See D.I. 103. On December 6, 2024,
                the Court entered a final order granting the relief requested.

               Motion for Interim and Final Orders Approving Certain Procedures to Maintain
                the Confidentiality of Patient Information as Required by Applicable Privacy Rules
                [D.I. 6], by which the Debtors sought authority to establish certain procedures to
                maintain the confidentiality of patient information, as required by the Health
                Insurance Portability and Accountability Act of 1996. On November 7, 2024, the
                Court entered an interim order granting the requested relief [D.I. 102]. On
                December 6, 2024, the Court entered a final order granting the requested relief [D.I.
                252].




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    On November 6, 2024, the Court entered an order for relief with respect to Bayonne Opco’s consent to the
commencement of its involuntary chapter 11 case. On November 19, 2024, the Court ordered Bayonne Opco’s case
to be jointly administered with those of the other Debtors [D.I. 147].

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            Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
             Continued Use of the Debtors’ Cash Management System and Existing Bank
             Accounts, (II) Authorizing Continued Intercompany Transfers Among Debtor
             Entities and (III) Granting Related Relief [D.I. 7], by which the Debtors sought
             authority to, among other things, continue to operate their existing cash
             management system. On November 6, 2024, the Court entered an interim order
             authorizing the requested relief [D.I. 83]. On December 6, 2024, the Court entered
             a final order authorizing the requested relief [D.I. 243].

            Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
             Debtors’ Proposed Form of Adequate Assurance of Payment to Utility Companies,
             (II) Establishing Procedures for Resolving Objections by Utility Companies, (III)
             Prohibiting Utility Companies from Altering, Refusing, or Discontinuing Services,
             and (IV) Granting Related Relief [D.I. 8], by which the Debtors sought authority
             to, among other things, establish procedures for resolving issues with utility
             providers. On November 8, 2024, the Court entered an order authorizing the
             requested relief on an interim basis [D.I. 125]. On December 6, 2024, the Court
             entered an order authorizing the requested relief on a final basis [D.I. 244].

            Motion for Interim and Final (I) Authorizing the Debtors to Pay Certain Prepetition
             Taxes and (II) Granting Related Relief [D.I. 9], by which the Debtors sought
             authority to pay prepetition taxes. On December 6, 2024, the Court entered an order
             authorizing the requested relief on a final basis [D.I. 253].

            Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing, But Not
             Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
             Compensation, and Reimbursable Employee Expenses and (B) Continue Employee
             Benefit Programs; and (II) Granting Related Relief [D.I. 12], by which the Debtors
             sought authority to, among other things, pay prepetition wages and benefits to their
             employees. On November 6, 2024, the Court entered an order authorizing the
             requested relief on an interim basis [D.I. 82]. On December 6, 2024, the Court
             entered an order authorizing the requested relief on a final basis [D.I. 249].

            Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
             to (A) Continue Their Insurance Policies Entered Into Prepetition and Pay
             Prepetition Obligations in Respect Thereof, (B) Honor Prepetition Premium
             Financing Agreement, and (C) Renew Insurance Premium Financing Agreement in
             the Ordinary Course of Business; (II) Authorizing Banks to Honor and Process
             Check and Electronic Transfer Requests Related Thereto; and (III) Granting
             Related Relief [D.I. 13], by which the Debtors sought authority to, among other
             things, maintain existing insurance policies and pay obligations related thereto. On
             November 6, 2024, the Court entered an order authorizing the requested relief on
             an interim basis [D.I. 84]. On December 6, 2024, the Court entered an Order
             authorizing the requested relief on a final basis [D.I. 245].




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             Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
              Debtors to Pay Certain Prepetition Claims of Patient Care Vendors and (II)
              Granting Related Relief [D.I. 14], by which the Debtors sought authority to pay
              certain allowed prepetition claims of patient care vendors in the ordinary course of
              business. On November 8, 2024, the Court entered an order authorizing the
              requested relief on an interim basis [D.I. 126]. On December 6, 2024, the court
              entered an order authorizing the requested relief on a final basis [D.I. 247].

             Application of Debtors for Entry of an Order (I) Approving the Retention and
              Appointment of Epiq Corporate Restructuring, LLC as Claims and Noticing Agent
              to the Debtors and (II) Granting Related Relief [D.I. 22], by which the Debtors
              sought authorization to retain and employ Epiq as its claims and noticing agent in
              the Chapter 11 Cases. On November 6, 2024, the Court entered an order approving
              the Debtors’ retention of Epiq [D.I. 85].

       In support of the foregoing, the Debtors Filed the Declaration of Shamiq Syed in Support
of Chapter 11 Pleadings [D.I. 23]. Mr. Syed is the Debtors’ CFO.

       2.     DIP Financing

        On the Petition Date, the Debtors filed the Motion of CarePoint Health Systems, Inc. for
Entry of Interim and Final Orders: (I) Authorizing Debtors to Obtain Temporary and Permanent
Post-Petition Financing From Bayonne Medical Center Opco, LLC Pursuant to Sections 363 and
364 of the Bankruptcy Code; (II) Granting Administrative Priority Claims to DIP Lender Pursuant
to Section 364 of the Bankruptcy Code; (III) Granting Adequate Protection; (IV) Modifying the
Automatic Stay to Implement the Terms of the DIP Order; and (V) Authorizing Debtors to Use
Cash Collateral [D.I. 10] (the “Christ/HUMC DIP Motion”).

        By the Christ/HUMC DIP Motion, CarePoint, HUMC Opco and Christ Opco (collectively,
the “Christ/HUMC Borrowers”) sought approval to (a) obtain post-petition financing from the DIP
Lender in the maximum principal amount of $25,000,000, with up to $10 million available upon
interim approval, on a senior secured, priming, superpriority basis (the “Christ/HUMC DIP
Facility”) pursuant to the Christ/HUMC DIP Credit Agreement; (b) use the cash collateral of the
Christ/HUMC Borrowers’ prepetition lenders; and (c) grant adequate protection to the
Christ/HUMC Borrowers’ prepetition lenders for the priming of their prepetition liens and the
Debtors’ use of their cash collateral.

        On the Petition Date, the Debtors also filed the Motion of IJKG Opco, LLC and IJKG, LLC
for Entry of Interim and Final Orders: (I) Authorizing IJKG Opco, LLC and IJKG, LLC to Obtain
Temporary and Permanent Post-Petition Financing From Bayonne Medical Center Opco, LLC
Pursuant to Sections 363 and 364 of the Bankruptcy Code; (II) Granting Administrative Priority
Claims to DIP Lender Pursuant to Section 364 of the Bankruptcy Code; (III) Modifying the
Automatic Stay to Implement the Terms of the DIP Order; and (IV) Authorizing the Use of Cash
Collateral [D.I. 11], as amended by the amendment filed at D.I. 68 (the “Bayonne DIP Motion”
and, together with the Christ/HUMC DIP Motion, the “DIP Motions”).




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        By the Bayonne DIP Motion, Bayonne Opco and IJKG (together, the “Bayonne Debtors”)
sought approval to (a) obtain post-petition financing from the DIP Lender in an aggregate amount
of up to $42 million, with up to $17,280,000 available upon interim approval, on a senior secured,
priming, superpriority basis (the “Bayonne DIP Facility” and, together with the Christ/HUMC DIP
Facility, the “DIP Facilities”) pursuant to the Bayonne DIP Credit Agreement, consisting of (i) a
new money loan in an aggregate principal amount not to exceed $42,000,000, and (ii) a roll-up of
(a) $7,000,000 of prepetition debt that the DIP Lender acquired prepetition from Capitala and (b)
a range of between $24,000,000 and $32,000,000 of debt arising from a consent judgment entered
shortly before the Petition Date (the “Outstanding Judgment”)11 owed to the HRH Bayonne
Landlord, on a dollar-for-dollar basis; (b) use the cash collateral of the Bayonne Debtors’
prepetition lenders; and (c) grant adequate protection to the Bayonne Debtors’ prepetition lenders
for the priming of their prepetition liens and the Debtors’ use of their cash collateral.

       On November 8, 2024, the Court entered orders granting the Christ/HUMC DIP Motion
on an interim basis [D.I. 119] (the “Christ/HUMC Interim DIP Order”) and the Bayonne DIP
Motion on an interim basis [D.I. 128] (the “Bayonne Interim DIP Order” and, together with the
Christ/HUMC Interim DIP Order, the “Interim DIP Orders”).

        On December 10, 2024, the Court entered the Order Authorizing Further Debtor-In-
Possession Financing on an Interim Basis [D.I. 275], which, among other things, modified the
Interim DIP Orders to authorize the Debtors to borrow additional funds in the amount of up to (i)
$2 million for the Christ/HUMC Borrowers and (ii) $1 million for the Bayonne Debtors,
respectively, through and including December 17, 2024.

       On December 26, 2024, the Court entered a further Order Authorizing Further Debtor-In-
Possession Financing on an Interim Basis [D.I. 367] (the “December 26 Interim DIP Order”),
which, among other things, modified the Interim DIP Orders to authorize the Debtors to borrow
additional funds in the amount of up to (i) $9.5 million for the Christ/HUMC Borrowers and (ii)
$5.5 million for the Bayonne Debtors, respectively, through and including January 8, 2025, in



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  The Outstanding Judgment may be greater than $32 million. The term “Outstanding Judgment” is defined in Section
1.01 of the Bayonne DIP Credit Agreement by reference to the Collateral Surrender Agreement, where such term is
defined to mean as follows:

     “all damages, losses, costs and expenses, including without limitation, professional (legal, accounting and
     consultant fees) and expert fees, and other amounts that have been claimed or could have been claimed or
     prayed for by the Landlord from Bayonne under the Delaware Action, as determined by the Bankruptcy Court
     within a range between $24.0 million to $32.0 million, provided that, if the Interim Orders Contingency has
     not occurred by October 31, 2024, then the "low-end" and “high-end” of the foregoing stipulated amounts shall
     increase by $1.2 million on November 1, 2024 and by an additional $1.2 million on the first day of each
     subsequent calendar month until the Interim Orders Contingency shall have occurred. For the avoidance of any
     doubt, the Outstanding Judgment shall include, without limitation, all amounts and categories of amounts the
     Landlord has or could have claimed/prayed for in the Delaware Action, including, without limitation,
     arrears/defaults in the Base Rent, Additional Charges, default, escalated or holdover rent, Impositions,
     insurance premiums, expenses, taxes, insurance, water, utilities, landscape, maintenance, HVAC, trash
     removal, fees, and other expenses, interest, penalties, and other amounts, including attorneys' fees, owed by
     IJKG Opco and its Affiliates under any Lease Document, as of the date on which the Interim Orders
     Contingency has occurred.”

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accordance with a revised budget attached thereto as Exhibit A. The December 26 Interim DIP
Order further provided that the Interim DIP Orders were clarified or modified as follows:

       a.      The “Interim Financing Period” in paragraph 2 of the Bayonne Interim DIP Order
               shall mean “the period commencing November 7, 2024 through and including the
               date of the Final Hearing as set forth in Section 6 of [the Bayonne Interim DIP
               Order]”;

       b.      The reference to “existing equipment liens” in paragraph 7(b) of the Bayonne
               Interim DIP Order shall mean “existing equipment liens that are senior to the
               prepetition liens of the Pre-Petition Secured Parties under applicable law”;

       c.      The first line of paragraph 11 of the Christ/HUMC Interim DIP Order is modified
               to clarify that the “DIP Liens” as defined therein are “Effective as of November 7,
               2024 . . .”; and

       d.      The third “provided further” clause in paragraph 11 of the Christ/HUMC Interim
               DIP Order shall be modified to say: “provided, further, that the DIP Lender’s liens
               on and security interests in the DIP Collateral shall be subject to equipment liens
               that are senior to the prepetition liens of the Prepetition Secured Parties under
               applicable law and the cash collateral liens of IDB Bank or its affiliates including,
               without limitation, their liens on any of the Debtors’ accounts identified in the
               Debtors’ cash management motion [D.I. 7] (collectively, the “IDB Collateral”).”

        The Plan Proponents anticipate that there will be a further extension of the term of the DIP
Facilities through the Effective Date of the Plan.

       3.      Collateral Surrender Motion [D.I. 18]

       On November 4, 2024, the Debtors Filed the Collateral Surrender Motion. By the Collateral
Surrender Motion, the Bayonne Debtors seek to: (a) allow HRH to operate the Bayonne Medical
Center, and (b) sell substantially all their assets to HRH in a private sale, pursuant to the Collateral
Surrender Agreement.

       4.      MSA Motion [D.I. 19]

        On November 4, 2024, the Debtors Filed the MSA Motion. By the MSA Motion, the
Debtors sought to assume the MSA, under which: (i) Hudson Regional Management, LLC (an
entity co-owned by an HRH-entity and CarePoint) will provide administrative oversight services
to the Debtors’ and HRH’s hospitals.

       5.      Hospital Facilities Management Motion [D.I. 212]

        On December 1, 2024, the Debtors Filed the Hospital Facilities Management Motion. By
the Hospital Facilities Management Motion, the Debtors sought to enter into the Hospital Facilities
MSA, under which HRH will provide management services to HUMC and Christ Hospital in
exchange for: (i) a $1.75 million monthly fee; and (ii) an exclusive option to purchase all tangible
and intangible assets related to the hospitals’ operations.

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       6.      Retention of Debtors’ Professionals

                i.    Epiq Corporate Restructuring, LLC

        On November 18, 2024, the Debtors Filed the Application of the Debtors for Authority to
Retain and Employ Epiq Corporate Restructuring, LLC as Administrative Advisor [D.I. 144]. On
December 13, 2024, the Court entered an amended Order approving the Debtors’ retention of Epiq
[D.I. 288].

               ii.    Dilworth Paxson LLP (“Dilworth”)

        On November 4, 2024, the Debtors Filed the Application of the Debtors for Entry of an
Order (I) Authorizing the Debtors to Retain and Employ Dilworth Paxson LLP as Counsel,
Effective as of the Petition Date, and (II) Granting Related Relief [D.I. 36]. On November 19,
2024, Dilworth filed a supplemental declaration in support of its retention application [D.I. 151].
On December 7, 2024, Dilworth filed a second supplemental declaration in support of its retention
application [D.I. 254]. On December 10, 2024, the Court entered an order authorizing the Debtors’
employment of Dilworth as its counsel [D.I. 271].

              iii.    Ankura Consulting Group, LLC (“Ankura”)

        On November 13, 2024, the Debtors Filed the Application of the Debtors for Entry of an
Order (I) Authorizing the Debtors to Retain Ankura Consulting Group, LLC as Financial Advisor
to the Debtors, Effective as of the Petition Date and (II) Granting Related Relief [D.I. 132]. On
December 9, 2024, Ankura Filed a supplemental declaration in support of its retention application
[D.I. 256]. On December 10, 2024, the Court entered an Order approving the Debtors’ employment
of Ankura Consulting Group, LLC as its financial advisor. See D.I. 269.

              iv.     Ordinary Course Professionals

       On November 19, 2024, the Debtors Filed the Motion of the Debtors for the Entry of an
Order (I) Authorizing the Debtors to Retain, Employ and Compensate Professionals Utilized in
the Ordinary Course of Business and (II) Granting Related Relief [D.I. 160] (the “OCP
Application”). On December 4, 2024, the U.S. Trustee filed an objection to such retention [D.I.
220]. On December 18, 2024, the Court entered an Order granting the OCP Application. See D.I.
325.

       7.      Appointment of PCO and UCC

                i.    PCO

        On November 20, 2023, the Court entered an Order directing the appointment of a patient
care ombudsman. See D.I. 162. On November 25, 2024, the U.S. Trustee appointed David Crapo
as the Debtors’ PCO. See D.I. 194.

               ii.    UCC




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        On November 19, 2024, the U.S. Trustee appointed the UCC pursuant to Bankruptcy Code
section 1102(a). See D.I. 157. On December 17, 2024, the UCC filed the Application for Order,
Pursuant to 11 U.S.C. §§ 328, and 1103, Fed. R. Bankr. P. 2014, and Local Rule 2014-1,
Authorizing and Approving the Employment and Retention of Pachulski Stang Ziehl & Jones LLP
as Co-Counsel to the Official Committee of Unsecured Creditors of CarePoint Health Systems Inc.
d/b/a Just Health Foundation, et al. Nunc Pro Tunc to November 20, 2024 [D.I. 317] (the
“Pachulski Application”); and the Application to Retain and Employ Sills Cummis & Gross P.C.
as Attorneys for the Official Committee of Unsecured Creditors of CarePoint Health Systems Inc.
d/b/a Just Health Foundation, et al., to November 20, 2024 [D.I. 318] (the “Sills Application”).
On January 3, 2025, the Court entered orders granting the Pachulski Application and the Sills
Application. See D.I. 391-392.

       8.      Claims Process and Bar Dates

               i.     Section 341(a) Meeting of Creditors

       On December 13, 2024, the U.S. Trustee presided over a meeting of creditors in the Chapter
11 Cases pursuant to Bankruptcy Code section 341(a).

              ii.     Schedules and Statements

       On November 5, 2024, the Debtors filed the Motion of Debtors for Entry of an Order
Extending the Time Within Which Debtors Must Filed Their Schedules of Assets and Liabilities
and Statements of Financial Affairs [D.I. 58] (the “Schedule Extension Motion”). On December
6, 2024, the Court entered an order granting the Schedule Extension Motion [D.I. 242]. On
December 23, 2024, the Debtors filed their Schedules.

              iii.    Claims Bar Dates

        No bar dates for filing claims have been set in the Chapter 11 Cases. The Combined
Disclosure Statement and Plan establishes the General Claims Bar Date, Administrative Expense
Claims Bar Date, Governmental Claims Bar Date, Professional Fee Claims Bar Date and Rejection
Claims Bar Date, as set forth in Articles II.A, IX.Q and XII.B hereof. Such deadlines will also be
set forth in the notice of Effective Date.

       9.      Chapter 11 Trustee Motion

        On December 9, 2024, the U.S. Trustee filed a motion to appoint a chapter 11 trustee, or,
in the alternative, converting the cases to chapter 7 cases [D.I. 267] (the “Chapter 11 Trustee
Motion”). A hearing on the Chapter 11 Trustee Motion is currently scheduled for January 13,
2025 at 10:00 a.m.

       10.     Mediation and the Plan Term Sheet

       On December 18 and 19, 2024, the Debtors, the UCC, HRH and others participated in
mediation proceedings with the Mediator in an effort to consensually address disputes related to
the DIP Motions, the Collateral Surrender Motion, the MSA Motion, and the Hospital Facilities
Management Motion. Such negotiations bore fruit and resulted in the Plan Term Sheet and

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ultimately this Combined Disclosure Statement and Plan, which provides for: (i) the continuation
of the Debtors’ hospital operations for the benefit of Hudson County citizens, (ii) a value-
maximizing alternative transaction process, (iii) the payment of all outstanding withholding tax
obligations, and (iv) the Debtors’ emergence from bankruptcy in a matter of weeks. Under the Plan
Term Sheet, the Debtors and UCC agreed to seek a combined hearing on final approval of the
Disclosure Statement and confirmation of the Plan, and they agreed to support the Plan Term Sheet
and all transactions thereunder in all respects.

D.      Releases and Exculpation

        1.      Proposed Releases & Exculpation

       The Plan proposes for the Debtors to release the Released Parties as set forth in Article
XIV.D (the “Debtor Releases”) and to exculpate the Exculpated Parties as set forth in Article
XIV.E hereof. In addition to the Debtors Releases of the Released Parties and the exculpation of
the Exculpated Parties, the Plan proposes an injunction against bringing Claims and Causes of
Action from which the Released Parties were released or the Exculpated Parties were exculpated.

        2.      Governing Standard for Approval

        The Bankruptcy Code supports the inclusion of debtor releases in a chapter 11 plan.
Section 1123(b)(3)(A) of the Bankruptcy Code states that a chapter 11 plan may provide for “the
settlement or adjustment of any claim or interest belonging to the debtor or to the estate.” 11
U.S.C. § 1123(b)(3). A debtor may release claims under section 1123(b)(3)(A) of the Bankruptcy
Code “if the release is a valid exercise of the debtor’s business judgment, is fair, reasonable, and
in the best interests of the estate.” In re Spansion, Inc., 426 B.R. 114, 143 (Bankr. D. Del. 2010)
(citation omitted). In evaluating the propriety of a debtor release, courts in the Third Circuit often
consider whether: (i) the released party has made a substantial contribution to the debtor’s
reorganization; (ii) the release is essential to the debtor’s reorganization; (iii) a substantial majority
of creditors support the release; (iv) there is an identity of interest between the debtor and the
released party; and (v) a plan provides for payment of all or substantially all of the claims in the
class or classes affected by the release. See, e.g., Zenith Elecs. Corp., 241 B.R 92, 110 (Bankr. D.
Del. 1999) (citation omitted). Not all factors must be satisfied for a court to approve a debtor
release. See In re Wash, Mut., Inc., 442 B.R. 314, 346 (Bankr. D. Del. 2011) (“These factors are
neither exclusive nor conjunctive requirements, but simply provide guidance in the [c]ourt’s
determination of fairness”) (internal citation omitted).

       As will be set forth in greater detail in the Plan Proponents’ pleadings in support of
confirmation of the Plan, the Plan Proponents believe the proposed Debtor Releases satisfy
applicable standards because they are a valid exercise of the Debtors’ business judgment, are fair,
reasonable and in the best interests of the Debtors’ estates, the product of arm’s-length
negotiations, and were critical to obtaining support for the Plan.

        The Plan Proponents believe that the proposed recoveries set forth herein would not be
possible without HRH’s concessions to date, including, but not limited to, HRH’s agreement to
have its claims satisfied through the HRH Exit Facility, such that no Litigation Trust Assets shall
be used to pay the Allowed HRH Claims (other than certain proceeds of Litigation Claims) and to

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ensure that Holders of Claims in Class 7 (General Unsecured Claims) receive recoveries on
account of Litigation Claims and Avoidance Actions. Without the foregoing concessions (among
others) by HRH, the projected recoveries set forth herein with respect to Holders of Claims in
Class 7 (General Unsecured Claims) would decrease to such Holders’ detriment.

       Moreover, the Plan Proponents believe that the Debtor Releases are essential to the
Debtors’ restructuring efforts, in part because they are critical to maintaining HRH’s support for
the Plan. Upon information and belief, HRH would decline to support the Plan and would not
provide any concessions for the benefit of unsecured creditors without the inclusion of the Debtor
Releases, due to concerns about the deleterious effects threatened or actual litigation could have
on the ability of the Debtors to emerge from bankruptcy and execute their business plans post-
emergence, further illustrating their essential nature.

        Finally, the Plan Proponents believe that the Debtor Releases and exculpation provisions
contained in Article XIV.D and Article XIV.E, are narrowly tailored and appropriate given the
facts and circumstances of the Chapter 11 Cases and that Holders of Claims in Voting Classes will
likely vote to accept the Plan. Notably, the Plan does not currently provide releases for the Debtors’
Current D&Os. Rather as explained in Article IX.D, D&O Claims against the Current D&Os shall
be evaluated by the independent Reorganization Committee based upon information provided by
all interested parties, including the UCC, the Litigation Trustee, and management. Upon their
receipt of all relevant information, the Reorganization Committee shall give all such parties an
opportunity to be heard to discuss whether viable claims exist and should be pursued against the
Current D&Os. Promptly thereafter, the Reorganization Committee shall provide to all parties a
written determination, consistent with the Debtors’ fiduciary duties to their creditors, whether any
such claims exist and should be pursued, identifying the factual and legal predicates for the
Reorganization Committee’s decisions, which shall be final. All statutory common law
immunities, including those arising under New Jersey statutes, shall remain in full force and effect.
To the extent any claims against the Current D&Os are pursued, such claims and proceeds thereof
shall constitute Litigation Claims.

       For all the foregoing reasons, and as will be set forth in detail the Plan Proponents’
pleadings in support of confirmation of the Plan, the Plan Proponents submit that the Debtor
Releases are narrowly tailored, necessary to the Debtors’ successful reorganization, and
appropriate under the circumstances.

E.      Substantive Consolidation

       As set forth in Article IX.A herein, the Plan contemplates and is predicated upon entry of
an order substantively consolidating the Debtors’ Estates and Chapter 11 Cases for purposes of
voting and Distribution.

         In function, substantive consolidation treats separate legal entities as if they were merged
into a single survivor left with all cumulative assets and liabilities (except for inter-entity liabilities,
which are erased). The result is that claims of creditors against separate debtors are converted into
claims against a single consolidated debtor solely for purposes of voting and distributions under
the chapter 11 plan.



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        If substantive consolidation is authorized by this Court through the Confirmation Order,
on the Effective Date, (a) all assets and liabilities of the Debtors will be merged or treated as if
they were single pool of assets; (b) any guarantee of an obligation of a Debtor by another Debtor
will be eliminated; (c) each Claim Scheduled, Filed or to be Filed against any Debtor will be
deemed Filed only against CarePoint and will be deemed a single Claim against and a single
obligation of CarePoint; and (d) any joint or several liability of the Debtors will be deemed one
obligation of CarePoint. On the Effective Date, and in accordance with the terms of the Plan and
the consolidation of the assets and liabilities of the Debtors, all Claims based upon guarantees of
collection, payment, or performance made by one Debtor as to the obligations of another Debtor
will be released and of no further force and effect.

         As will be set forth in greater detail in the Debtors’ pleadings in support of confirmation
of the Plan, the Debtors believe that substantive consolidation is merited here because, among
other things, (i) the Debtors are interrelated such that consolidating their assets and liabilities is
necessary; and (ii) the benefits of consolidating the Debtors’ assets and liabilities outweigh the
harm to creditors, particularly given the size of the Intercompany Claims and difficulty
unscrambling assets and liabilities. Therefore, the Plan Proponents submit that substantive
consolidation is an appropriate remedy here and will further establish the need for its application
in their pleadings in support of confirmation of the Plan.

                              ARTICLE IV.
            TREATMENT AND ALLOWANCE OF UNCLASSIFIED CLAIMS

        In accordance with Bankruptcy Code section 1123(a)(1), Administrative Expense Claims,
Priority Tax Claims, and Professional Fee Claims have not been classified and, thus, are excluded
from the Classes of Claims and Interests set forth in Article V hereof.

A.     Administrative Expense Claims

        Unless a holder agrees to less favorable treatment, each holder of an Allowed
Administrative Expense Claim (including all Professional Fee Claims) shall be paid in full in cash
on the later of (a) the Effective Date, or (b) the date on which such Administrative Expense Claim
becomes an Allowed Administrative Expense Claim, or as soon as reasonably practicable
thereafter. Alternatively, all Allowed Administrative Expense Claims, excluding Professional Fee
Claims, may be assumed by the Reorganized Debtors and paid in the ordinary course.

       Objections to Administrative Expense Claims (other than Professional Fee Claims) must
be Filed and served on the Debtors, the Litigation Trust and the requesting party by the Claims
Objection Deadline. Allowed Professional Fee Claims shall be paid from the Professional Fee
Reserve pursuant to Article IX.K.2 hereof.

         Requests for payment of Administrative Expense Claims (other than Professional Fee
Claims and the Claims of Governmental Units arising under Bankruptcy Code section
503(b)(1)(B), (C) or (D)) must be filed with the Claims and Noticing Agent
(https://dm.epiq11.com/case/carepoint/claims) and served on the Reorganized Debtors and the
Litigation Trustee no later than the Administrative Expense Claim Bar Date. Unless otherwise
Ordered by the Court, Holders of Administrative Expense Claims (other than the Holders of


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Professional Fee Claims and the Claims of Governmental Units arising under Bankruptcy Code
section 503(b)(1)(B), (C) or (D)) that do not comply with the provisions set forth herein for the
allowance and payment thereof on or before the Administrative Expense Claim Bar Date shall
forever be barred from asserting such Administrative Expense Claims against the Debtors, their
Estates, the Litigation Trust or any of their assets.

       Unless the Litigation Trust, the Reorganized Debtors or any other party-in-interest objects
to an Administrative Expense Claim by the Claims Objection Deadline, such Administrative
Expense Claim shall be deemed Allowed in the amount requested. In the event that the Litigation
Trust, the Reorganized Debtors, or any other party-in-interest objects to an Administrative
Expense Claim, the Court shall determine the Allowed amount of such Administrative Expense
Claim.

B.     Priority Tax Claims

        Unless a Holder agrees to less favorable treatment, each Holder of an Allowed Priority Tax
Claim shall receive on the later of (a) the Effective Date and (b) the date on which such Claim
becomes an Allowed Claim (or as soon as reasonably practicable thereafter), (i) Cash equal to the
unpaid portion of such Allowed Priority Tax Claim from the Administrative Expense Claims
Reserve, (ii) regular installment payments in Cash from the Reorganized Debtors, consistent with
Bankruptcy Code section 1129(a)(9)(C), or (iii) such other treatment as to which such Holder and
the Litigation Trustee or the Reorganized Debtors, as applicable, shall have agreed upon in writing.
Alternatively, all Allowed Priority Tax Claims may be assumed by the Reorganized Debtors and
paid in the ordinary course.

       Notwithstanding the foregoing or anything to the contrary herein, all Claims arising from
the Debtors’ failure to pay prepetition payroll taxes shall be paid by the Reorganized Debtors from
their operations subsequent to the Effective Date subject to section 1129(a)(9)(C) of the
Bankruptcy Code.

C.     Priority Non-Tax Claims

        On, or as soon as reasonably practicable after, the Effective Date, each Holder of an
Allowed Priority Non-Tax Claim shall receive, on account of, in exchange for, and in full
satisfaction of such Allowed Priority Non-Tax Claim, (i) Cash equal to the unpaid portion of such
Allowed Priority Non-Tax Claim from the Administrative Expense Claims Reserve, or (ii) such
other treatment as to which such Holder and the Litigation Trustee shall have agreed upon in
writing. Alternatively, all Allowed Priority Non-Tax Claims may be assumed by the Reorganized
Debtors and paid in the ordinary course.

       As will be set forth in the Plan Supplement, the Claims of certain employees for amounts
in excess of the priority cap under sections 507(a)(4)-(5) of the Bankruptcy Code will be paid (or
non-impaired). Notwithstanding anything to the contrary herein, all Claims of employees
employed as of the Effective Date shall either be satisfied in full or assumed by the Reorganized
Debtors and satisfied in the ordinary course of business. The individual employees and the
applicable amounts subject to payment will be subject to a reconciliation process among the
Reorganized Debtors, HRH and the Litigation Trustee. To the extent any dispute arises amongst


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such parties and/or the applicable claimant and cannot be consensually resolved, such dispute shall
be determined by the Court.

D.     Professional Fee Claims

       1.      Final Fee Applications and Payment of Professional Fee Claims

        All final requests for payment of Professional Fee Claims (the “Final Fee Applications”)
may be made any time after the Confirmation Date but shall be Filed no later than the Professional
Fee Claim Bar Date. Objections, if any, to Final Fee Applications of such Professionals must be
Filed and served on the Litigation Trust, the Reorganized Debtors, the requesting Professional,
and the U.S. Trustee no later than 21 days from the date on which each such Final Fee Application
is Filed (the “Professional Fee Claim Objection Deadline”). After notice and a hearing in
accordance with the procedures established by the Bankruptcy Code and prior orders of the Court,
the Allowed amounts of such Professional Fee Claims shall be determined by the Court.

       2.      Post-Effective Date Fees and Expenses

        The Professionals employed by the Debtors and the UCC shall be entitled to reasonable
compensation and reimbursement of actual, necessary expenses for post-Effective Date activities,
relating to the preparation, filing, and prosecution of Final Fee Applications. Any time or expenses
incurred in the preparation, filing, and prosecution of Final Fee Applications shall be subject to
approval of the Court.

        Upon the Effective Date, any requirement that Professionals comply with Bankruptcy Code
sections 327 through 331 in seeking retention or compensation for services rendered after such
date shall terminate, and, subject to the Litigation Trust Agreement, the Litigation Trustee may
employ and pay any Professional for services rendered or expenses incurred after the Effective
Date in the ordinary course of business without any further notice to, or action, Order, or approval
of, the Court.

                                 ARTICLE V.
           CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.     Classification of Claims and Interests

        The Plan is premised upon the substantive consolidation of the Debtors, as set forth in more
detail below, for the limited purposes of voting, determining which Claims and Interests have
accepted the Plan, confirmation of the Plan, and the resultant treatment of Claims and Interests and
Distributions under the terms of the Plan. Accordingly, the Plan shall serve as a motion for entry
of a Court order approving the substantive consolidation of the Debtors for such purposes.

        Pursuant to Bankruptcy Code sections 1122 and 1123(a)(1), all Claims against and Interests
in the Debtors (except for the Claims addressed in Article IV hereof) are classified for the purposes
of voting and Distribution under the Plan as set forth below. A Claim or an Interest shall be deemed
classified in a particular Class only to the extent that the Claim or Interest qualifies within the
description of that Class and shall be deemed classified in a different Class to the extent that any
remainder of such Claim or Interest qualifies within the description of such other Class. A Claim

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is placed in a particular Class for the purpose of receiving Distributions pursuant to the Plan only
to the extent that such Claim is an Allowed Claim in that Class and such Claim has not been paid,
released, or otherwise settled prior to the Effective Date. Except as otherwise specifically provided
for herein, in the Confirmation Order, any other Order of the Court, or required by applicable
bankruptcy law, in no event shall the aggregate value of all property received or retained under the
Plan on account of an Allowed Claim exceed 100% of the underlying Allowed Claim.

        Bankruptcy Code section 1129(a)(10) shall be satisfied for the purposes of Confirmation
by acceptance of the Plan by an Impaired Class of Claims. The Plan Proponents may seek
Confirmation of the Plan pursuant to Bankruptcy Code section 1129(b) with respect to any
rejecting Class of Claims or Interests.

        All Claims and Interests (other than Administrative Expense Claims, Priority Tax Claims,
Priority Non-Tax Claims, and Professional Fee Claims) are placed in the Classes set forth below.
The following chart provides a summary of treatment of each Class of Claims and Interests (other
than Administrative Expense Claims, Priority Tax Claims, Priority Non-Tax Claims, and
Professional Fee Claims) and an estimate of the recoveries of each Class.12 The treatment provided
in this chart is for informational and illustrative purposes only and is qualified in its entirety by
Article V hereof.13

                                                                                   Estimated
                                                                 Voting          Dollar Amount            Projected
     Class     Claim / Interest              Status
                                                                 Rights           of Allowed              Recovery
                                                                                    Claims
                                                               Entitled to
      1          HRH Claims                Impaired                                $88 million           [●]%-[●]%
                                                                 Vote
                                                               Entitled to
      2        Capitala Claims             Impaired                                     TBD                  TBD
                                                                 Vote




12
      These amounts represent estimated Allowed Claims and do not represent amounts actually asserted by Creditors
      in Proofs of Claim or otherwise. The Debtors have not completed their analysis of Claims in the Chapter 11
      Cases and the claims bar dates have not passed. Therefore, there can be no assurances of the exact amount of the
      Allowed Claims at this time. Rather, the actual amount of the Allowed Claims may be higher or lower than
      estimated.
13
      The information reflected below is also subject to material change based on certain contingencies, including those
      related to the Claims reconciliation process. Actual recoveries may widely vary within these ranges, and any
      changes to any of the assumptions underlying these amounts could result in material adjustments to recovery
      estimates provided herein and/or the actual Distributions received by Holders of Allowed Claims. The projected
      recoveries are based on information available as of the date hereof and reflect estimates as of the date hereof only.
      In addition to the cautionary notes contained elsewhere in the Combined Disclosure Statement and Plan, it is
      underscored that the Plan Proponents make no representation as to the accuracy of these recovery estimates. The
      Plan Proponents expressly disclaim any obligation to update any estimates or assumptions after the date hereof
      on any basis (including new or different information received and/or errors discovered).


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                                                                       Estimated
                                                        Voting       Dollar Amount        Projected
  Class        Claim / Interest        Status
                                                        Rights        of Allowed          Recovery
                                                                        Claims
                  Capitala
                                                      Deemed to
     3            Specialty          Impaired                             TBD                0%
                                                       Reject
               Lending Claims
               Maple Secured                          Deemed to
     4                               Impaired                             TBD                0%
                   Claims                              Reject
                   Maple
                                                      Deemed to
     5           Unsecured           Impaired                          $14,902,959           0%
                                                       Reject
                   Claims
                Other Secured                         Deemed to
     6                              Unimpaired                            TBD               100%
                   Claims                              Accept
                   General
                                                      Entitled to
     7           Unsecured           Impaired                             TBD               TBD
                                                        Vote
                   Claims
                                                      Entitled to
     8         Insured Claims        Impaired                             TBD               TBD
                                                        Vote
                Prior Owner                           Deemed to
     9                               Impaired                             TBD                0%
                   Claims                              Reject
               Intercompany                           Deemed to
     10                              Impaired                             TBD                0%
                   Claims                              Reject
                  Bayonne                             Deemed to
     11                              Impaired                              N/A               N/A
                  Interests                            Reject
                                                      Deemed to
     12        Other Interests      Unimpaired                             N/A               N/A
                                                       Accept

B.        Treatment of Claims and Interests

          1.      Class 1-A: HRH Claims

                  (a)     Classification: Class 1 consists of all HRH Claims.

                  (b)     Treatment: On, or as soon as reasonably practicable after the Effective Date,
                          HRH shall receive on account of its Allowed HRH Claims, the HRH Exit
                          Facility. No Litigation Trust Assets shall be used to pay the Allowed HRH
                          Claims (other than certain proceeds of Litigation Claims as set forth herein),
                          which claims will be treated as an HRH Exit Facility, which will be paid
                          from the Reorganized Debtors’ future operations. Notwithstanding anything
                          contained herein, in the event that an Alternative Transaction is
                          consummated, the HRH Claims shall be paid in full upon the closing of the
                          Alternative Transaction. For the avoidance of doubt, the HRH Claims are
                          deemed Allowed in the approximate estimated amount of $88 million for
                          all purposes under the Plan, subject to final reconciliation as shall be set
                          forth in the HRH Exit Facility Credit Agreement and except as provided in
                          Article IX.C of the Plan. For the avoidance of doubt, nothing herein grants

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                    HRH more rights for purposes of credit bidding than as set forth in Article
                    IX.E.

              (c)   Voting: Class 1 is Impaired. Holders of the HRH Claims in Class 1 are
                    entitled to vote to accept or reject the Plan.

       2.     Class 2: Capitala Claims

              (a)   Classification: Class 2 consists of all Capitala Claims.

              (b)   Treatment: On, or as soon as reasonably practicable after the Effective Date,
                    Capitala shall receive, on account of its Allowed Capitala Claims, the
                    Capitala Exit Facility. Capitala shall receive no Distributions under the Plan,
                    other than rights provided under the Capitala Exit Facility. No Litigation
                    Trust Assets shall be used to pay the Allowed Capitala Claims.

              (c)   Voting: Class 2 is Impaired. Holders of Capitala Claims in Class 2 are
                    entitled to vote to accept or reject the Plan.

       3.     Class 3: Capitala Specialty Lending Claims

              (a)   Classification: Class 3 consists of all Capitala Specialty Lending Claims.

              (b)   Treatment: Holders of Capitala Specialty Lending Claims shall not receive
                    or retain any property under the Plan on account of such Claims.

              (c)   Voting: Class 3 is Impaired. Holders of Capitala Specialty Lending Claims
                    are deemed to reject the Plan pursuant to Bankruptcy Code section 1126(g).
                    Therefore, such Holders are not entitled to vote to accept or reject the Plan.

       4.     Class 4: Maple Secured Claims

              (a)   Classification: Class 4 consists of all Maple Secured Claims.

              (b)   Treatment: Holders of Maple Secured Claims shall not receive or retain any
                    property under the Plan on account of such Claims.

              (c)   Voting: Class 4 is Impaired. Holders of Claims in Class 4 are deemed to
                    reject the Plan pursuant to Bankruptcy Code section 1126(g). Therefore,
                    such Holders are not entitled to vote to accept or reject the Plan.

       5.     Class 5: Maple Unsecured Claims

              (a)   Classification: Class 5 consists of all Maple Unsecured Claims.

              (b)   Treatment: Holders of Maple Unsecured Claims shall not receive or retain
                    any property under the Plan on account of such Claims.



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              (c)   Voting: Class 5 is Impaired. Holders of Maple Unsecured Claims are
                    deemed to reject the Plan pursuant to Bankruptcy Code section 1126(g).
                    Therefore, such Holders are not entitled to vote to accept or reject the Plan.

       6.     Class 6: Other Secured Claims

              (a)   Classification: Class 6 consists of all Other Secured Claims.

              (b)   Treatment: On, or as soon as reasonably practicable after the later of the
                    Effective Date and the date each Other Secured Claim is Allowed, to the
                    extent not otherwise paid pursuant to another Court order, each Holder of
                    an Allowed Other Secured Claim shall receive from the Reorganized
                    Debtors, on account of, in exchange for, and in full and final satisfaction,
                    compromise, settlement, release, and discharge of such Allowed Other
                    Secured Claim, (i) cash equal to the unpaid portion of the Allowed Other
                    Secured Claim, (ii) the collateral securing such Allowed Other Secured
                    Claim, (iii) the indubitable equivalent of such Allowed Other Secured
                    Claim, or (iv) such other treatment as to which such Holder and the
                    Reorganized Debtors agree to in writing.

              (c)   Voting: Class 6 is Unimpaired and, therefore, Holders of Claims in Class 6
                    are conclusively deemed to have accepted the Plan pursuant to Bankruptcy
                    Code section 1126(f). Holders of Claims in Class 6 are not entitled to vote
                    to accept or reject the Plan.

       7.     Class 7: General Unsecured Claims

              (a)   Classification: Class 7 consists of all General Unsecured Claims.

              (b)   Treatment: On, or as soon as reasonably practicable after, the Effective
                    Date, except to the extent such Holder and the Debtors or the Litigation
                    Trustee, as applicable, shall have agreed upon in writing to alternative
                    treatment, each Holder of an Allowed General Unsecured Claim shall
                    receive, on account of, in exchange for, and in full and final satisfaction,
                    compromise, settlement, release, and discharge of such Allowed General
                    Unsecured Claim, a Pro Rata beneficial interest in the Litigation Trust.

              (c)   Voting: Class 7 is Impaired. Holders of Claims in Class 7 are entitled to
                    vote to accept or reject the Plan.

       8.     Class 8: Insured Claims

              (a)   Classification: Class 8 consists of all Insured Claims.

              (b)   Treatment: Holders of Insured Claims shall recover only from the proceeds
                    of available insurance and shall not be entitled to any distributions from the
                    Debtors, Reorganized Debtors, or Litigation Trust.


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               (c)    Voting: Class 8 is Impaired. Holders of Claims in Class 8 are entitled to
                      vote to accept or reject the Plan.

       9.      Class 9: Prior Owner Claims

               (a)    Classification: Class 9 consists of all Prior Owner Claims.

               (b)    Treatment: Holders of Prior Owner Claims shall not receive or retain any
                      property under the Plan on account of such Claims.

               (c)    Voting: Class 9 is Impaired. Holders of Prior Owner Claims are deemed to
                      reject the Plan pursuant to Bankruptcy Code section 1126(g). Therefore,
                      such Holders are not entitled to vote to accept or reject the Plan.

       10.     Class 10: Intercompany Claims

               (a)    Classification: Class 10 consists of all Intercompany Claims.

               (b)    Treatment: Holders of Intercompany Claims shall receive no recovery
                      under the Plan as a result of the substantive consolidation of the Debtors’
                      Estates for purposes of voting and Distribution.

               (c)    Voting: Class 10 is Impaired. Holders of Intercompany Claims are deemed
                      to reject the Plan pursuant to Bankruptcy Code section 1126(g). Therefore,
                      such Holders are not entitled to vote to accept or reject the Plan.

       11.     Class 11: Bayonne Interests

               (a)    Classification: Class 11 consists of all Bayonne Interests.

               (b)    Treatment: Bayonne Interests shall be cancelled by the Reorganized
                      Debtors on the later of: (a) the date that is thirty (30) days after the last
                      applicable provider agreement is transferred to the entity designated as the
                      new operator of the assets of Bayonne, or (b) twenty four (24) months after
                      the Effective Date, and Holders of Bayonne Interests shall not receive or
                      retain any property under the Plan on account of such Bayonne Interests.

               (c)    Voting: Class 11 is Impaired. Holders of Bayonne Interests are deemed to
                      reject the Plan pursuant to Bankruptcy Code section 1126(g). Therefore,
                      such Holders are not entitled to vote to accept or reject the Plan.

       12.     Class 12: Other Interests

               (a)    Classification: Class 12 consists of all Other Interests.

               (b)    Treatment: Other Interests shall be unaffected by the Plan and the Holders
                      thereof shall retain all legal, equitable and contractual rights to which such
                      Interests are otherwise entitled.


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               (c)     Voting: Class 12 is Unimpaired and, therefore, Holders of Claims in Class
                       12 are conclusively deemed to have accepted the Plan pursuant to
                       Bankruptcy Code section 1126(f). Holders of Claims in Class 12 are not
                       entitled to vote to accept or reject the Plan.

C.     Special Provision Governing Unimpaired Claims

        Except as otherwise provided in the Plan, the Confirmation Order, any other Order of the
Court, or any document or agreement enforceable pursuant to the terms of the Plan, nothing shall
affect the rights and defenses, both legal and equitable, of the Debtors, the Reorganized Debtors,
the Litigation Trustee and/or the Litigation Trust with respect to any Unimpaired Claims,
including, but not limited to, all rights with respect to legal and equitable defenses to setoffs or
recoupments against Unimpaired Claims.

D.     Nonconsensual Confirmation

        With respect to Impaired Classes that are deemed to reject the Plan, the Plan Proponents
intend to request that the Court confirm the Plan pursuant to Bankruptcy Code section 1129(b)
notwithstanding the deemed rejection of the Plan by such Classes. If any other Impaired Class of
Claims entitled to vote does not accept the Plan by the requisite statutory majority provided in
Bankruptcy Code section 1126, the Plan Proponents reserve the right to amend the Plan or to
undertake to have the Court confirm the Plan under Bankruptcy Code section 1129(b) with respect
to such Class as well, or both.

E.     Allowed Claims

        Notwithstanding any provision herein to the contrary, the Disbursing Agent shall only
make Distributions to Holders of Allowed Claims. No Holder of a Disputed Claim shall receive
any Distribution on account thereof until (and then only to the extent that) its Disputed Claim
becomes an Allowed Claim. The Litigation Trustee may, in its discretion, withhold Distributions
otherwise due hereunder to any Holder until the Claims Objection Deadline, to enable a timely
objection thereto to be Filed. Any Holder of a Claim that becomes an Allowed Claim after the
Effective Date shall receive its Distribution in accordance with the terms and provisions of the
Plan and/or the Litigation Trust Agreement, as applicable.

                                 ARTICLE VI.
                     CONFIRMATION AND VOTING PROCEDURES

A.     Confirmation Procedure

       1.      Confirmation Hearing

       On January [●], 2025, the Court entered the Solicitation Procedures Order, authorizing the
Plan Proponents to solicit acceptances of the Plan. The Confirmation Hearing has been scheduled
for February [●], 2025 at 10:00 a.m. (Eastern Prevailing Time) to consider confirmation of the
Plan pursuant to Bankruptcy Code section 1129. The Confirmation Hearing may be continued
from time to time without further notice other than the announcement by the Plan Proponents in


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open court of the adjourned date(s) at the Confirmation Hearing or any continued hearing or as
indicated in any notice Filed with the Court.

       The Confirmation Hearing will be held in person before the Honorable J. Kate Stickles at
the United States Bankruptcy Court for the District of Delaware, 5th Floor Courtroom #6, 824
North Market Street, Wilmington, DE 19801.

        2.      Procedure for Objections

        Any objection to confirmation of the Plan must (a) be made in writing; (b) comply with the
Bankruptcy Code, the Bankruptcy Rules, and the Local Rules; (c) state the name and address of
the objecting party and the nature and amount of any Claim or Interest asserted by such party
against the Debtors, their Estates, or their property; (d) state with particularity the legal and factual
bases and nature of any objection to confirmation of the Plan; (e) be Filed with the Court, and
served upon the following parties (collectively, the “Notice Parties”): (i) CarePoint Health
Systems, Inc., 308 Willow Avenue, Hoboken, NJ 07030 (Attn: Shamiq Syed
(Shamiq.Syed@CarePointhealth.org)); (ii) counsel to the Debtors, Dilworth Paxson LLP, (x) 800
King Street – Suite 202, Wilmington, DE 19801 (Attn: Peter C. Hughes
(phughes@dilworthlaw.com)), and (y) 1650 Market St., Suite 1200, Philadelphia, PA 19103 (Attn:
Lawrence G. McMichael (lmcmichael@dilworthlaw.com)); (iii) counsel for Hudson Regional
Hospitals, LLC, Mandelbaum Barrett PC, 3 Becker Farm Road, Suite 105, Roseland, NJ 07068
(Attn:     Mohamed        Nabulsi       (mnabulsi@mblawfirm.com)            and      Vincent     Roldan
(vroldan@mblawfirm.com)); (iv) counsel for the UCC, (A) Sills Cummis & Gross P.C., The Legal
Center, One Riverfront Plaza, Newark, NJ 07102 (Attn: Andrew H. Sherman
(asherman@sillscummis.com) and Boris Mankovetskiy (bmankovetskiy@sillscummis.com)), and
(B) Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, P.O. Box 8705,
Wilmington, DE 19899-8705 (Courier 19801) (Attn: Bradford Sandler (bsandler@pszjlaw.com),
James O’Neill (joneill@pszjlaw.com), and Colin Robinson (crobinson@pszjlaw.com)); and (v)
Office of the United States Trustee for the District of Delaware, J. Caleb Boggs Federal Building,
844 King Street, Suite 2207, Lockbox 35, Wilmington, DE, 19801, Attn: Jane M. Leamy
(Jane.M.Leamy@usdoj.gov), so as to be received on or before February [●], 2025 at 4:00 p.m.
(Eastern Prevailing Time). Unless an objection is timely Filed and served, it may not be
considered by the Court at the Confirmation Hearing.

B.      Statutory Requirements for Confirmation

        1.      General Requirements

        The Court will confirm the Plan only if it meets all the applicable requirements of
Bankruptcy Code section 1129, as discussed herein. Among other requirements, the Plan (a) must
be accepted by all Impaired Classes of Claims and Interests or, if rejected by an Impaired Class,
the Plan must not “discriminate unfairly” against and be “fair and equitable” with respect to such
Class; and (b) must be feasible. The Court must also find that (a) the Plan has classified Claims
and Interests in a permissible manner; (b) the Plan complies with the technical requirements of
chapter 11 of the Bankruptcy Code; and (c) the Plan has been proposed in good faith.




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         2.       Classification of Claims and Interests

        Bankruptcy Code section 1123 provides that a plan must classify the claims and interests
of a debtor’s creditors and equity interest holders. In accordance with Bankruptcy Code section
1123, Article V of the Plan divides Claims and Interests into Classes and sets forth the treatment
for each Class (other than those Claims which, pursuant to Bankruptcy Code section 1123(a)(1),
need not be and have not been classified). A Claim or Interest is placed in a particular Class only
to the extent that the Claim or Interest falls within the description of that Class and is classified in
other Classes to the extent that any portion of the Claim or Interest falls within the description of
such other Classes. A Claim also is placed in a particular Class for the purpose of receiving
distributions pursuant to the Plan only to the extent that such Claim is an Allowed Claim in that
Class and such Claim has not been paid, released, or otherwise settled prior to the Effective Date.

        The Plan is also required, under Bankruptcy Code section 1122, to classify Claims and
Interests into Classes that contain Claims or Interests that are substantially similar to the other
Claims or Interests in such Class. In accordance with Bankruptcy Code section 1122, the Plan
creates separate Classes to deal respectively with secured Claims, unsecured Claims, and
Intercompany Claims. The Plan Proponents believe that the Plan’s classifications place
substantially similar Claims or Interests in the same Class and thus, meet the requirements of
Bankruptcy Code section 1122.14

        The Bankruptcy Code also requires that a plan provide the same treatment for each Claim
or Interest of a particular Class unless a Holder agrees to a less favorable treatment of its Claim or
Interest. The Plan Proponents believe that the Plan complies with such standard. If the Court finds
otherwise, however, it could deny confirmation of the Plan if the Holders of Claims or Interests
affected do not consent to the treatment afforded them under the Plan.

         3.       Confirmation Pursuant to Bankruptcy Code Sections 1129(a)(10) and 1129(b)

         In the event that any impaired class of claims or interests does not accept a plan, a plan
proponent nevertheless may move for confirmation of the plan. A plan may be confirmed, even if
it is not accepted by all impaired classes, if the plan has been accepted by at least one impaired
class of claims, determined without including any acceptance of the plan by any insider holding a
claim in that class, and the plan meets the “cramdown” requirements set forth in Bankruptcy Code
section 1129(b). Bankruptcy Code section 1129(b) requires that a court find that a plan (a) “does
not discriminate unfairly” and (b) is “fair and equitable,” with respect to each non-accepting
impaired class of claims or interests.

       Because Class 3 (Capitala Specialty Lending Claims), Class 4 (Maple Secured Claims),
Class 5 (Maple Unsecured Claims), Class 9 (Prior Owner Claims), Class 10 (Intercompany


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     It is possible that a Holder of a Claim or Interest may challenge the classification of Claims or Interests and that
     the Court may find that a different classification is required for the Plan to be confirmed. If such a situation
     develops, the Plan Proponents intend, in accordance with the terms of the Plan, to make such permissible
     modifications to the Plan as may be necessary to permit its Confirmation. Any such reclassification could
     adversely affect Holders of Claims by changing the composition of one or more Classes and the vote required of
     such Class or Classes for approval of the Plan.

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Claims) and Class 11 (Bayonne Interests) are deemed to reject the Plan, the Plan Proponents shall
(a) seek Confirmation of the Plan from the Court by employing the “cramdown” procedures set
forth in Bankruptcy Code section 1129(b) and/or (b) modify the Plan in accordance with Article
XVI.A hereof. The Plan Proponents reserve the right to alter, amend, modify, revoke, or withdraw
the Plan or any Plan Exhibit or schedule, including to amend or modify the Plan or such Exhibits
or schedules to satisfy the requirements of Bankruptcy Code section 1129(b), if necessary.

        The Plan Proponents believe that the requirements of Bankruptcy Code section 1129(b) are
satisfied. The Bankruptcy Code does not provide a standard for determining when “unfair
discrimination” exists; courts typically examine the facts and circumstances of each particular case
to determine whether unfair discrimination exists. At a minimum, however, the unfair
discrimination standard prevents creditors and interest holders with similar legal rights from
receiving materially different treatment under a proposed plan without sufficient justifications for
doing so. The Plan Proponents believe that, under the Plan, all Impaired Classes of Claims or
Interests are treated in a manner that is consistent with the treatment of other Classes of Claims or
Interests that are similarly situated, if any, except where there is sufficient justification for different
treatment. Accordingly, the Plan Proponents believe that the Plan does not discriminate unfairly
as to any Impaired Class of Claims or Interests.

        The Bankruptcy Code provides a nonexclusive definition of the phrase “fair and equitable.”
To determine whether a plan is “fair and equitable,” the Bankruptcy Code establishes “cramdown”
tests for secured creditors, unsecured creditors, and equity holders, as follows:

               Secured Creditors. Either (i) each impaired secured creditor retains its liens
                securing its secured claim and receives on account of its secured claim deferred
                cash payments having a present value at least equal to the amount of its allowed
                secured claim as of the effective date, (ii) each impaired secured creditor realizes
                the “indubitable equivalent” of its allowed secured claim, or (iii) the property
                securing the claim is sold free and clear of liens with such liens to attach to the
                proceeds of the sale and the treatment of such liens on proceeds to be as provided
                in clause (i) or (ii) above.

               Unsecured Creditors. Either (i) each impaired unsecured creditor receives or retains
                under the plan property of a value as of the effective date equal to the amount of its
                allowed claim, or (ii) the holders of claims and interests that are junior to the claims
                of the dissenting class will not receive any property under the plan on account of
                such junior claim or interest.

               Interests. Either (i) each holder of an equity interest will receive or retain under the
                plan property of a value equal to the greater of the allowed amount of any fixed
                liquidation preference to which such holder is entitled, the fixed redemption price
                to which such holder is entitled or the value of such interest, or (ii) the holder of
                any Interest that is junior to such non-accepting class will not receive or retain any
                property under the plan on account of such junior interest.

       The Plan Proponents believe that the distributions provided under the Plan satisfy the
absolute priority rule, where required.

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       4.      Best Interests of Creditors Test and Liquidation Analysis

                i.     Best Interests of Creditors Test

        Even if a plan is accepted by the Holders of each Class of Claims and Interests, the “best
interests” test, as set forth in Bankruptcy Code section 1129(a)(7), requires that each Holder of an
Impaired Claim or Interest either (a) accept the Plan or (b) receive or retain under the Plan property
of a value, as of the Effective Date, that is not less than the value such Holder would receive if the
Debtors were liquidated under chapter 7 of the Bankruptcy Code.

        To calculate the probable distribution to holders of each impaired class of claims and
interests if the debtor were liquidated under chapter 7, a court must first determine the aggregate
dollar amount that would be generated from the debtor’s assets if the Chapter 11 Cases were
converted to chapter 7 cases under the Bankruptcy Code. To determine if a plan is in the best
interests of each impaired class, the present value of the distributions from the proceeds of a
liquidation of the debtor’s unencumbered assets and properties, after subtracting the amounts
attributable to the costs, expenses, and administrative claims associated with a chapter 7
liquidation, must be compared with the value offered to such impaired classes under the plan. If
the hypothetical liquidation distribution to holders of claims or interests in any impaired class is
greater than the distributions to be received by such parties under the plan, then such plan is not
in the best interests of the holders of claims or interests in such impaired class.

        To make these findings, the Court must (a) estimate the cash liquidation proceeds that a
chapter 7 trustee would generate if the Chapter 11 Cases were converted to a chapter 7 case and
the Assets of the Debtors’ Estates were liquidated; (b) determine the liquidation distribution that
each non-accepting Holder of a Claim or Interest would receive from such liquidation proceeds
under the priority scheme dictated in chapter 7; and (c) compare such Holder’s liquidation
distribution to the distribution under the Plan that such Holder would receive if the Plan were
confirmed and consummated.

        The Plan Proponents believe that in a chapter 7 liquidation, there would be additional costs
and expenses that would be incurred as a result of the inefficiencies associated with replacing
existing management and professionals in a chapter 7 case. Moreover, it is unclear whether a
chapter 7 trustee could pursue and appropriately maximize the value of the Litigation Claims, as
such Litigation Claims are only available for the benefit of general unsecured creditors based on
the Plan Proponents’ negotiations with HRH. A Chapter 7 trustee would not only lack funding to
pursue Litigation Claims (i.e., the Litigation Trust Seed Money), but any such Litigation Claims
may also be subject to Liens, absent the concessions agreed to by HRH. Furthermore, holders of
Impaired Claims, as well as the community as a whole, will benefit from the continued operation
of the three hospitals, as opposed to closure under chapter 7. Accordingly, the Plan Proponents
believe that anticipated recoveries to each Class of Impaired Claims under the Plan implies a
greater or equal recovery to Holders of Claims in Impaired Classes than the recovery available to
them in a chapter 7 liquidation. Accordingly, the Debtors believe that the “best interests” test
promulgated by Bankruptcy Code section 1129 is satisfied.

               ii.     Liquidation Analysis

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       The Plan Proponents believe that Consummation of the Plan is more beneficial to the
Holders of Claims than a liquidation under chapter 7.

        In a chapter 7 liquidation, Holders of General Unsecured Claims are unlikely to receive
any recovery. Moreover, costs of liquidation under chapter 7 of the Bankruptcy Code would
include the compensation of counsel and other professionals retained by the chapter 7 trustee, all
unpaid expenses incurred by the Debtors in their Chapter 11 Cases (such as compensation of
attorneys, financial advisors and accountants that are allowed in the chapter 7 case), litigation
costs, and claims arising from the operations of the Debtors during the pendency of the Chapter
11 Cases. In addition, a chapter 7 trustee would be entitled to statutory fees relating to the
Distribution of the Debtors’ already monetized assets. Accordingly, a portion of the cash currently
available for Distribution to Litigation Trust Beneficiaries, would instead be paid to a chapter 7
trustee. Lastly, it is unclear whether a chapter 7 trustee could pursue and appropriately maximize
the value of the Litigation Claims, as such Litigation Claims are only available for the benefit of
general unsecured creditors based on the Plan Proponents’ negotiations with HRH. A Chapter 7
trustee would not only lack funding to pursue Litigation Claims (i.e., the Litigation Trust Seed
Money), but any such Litigation Claims may also be subject to Liens, absent the concessions
agreed to by HRH.

         The Plan Proponents, with the assistance of their advisors, are in the process of preparing
the Liquidation Analysis, that summarizes the Plan Proponents’ best estimate of recoveries by
Holders of Claims and Interests if the Chapter 11 Cases were converted to cases under chapter 7
of the Bankruptcy Code. The Liquidation Analysis will be filed as part of the Plan Supplement.
As will be set forth in the Liquidation Analysis, if the Chapter 11 Cases were to be converted to
chapter 7 cases, Holders of General Unsecured Claims would likely not receive any recovery, and
the Debtors would incur the additional costs of a chapter 7 trustee, as well as the costs of counsel
and other professionals retained by the chapter 7 trustee. These costs would reduce potential
distribution to Allowed Impaired Claims on a dollar-for-dollar basis. Conversion also would likely
entail significant delay to liquidate the Debtors’ assets and make distributions, if any, to unsecured
creditors. Accordingly, the Plan Proponents believe that Holders of Allowed Claims would receive
less than anticipated under the Plan if the Chapter 11 Cases were converted to chapter 7 cases.

       5.      Feasibility

         Bankruptcy Code section 1129(a)(11) requires that confirmation of a plan not be likely to
be followed by the liquidation, or the need for further financial reorganization, of the Debtors or
any successor to the Debtors (unless such liquidation or reorganization is proposed in the Plan).
There is a relatively low threshold of proof necessary to satisfy the feasibility requirements. See,
e.g., In re Prussia Assocs., 322 B.R. 572, 584 (Bankr. E.D. Pa. 2005) (quoting approvingly that
“[t]he Code does not require the debtor to prove that success is inevitable, and a relatively low
threshold of proof will satisfy § 1129(a)(11) so long as adequate evidence supports a finding of
feasibility”) (internal citations omitted); In re Sea Garden Motel & Apartments, 195 B.R. 294, 305
(D.N.J. 1996); In re Tribune Co., 464 B.R. 126, 185 (Bankr. D. Del. 2011), overruled in part on
other grounds, 464 B.R. 208 (Bankr. D. Del. 2011). Here, the Plan Proponents believe that the
Plan is feasible as will be demonstrated by the Debtors at the Confirmation Hearing. Upon the
Effective Date, the Plan Proponents expect: (i) sufficient funds to exist to make all required
distributions under the Plan, (ii) for those Reorganized Debtors, which are continuing in business,

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to be well-positioned to service their ordinary course obligations and successfully operate their
businesses on a go-forward basis based upon, among other things, substantial management and
operational changes made by HRH since the Petition Date to reduce expenses and increase
revenue, and (iii) for the Litigation Trustee to have the ability to prosecute and potentially monetize
Litigation Claims for the benefit of Litigation Trust Beneficiaries. Therefore, the Plan Proponents
believe that the Plan meets the feasibility requirements of the Bankruptcy Code. The Plan
Supplement will include projections further demonstrating the feasibility of the Plan.

C.     Acceptance or Rejection of the Plan

       1.      Presumed Acceptances by Vacant Classes

        Any Class or sub-Class of Claims that is not occupied as of the date of the Combined
Hearing by at least one Allowed Claim, or at least one Claim temporarily Allowed under
Bankruptcy Rule 3018, shall not be included for purposes of (a) voting on the acceptance or
rejection of the Plan and (b) determining acceptance or rejection of the Plan by such Class under
Bankruptcy Code section 1129(a)(8).

       2.      Classes Deemed to Accept Plan

       Pursuant to Bankruptcy Code section 1126(f), only the Holders of Claims or Interests in
Classes Impaired by the Plan and receiving a payment or Distribution under the Plan may vote on
the Plan. Class 6 (Other Secured Claims) and Class 12 (Other Interests) are Unimpaired by the
Plan. Therefore, under Bankruptcy Code section 1126(f), such Holders are conclusively presumed
to accept the Plan and the votes of Holders of such Claims or Interests shall not be solicited.

       3.      Classes Deemed to Reject Plan

         Pursuant to Bankruptcy Code section 1124, a Class of Claims or Interests may be Impaired
if the Plan alters the legal, equitable or contractual rights of the Holders of such Claims or Interests
treated in such Class. Holders of Claims or Interests in Class 3 (Capitala Specialty Lending
Claims), Class 4 (Maple Secured Claims), Class 5 (Maple Unsecured Claims), Class 9 (Prior
Owner Claims), Class 10 (Intercompany Claims), and Class 11 (Bayonne Interests) are not entitled
to receive or retain any property under the Plan. Under Bankruptcy Code section 1126(g), such
Holders are deemed to reject the Plan, and the votes of such Holders shall not be solicited.

       4.      Impaired Classes of Claims Entitled to Vote

        Because Claims in Class 1 (HRH Claims), Class 2 (Capitala Claims), Class 7 (General
Unsecured Claims), and Class 8 (Insured Claims) are Impaired under the Plan and Holders of such
Claims may receive or retain property under the Plan, Holders of Claims in such Classes are
entitled to vote and shall be solicited with respect to the Plan. ACCORDINGLY, A BALLOT
FOR ACCEPTANCE OR REJECTION OF THE PLAN IS BEING PROVIDED ONLY TO
HOLDERS OF CLAIMS IN CLASS 1 (HRH CLAIMS), CLASS 2 (CAPITALA CLAIMS),
CLASS 7 (GENERAL UNSECURED CLAIMS), AND CLASS 8 (INSURED CLAIMS).

        In order for the Plan to be accepted by an Impaired Class of Claims, a majority in number
(i.e., more than half) and at least two-thirds in dollar amount of the Claims voting (of each Impaired

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Class of Claims) must vote to accept the Plan. At least one Impaired Class of Creditors, excluding
the votes of Insiders, must actually vote to accept the Plan.

D.     Voting Procedures

       1.      Eligibility to Vote on the Plan

        Unless otherwise ordered by the Court, only Holders of Claims in Class 1 (HRH Claims)
Class 2 (Capitala Claims), Class 7 (General Unsecured Claims), and Class 8 (Insured Claims) as
of the date the Court entered the Solicitation Procedures Order (January [●], 2025) may vote on
the Plan. Further, subject to the specific tabulation procedures that were set forth in and approved
by the Solicitation Procedures Order, in order to vote on the Plan, you generally must hold a Claim
in the Voting Classes that (i) to the extent a Proof of Claim has been filed, is not the subject of a
pending Claim Objection or (ii) to the extent a Proof of Claim has not been filed, is listed in the
Debtors’ Schedules as not disputed, contingent, or unliquidated, or be the Holder of a Claim in
such Classes that has been temporarily Allowed for voting purposes only under Bankruptcy Rule
3018(a). IF YOU ARE ENTITLED TO VOTE ON THE PLAN, YOU WILL RECEIVE A
BALLOT AND ARE URGED TO COMPLETE, DATE, SIGN, AND PROMPTLY SUBMIT
YOUR BALLOT BEFORE THE VOTING DEADLINE. PLEASE BE SURE TO
COMPLETE THE BALLOT PROPERLY AND LEGIBLY IDENTIFY THE EXACT
AMOUNT OF YOUR CLAIM AND THE NAME OF THE CREDITOR.

       2.      Solicitation Packages and Notice

        All Holders of Allowed Claims in the Voting Classes will receive (a) notice of the
Confirmation Hearing (the “Confirmation Hearing Notice”) setting forth: (i) the deadline to vote
on the Plan, (ii) the deadline to object to confirmation of the Plan, (iii) procedures for filing
objections and responses to confirmation of the Plan, and (iv) the time, date, and place of the
Confirmation Hearing; and (b) a form of ballot. Holders of Allowed Claims in Class 7 (General
Unsecured Claims) and Class 8 (Insured Claims) will also receive a letter from the UCC providing
its recommendation with respect to the Plan. All other Creditors and parties-in-interest not entitled
to vote on the Plan will receive the Confirmation Hearing Notice.

     IF YOU ARE A HOLDER OF A CLAIM ENTITLED TO VOTE ON THE PLAN
AND YOU DID NOT RECEIVE A BALLOT, YOU RECEIVED A DAMAGED BALLOT,
OR YOU LOST YOUR BALLOT, OR IF YOU HAVE ANY QUESTIONS CONCERNING
THE PLAN OR PROCEDURES FOR VOTING ON THE PLAN, PLEASE CONTACT
THE     CLAIMS      AND   NOTICING     AGENT    BY     (A)   EMAILING
CAREPOINTINFO@EPIQGLOBAL.COM, (B) CALLING (888) 884-7843 (TOLL-FREE)
OR (503) 610-4421 (INTERNATIONAL OR CANADA), OR (C) WRITING TO THE
FOLLOWING ADDRESS: CAREPOINT HEALTH SYSTEMS INC., D/B/A JUST
HEALTH FOUNDATION, BALLOT PROCESSING CENTER, C/O EPIQ CORPORATE
RESTRUCTURING, LLC, P.O. BOX 4422, BEAVERTON, OR 97076-4422.

     THE CLAIMS AND NOTICING AGENT IS NOT AUTHORIZED TO, AND WILL
NOT, PROVIDE LEGAL ADVICE. IF YOU BELIEVE YOU REQUIRE LEGAL
ADVICE, YOU SHOULD CONSULT WITH AN ATTORNEY.


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       3.      Voting Deadlines

         In order for your Ballot to count, you must either (a) complete an electronic ballot at
[http://dm.epiq11.com/carepointhealth] or (b) complete, date, sign, and deliver by first class mail,
overnight courier, messenger, or hand delivery to the following address: CarePoint Health Systems
Inc. d/b/a Just Health Foundation, Ballot Processing Center, c/o Epiq Corporate Restructuring,
LLC, P.O. Box 4422, Beaverton, OR 97076-4422. BALLOTS SENT BY FACSIMILE
TRANSMISSION OR E-MAIL ARE NOT ALLOWED AND WILL NOT BE COUNTED.

        Ballots must be submitted electronically, or the Claims and Noticing Agent must physically
receive original ballots by mail or overnight delivery, on or before February [●], 2025 at 5:00
p.m. (Eastern Prevailing Time). Subject to the tabulation procedures approved by the
Solicitation Procedures Order, you may not change your vote once a ballot is submitted
electronically or once the Claims and Noticing Agent receives your original paper ballot.

        Subject to the tabulation procedures approved by the Solicitation Procedures Order, any
ballot that is timely and properly submitted electronically or received physically will be counted
and will be deemed to be cast as an acceptance, rejection or abstention, as the case may be, of the
Plan.

                                ARTICLE VII.
           CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

     THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN RISKS,
INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ
AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE OTHER
INFORMATION SET FORTH IN THE COMBINED DISCLOSURE STATEMENT AND PLAN
AND THE DOCUMENTS DELIVERED TOGETHER HEREWITH OR REFERRED TO OR
INCORPORATED BY REFERENCE HEREIN, BEFORE DECIDING WHETHER TO VOTE
TO ACCEPT OR REJECT THE PLAN. THESE FACTORS SHOULD NOT, HOWEVER, BE
REGARDED AS CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION WITH
THE PLAN AND ITS IMPLEMENTATION

A.     General Bankruptcy Law and Plan Considerations

       1.      The Plan May Not be Accepted

       The Plan Proponents can make no assurances that the requisite acceptances to the Plan will
be received, and the Plan Proponents may need to obtain acceptances to an alternative plan, or
otherwise, may liquidate under chapter 7 of the Bankruptcy Code. There can be no assurance that
the terms of any such alternative restructuring arrangement or plan would be similar to or as
favorable to Holders of Allowed Claims as those proposed in the Plan.

       2.      The Plan May Not be Confirmed

       Even if the Plan Proponents receive the requisite acceptances, there is no assurance that the
Court, which may exercise substantial discretion as a court of equity, will confirm the Plan. Even

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if the Court determined that the Plan and the balloting procedures and results were appropriate, the
Court could still decline to confirm the Plan if it finds that any of the statutory requirements for
Confirmation had not been met. Moreover, there can be no assurance that modifications to the Plan
will not be required for confirmation or that such modifications would not necessitate the
resolicitation of votes. If the Plan is not confirmed, it is unclear what distributions Holders of
Allowed Claims ultimately would receive with respect to their Claims in a subsequent plan.

       3.      Distributions to Holders of Allowed Claims Under the Plan May be
               Inconsistent with Projections

        Projected Distributions are based upon good faith estimates of the total amount of Claims
and Interests ultimately Allowed and the assets available for Distribution. There can be no
assurance that the estimated Claim amounts set forth in herein are correct. These estimates are
based on certain assumptions with respect to a variety of factors. Both the actual amount of
Allowed Claims in a particular Class and the assets available for Distribution may differ from
current estimates due to, among other things, the successful prosecution and liquidation of the
Litigation Claims. If the total amount of Allowed Claims in a Class is higher than estimated, or
the funds available for Distribution to such Class are lower than estimated, the percentage recovery
to Holders of Allowed Claims in such Class will be less than projected.

       4.      The Disposition of the Litigation Claims May Impact Unsecured Creditor
               Recoveries

        Depending on any defenses or counterclaims set forth by the counterparties involved with
any Litigation Claims and the resolution of any appeal(s), the anticipated proceeds associated with
the Litigation Claims and available to unsecured creditors may be impacted.

       5.      Objections to Classifications of Claims

        The Plan Proponents believe that all Claims and Interests have been appropriately
classified in the Plan. To the extent that the Court finds that a different classification is required
for the Plan to be confirmed, the Plan Proponents would seek to (i) modify the Plan to provide for
whatever classification might be required for Confirmation and (ii) use the acceptances received
from any Holder of Claims pursuant to this solicitation for the purpose of obtaining the approval
of the Class or Classes of which such Holder ultimately is deemed to be a member. Any such
reclassification of Claims, although subject to the notice and hearing requirements of the
Bankruptcy Code, could adversely affect the Class in which such Holder was initially a member,
or any other Class under the Plan, by changing the composition of such Class and the vote required
for approval of the Plan. There can be no assurance that the Court, after finding that a classification
was inappropriate and requiring a reclassification, would approve the Plan based upon such
reclassification. Except to the extent that modification of classification in the Plan requires
resolicitation, the Plan Proponents will, in accordance with the Bankruptcy Code and the
Bankruptcy Rules, seek a determination by the Court that acceptance of the Plan by any Holder of
Claims pursuant to this solicitation will constitute a consent to the Plan’s treatment of such Holder,
regardless of the Class as to which such Holder is ultimately deemed to be a member. The Plan
Proponents believe that under the Bankruptcy Rules, they would be required to resolicit votes for
or against the Plan only when a modification adversely affects the treatment of the Claim or Interest

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of any Holder.

         The Bankruptcy Code also requires that the Plan provide the same treatment for each Claim
or Interest of a particular Class unless the Holder of a particular Claim or Interest agrees to a less
favorable treatment of its Claim or Interest. The Plan Proponents believe that the Plan complies
with the requirement of equal treatment. To the extent that the Court finds that the Plan does not
satisfy such requirement, the Court could deny confirmation of the Plan. Issues or disputes relating
to classification and/or treatment could result in a delay in the confirmation and consummation of
the Plan and could increase the risk that the Plan will not be consummated.

       6.        Failure to Consummate the Plan

        Article XIII of the Plan provides for certain conditions that must be satisfied (or waived)
prior to confirmation and for certain other conditions that must be satisfied (or waived) prior to the
Effective Date. As of the date hereof, there can be no assurance that any or all of the conditions
in the Plan will be satisfied (or waived). Accordingly, there can be no assurance that the Plan will
be confirmed by the Court. Further, if the Plan is confirmed, there can be no assurance that the
Plan will go effective.

       7.        Substantive Consolidation May Not be Approved

         Article IX.A of the Plan seeks substantive consolidation of the Debtors’ assets and
liabilities for purposes of voting and Distribution, given the interrelated nature of the Debtors’
business and the harm to creditors that may result absent such consolidation. However, certain
creditors may object to substantive consolidation of the Debtors’ Estates, which may negatively
impact creditor recoveries.

       8.        Releases, Exculpation, and Injunction Provisions May Not be Approved

        Article XIV of the Plan contains certain releases, exculpations, and injunction language.
Parties are urged to read these provisions carefully to understand how Confirmation and
Consummation of the Plan will affect any Claim, Interest, right, or action with regard to the
Debtors and certain third parties.

     THE PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST AND
INTERESTS IN THE DEBTORS TO THE FULLEST EXTENT AUTHORIZED OR
PROVIDED UNDER THE APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE
AND ALL OTHER APPLICABLE LAW.

       There can be no assurance that the releases, exculpation, and injunction provisions, as
provided in Article XIV.D, Article XIV.E, and Article XIV.F hereof, will be granted. Failure of
the Court to grant such relief may result in a plan of liquidation that differs from the Plan or the
Plan not being confirmed.

B.     Risks Associated with Forward Looking Statements

       The financial information contained in this Combined Disclosure Statement and Plan has
not been audited. In preparing this Combined Disclosure Statement and Plan, the Plan Proponents

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relied on financial data derived from the Debtors’ Books and Records that was available at the
time of such preparation. Although the Plan Proponents have used their reasonable business
judgment to ensure the accuracy of the financial information provided in this Combined Disclosure
Statement and Plan, and while the Plan Proponents believe that such financial information fairly
reflects the financial condition of the Debtors, the Plan Proponents are unable to warrant or
represent that the financial information contained herein and attached hereto is without
inaccuracies.

C.     Alternatives to Confirmation and Consummation of the Plan

        The Plan Proponents believe that the Plan affords the Holders of Claims the potential for a
better realization on the Debtors’ assets than a chapter 7 liquidation, and therefore, is in the best
interests of such Holders. If, however, the Plan is not confirmed, the theoretical alternatives include
(i) formulation of a plan or plans of liquidation under chapter 11, or (ii) liquidation of the Debtors
under chapter 7 of the Bankruptcy Code. Each of these possibilities is discussed in turn below.

       1.      Alternative Plan(s) of Liquidation

        If the requisite acceptances are not received or if the Plan is not confirmed, the Plan
Proponents could attempt to formulate and propose a plan or plans of liquidation. With respect to
an alternative liquidation plan, the Plan Proponents have explored various other alternatives in
connection with the development and formulation of the Plan. The Plan Proponents believe that
the Plan enables the Litigation Trust Beneficiaries to realize the greatest possible value under the
circumstances, and that, as compared to any alternative plan of liquidation, has the greatest chance
to be confirmed and consummated.

       2.      Liquidation under Chapter 7

        If the Plan is not confirmed, the Chapter 11 Cases could be converted to liquidation cases
under chapter 7 of the Bankruptcy Code (voluntary by any Debtor which is a non-profit entity and
voluntarily or involuntarily by any Debtor which is a for-profit entity). A chapter 7 would result
in the closure of three hospitals, which would be catastrophic to the community. Further, in a case
under chapter 7 of the Bankruptcy Code, a trustee would be appointed to promptly liquidate the
assets of the Debtors. It is impossible to predict precisely how the proceeds of the liquidation
would be distributed to the Litigation Trust Beneficiaries. The Plan Proponents believe that in a
liquidation under chapter 7 of the Bankruptcy Code, before creditors received any distributions,
additional administrative expenses would likely be required in the appointment of a trustee and
attorneys, accountants, and other professionals to assist such trustee, which could cause a
substantial diminution in the value of the estate. The assets available for distribution to the
Litigation Trust Beneficiaries would be reduced by such additional expenses. Further, it is unclear
whether a chapter 7 trustee could pursue and appropriately maximize the value of the Litigation
Claims, as such Litigation Claims are only available for the benefit of general unsecured creditors
based on the Plan Proponents’ negotiations with HRH. A Chapter 7 trustee would not only lack
funding to pursue Litigation Claims (i.e., the Litigation Trust Seed Money), but any such Litigation
Claims may also be subject to Liens, absent the concessions agreed to by HRH. Therefore, the
Plan Proponents believe that the Plan enables the Litigation Trust Beneficiaries to realize the



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greatest possible value under the circumstances, and that, as compared to a chapter 7 liquidation,
provides the best opportunity for unsecured creditor recoveries.

                                ARTICLE VIII.
                  CERTAIN FEDERAL INCOME TAX CONSEQUENCES

A.     Overview

        The following discussion is a summary of certain material U.S. federal income tax
consequences of the Plan to the Debtors and to certain holders (which solely for purposes of this
discussion means the beneficial owner for U.S. federal income tax purposes) of Claims. The
following summary does not address the U.S. federal income tax consequences to Holders of
Claims or Interests not entitled to vote on the Plan. This summary is based on the Internal Revenue
Code of 1986, as amended (the “Internal Revenue Code”), Treasury Regulations promulgated and
proposed thereunder (the “Treasury Regulations”), judicial decisions, and published
administrative rules and pronouncements of the Internal Revenue Service, all as in effect on the
date hereof and all of which are subject to change or differing interpretations, possibly with
retroactive effect. No legal opinions have been requested or obtained from counsel with respect
to any of the tax aspects of the Plan and no rulings have been or will be requested from the Internal
Revenue Service with respect to any of the issues discussed below. The discussion below is not
binding upon the Internal Revenue Service or the courts. No assurance can be given that the
Internal Revenue Service would not assert, or that a court would not sustain, a different position
than any position discussed herein.

         This summary does not address non-U.S., state, local, or non-income tax consequences of
the Plan (including such consequences with respect to the Debtors), nor does it purport to address
all aspects of U.S. federal income taxation that may be relevant to a Holder in light of its individual
circumstances or to a Holder that may be subject to special tax rules (such as persons who are
related to the Debtors within the meaning of the Internal Revenue Code, U.S. Holders whose
functional currency is not the U.S. dollar, U.S. expatriates, certain former citizens or long-term
residents of the United States, broker-dealers, banks, mutual funds, insurance companies, financial
institutions, retirement plans, small business investment companies, regulated investment
companies, real estate investment trusts, tax-exempt organizations, controlled foreign
corporations, passive foreign investment companies, partnerships (or other entities treated as
partnerships or other pass-through entities), beneficial owners of partnerships (or other entities
treated as partnerships or other pass-through entities), subchapter S corporations, Holders of
Claims as part of a straddle, hedge, conversion transaction, or other integrated investment, persons
using a mark-to-market method of accounting, and Holders of Claims who are themselves in
bankruptcy). Furthermore, this summary assumes that a Holder of a Claim holds only Claims in a
single Class and holds such a Claim only as a “capital asset” (within the meaning of section 1221
of the Internal Revenue Code). This summary also assumes that the Claims against the Debtors
will be respected for U.S. federal income tax purposes in accordance with their form, and that the
Claims constitute interests in the Debtors “solely as a creditor” for purposes of section 897 of the
Internal Revenue Code (and thus are not subject to withholding under the Foreign Investment in
Real Property Tax Act). This discussion does not address the U.S. federal income tax consequences
to Holders (a) whose Claims are unimpaired or otherwise entitled to payment in full under the
Plan, or (b) that are deemed to accept or deemed to reject the Plan. Additionally, this discussion

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does not address any consideration being received other than in a person’s capacity as a Holder of
a Claim.

        For purposes of this discussion, the term “U.S. Holder” means a Holder of a Claim
(including a beneficial owner of a Claim), that is, for U.S. federal income tax purposes, (i) an
individual citizen or resident of the United States, (ii) a corporation, or other entity treated as a
corporation, created or organized in or under the laws of the United States or any state thereof or
the District of Columbia, (iii) a trust if (a) a court within the United States is able to exercise
primary jurisdiction over the trust’s administration and one or more U.S. persons (within the
meaning of section 7701(a)(30) of the Internal Revenue Code) have the authority to control all
substantial decisions of the trust or (b) such trust has made a valid election under applicable
Treasury Regulations to be treated as a U.S. person for U.S. federal income tax purposes, or (iv)
an estate, the income of which is includible in gross income for U.S. federal income tax purposes
regardless of its source.

        For purposes of this discussion, a “Non-U.S. Holder” is any Holder of a Claim that is
neither a U.S. Holder nor a partnership (or other entity treated as a partnership or other passthrough
entity for U.S. federal income tax purposes). In the case of a Holder that is classified as a
partnership for U.S. federal income tax purposes, the tax treatment of a partner generally will
depend upon the status of the partner and the activities of the partner or the partnership. If you are
a partner (or other beneficial owner) of a partnership (or other entity treated as a partnership or
other pass-through entity) that is, or will be, a Holder of a Claim, then you should consult your
own tax advisors.

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL
INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND
IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON
THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO YOU. ALL HOLDERS OF
CLAIMS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS AS TO THE U.S.
FEDERAL, STATE, LOCAL, NON-U.S., NON-INCOME, AND OTHER TAX
CONSEQUENCES OF THE PLAN.

B.     Tax Consequences to U.S. Holders of Certain Allowed Claims

       1.      Gain or Loss Recognition

        A U.S. Holder of Allowed Claims that receives Cash will be treated as receiving payment
in a taxable exchange under section 1001 of the Internal Revenue Code. Other than with respect
to any amounts received that are attributable to accrued but untaxed interest or original issue
discount (“OID”), each U.S. Holder of such Claims should recognize gain or loss equal to the
difference between the (a) sum of the Cash received in exchange for the Claim, and (b) such U.S.
Holder’s adjusted basis, if any, in such Claim. A U.S. Holder’s ability to deduct any loss
recognized on the exchange of its Claims will depend on such U.S. Holder’s own circumstances
and may be restricted under the Internal Revenue Code.




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     HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING
THE RECOGNITION OF GAIN OR LOSS, FOR FEDERAL INCOME TAX PURPOSES,
ON THE SATISFACTION OF THEIR CLAIMS.

       2.      Accrued Interest

        A portion of the payment received by Holders of Allowed Claims may be attributable to
accrued interest on such Claims or OID. Such amount should be taxable to that U.S. Holder as
interest income if such accrued interest has not been previously included in the Holder’s gross
income for United States federal income tax purposes. Conversely, U.S. Holders of Claims may
be able to recognize a deductible loss to the extent any accrued interest on the Claims was
previously included in the U.S. Holder’s gross income but was not paid in full by the Debtors.

         If the payment does not fully satisfy all principal and interest on Allowed Claims, the extent
to which payment will be attributable to accrued interest is unclear. Under the Plan, the aggregate
consideration to be distributed to Holders of Allowed General Unsecured Claims will be allocated
first to the principal amount of Allowed Claims, with any excess allocated to unpaid interest that
accrued on such Claims, if any. Certain legislative history indicates that an allocation of
consideration as between principal and interest provided in a chapter 11 plan may be binding for
U.S. federal income tax purposes, but certain Treasury Regulations generally treat payments as
allocated first to any accrued but unpaid interest and then as a payment of principal. Thus, the
Internal Revenue Service could take the position that the payment received by the U.S. Holder
should be allocated in some way other than as provided in the Plan.

     HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING
THE ALLOCATION OF CONSIDERATION RECEIVED IN SATISFACTION OF THEIR
CLAIMS AND THE FEDERAL INCOME TAX TREATMENT OF ACCRUED
INTEREST.

       3.      Market Discount

         Under the “market discount” provisions of the Internal Revenue Code, some or all of any
gain realized by a U.S. Holder of a Claim who exchanges the Claim for an amount may be treated
as ordinary income (instead of capital gain), to the extent of the amount of “market discount” on
the debt instruments constituting the exchanged Claim. In general, a debt instrument is considered
to have been acquired with “market discount” if it is acquired other than on original issue and if
its U.S. Holder’s adjusted tax basis in the debt instrument is less than (a) the sum of all remaining
payments to be made on the debt instrument, excluding “qualified stated interest” or (b) in the case
of a debt instrument issued with original issue discount, its adjusted issue price, in each case, by
at least a de minimis amount (equal to 0.25% of the sum of all remaining payments to be made on
the debt instrument, excluding qualified stated interest, multiplied by the number of remaining
whole years to maturity).

       Any gain recognized by a U.S. Holder on the taxable disposition of Allowed Claim
(determined as described above) that were acquired with market discount should be treated as
ordinary income to the extent of the market discount that accrued thereon while the Allowed



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Claims were considered to be held by the U.S. Holder (unless the U.S. Holder elected to include
market discount in income as it accrued).

C.     Tax Consequences to Non-U.S. Holders of Certain Allowed Claims

        The following discussion includes only certain U.S. federal income tax consequences of
the payments to Non-U.S. Holders for Claims. The discussion does not include any non-U.S. tax
considerations. The rules governing the U.S. federal income tax consequences to Non-U.S.
Holders are complex. Each Non-U.S. Holder should consult its own tax advisor regarding the U.S.
federal, state, and local and the foreign tax consequences of the payments to such Non-U.S. Holder.

       Whether a Non-U.S. Holder realizes gain or loss on the payment of a Claim and the amount
of such gain or loss is generally determined in the same manner as set forth above in connection
with U.S. Holders.

       1.      Gain or Loss Recognition

        Any gain realized by a Non-U.S. Holder on the exchange of its Claim generally will not be
subject to U.S. federal income taxation unless (i) the Non-U.S. Holder is an individual who was
present in the United States for 183 days or more during the taxable year in which the exchange
occurs or who otherwise meets the so-called “substantial presence test” under Section 7701(b)(3)
of the Internal Revenue Code, or (ii) such gain is effectively connected with the conduct by such
non-U.S. Holder of a trade or business in the United States (and if an income tax treaty applies,
such gain is attributable to a permanent establishment maintained by such Non-U.S. Holder in the
United States).

        If the first exception applies, to the extent that any gain is taxable, the Non-U.S. Holder
generally will be subject to U.S. federal income tax at a rate of 30 percent (or at a reduced rate or
exemption from tax under an applicable income tax treaty) on the amount by which such non-U.S.
Holder’s gains allocable to U.S. sources exceed losses allocable to U.S. sources during the taxable
year of the exchange.

         If the second exception applies, the Non-U.S. Holder generally will be subject to U.S.
federal income tax with respect to any gain realized on the exchange if such gain is effectively
connected with the Non-U.S. Holder’s conduct of a trade or business in the United States in the
same manner as a U.S. Holder. To claim an exemption from withholding tax, such Non-U.S.
Holder will be required to provide a properly executed IRS Form W-8ECI (or such successor form
as the IRS designates). In addition, if such a Non-U.S. Holder is a corporation, it may be subject
to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable treaty) of
its effectively connected earnings and profits for the taxable year, subject to certain adjustments.

       2.      Accrued Interest

        The United States generally imposes a 30% U.S. federal withholding tax on payments of
interest to Non-U.S. Holders. Subject to the discussion below of an interest effectively connected
with the conduct of a trade or business within the United State, a Non-U.S. Holder will not be


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subject to the 30% U.S. federal withholding tax with respect to payments of interest on the notes,
provided that:

        (a)     it does not own, actually or constructively, 10% or more of the total combined
                voting power of all classes of our stock entitled to vote;

        (b)     it is not a “controlled foreign corporation” with respect to which we are, directly or
                indirectly, a “related person”; and

        (c)     it provides its name and address, and certify, under penalties of perjury, that it is
                not a U.S. person (on a properly executed IRS Form W-8BEN or W- 8BEN-E (or
                other applicable form)), or it holds its notes through certain foreign intermediaries
                and the foreign intermediaries satisfy the certification requirements of applicable
                Treasury Regulations.

        If you cannot satisfy the requirements described above, you will be subject to the 30% U.S.
federal withholding tax with respect to payments of interest on the notes, unless you provide us
(or other applicable withholding agent) with a properly executed IRS Form W-8BEN or W- 8BEN-
E or other applicable form claiming an exemption from or reduction in withholding under the
benefit of an applicable U.S. income tax treaty.

         If such interest is effectively connected with the conduct by the Non-U.S. Holder of a trade
or business within the United States, provided the Non-U.S. Holder provides a properly executed
IRS Form W-8ECI (or successor form) to the withholding agent, the Non-U.S. Holder (x) generally
will not be subject to withholding tax, but (y) will be subject to U.S. federal income tax in the same
manner as a U.S. Holder (unless an applicable income tax treaty provides otherwise), and a Non-
U.S. Holder that is a corporation for U.S. federal income tax purposes may also be subject to a
branch profits tax with respect to such Non-U.S. Holder’s effectively connected earnings and
profits that are attributable to the accrued but untaxed interest at a rate of 30 percent (or at a reduced
rate or exemption from tax under an applicable income tax treaty)).

        3.      FATCA

        Under the Foreign Account Tax Compliance Act (“FATCA”), foreign financial institutions
and certain other foreign entities must report certain information with respect to their U.S. account
Holders and investors or be subject to withholding on the receipt of “withholdable payments.” For
this purpose, “withholdable payments” are generally U.S. source payments of interest on certain
types of obligations. FATCA withholding may apply even if the applicable payment would not
otherwise be subject to U.S. federal nonresident withholding tax. U.S. Holders that hold Claims
through foreign financial institutions and Non-U.S. Holders are encouraged to consult their tax
advisors regarding the possible implications of these rules on their Claim.

D.      Matters Related to the Disputed Claims Reserve

       The Litigation Trustee may create a reserve for Disputed Claims, which may be treated as
a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 (and make any
appropriate elections). In general, property that is subject to disputed ownership fund treatment is


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subject to taxation within the fund (either at C-corporation or trust rates, depending on the nature
of the assets held by the fund). Under disputed ownership fund treatment, a separate federal income
tax return would be filed with the IRS for the reserve for Disputed Claims with respect to any
income attributable to the account, and any taxes imposed on the reserve for Disputed Claims or
its assets shall be paid out of the assets of the reserve.

         Although not free from doubt, U.S. Holders should not recognize any gain or loss when
amounts are set aside in the reserve for Disputed Claims but should recognize gain or loss in an
amount equal to: (i) the amount of Cash actually distributed to such U.S. Holder from the reserve,
less (ii) the U.S. Holder’s adjusted tax basis of its Claim when and to the extent Cash is actually
distributed to such U.S. Holder. The character of such gain or loss as capital gain or loss or as
ordinary income or loss will be determined by a number of factors, including the tax status of the
U.S. Holder, the nature of the Claim in such U.S. Holder’s hands, whether the Claim was purchased
at a discount, and whether and to what extent the U.S. Holder previously has claimed a bad debt
deduction with respect to its Claim. It is possible that the recognition of any loss realized by a U.S.
Holder may be deferred until the reserve for Disputed Claims has made all payments to Holders
of Disputed Claims. U.S. Holders are urged to consult their tax advisors regarding the possible
application (and the ability to elect out) of the “installment method” of reporting any gain that may
be recognized by such Holders in respect of their Claims due to the receipt of cash in a taxable
year subsequent to the taxable year in which the reserve is established. The discussion herein
assumes that the installment method does not apply.

        The timing of the inclusion of income may be subject to alteration for accrual method U.S.
Holders that prepare “applicable financial statements” (as defined in Section 451 of the Internal
Revenue Code), which may require the inclusion of income no later than the time such amounts
are reflected on such financial statement.

E.     Tax Consequences in Relation to the Litigation Trust

       As of the Effective Date, the Litigation Trust will be established for the benefit of the
Holders of certain Allowed Claims. The tax consequences of the Plan in relation to the Litigation
Trust and the Beneficiaries thereof are subject to uncertainties due to the complexity of the Plan
and the lack of interpretative authority regarding certain changes in the tax law.

        Allocations of taxable income of the Litigation Trust (other than taxable income allocable
to the Litigation Trust’s claims reserves) among Holders of Claims will be determined by reference
to the manner in which an amount of cash equal to such taxable income would be distributed (were
such cash permitted to be distributed at such time) if, immediately prior to such deemed
distribution, the Litigation Trust had distributed all of its assets (valued at their tax book value) to
the holders of the beneficial interests in the Litigation Trust, adjusted for prior taxable income and
loss and taking into account all prior and concurrent distributions from the Litigation Trust.
Similarly, taxable loss of the Litigation Trust will be allocated by reference to the manner in which
an economic loss would be borne immediately after a liquidating distribution of the remaining
trust assets.

        The tax book value of the trust assets for this purpose will equal their fair market value on
the Effective Date, adjusted in accordance with tax accounting principles prescribed by the Internal

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Revenue Code, applicable Treasury Regulations, and other applicable administrative and judicial
authorities and pronouncements. Uncertainties as to federal income tax consequences of the Plan
may arise due to the inherent nature of estimates of value that will impact tax liability
determinations.

        For federal income tax purposes, it is intended that the Litigation Trust be classified for
federal income tax purposes as a “liquidating trust” within the meaning of Treasury Regulations
Section 301.7701-4(d) and as a “grantor trust” within the meaning of sections 671 through 679 of
the Internal Revenue Code. The Internal Revenue Service, in Revenue Procedure 94–45, 1994.28
I.R.B. 124, sets forth the general criteria for obtaining an Internal Revenue Service ruling as to the
grantor trust status of a liquidating trust under a chapter 11 plan. The Litigation Trust has been
structured with the intention of complying with such general criteria. Pursuant to the Plan, and in
conformity with Revenue Procedure 94-45, all parties to the Litigation Trust (including, without
limitation, the Debtors, the Litigation Trustee, and the holders of beneficial interests in the
Litigation Trust) will be required to treat the transfer of the Litigation Trust Assets to the Litigation
Trust as (1) a transfer of the Litigation Trust Assets (subject to any obligations relating to those
assets) directly to the holders of Allowed Claims receiving interests in the Litigation Trust (other
than to the extent any of the Litigation Trust Assets are allocable to Disputed Claims), followed
by (2) the transfer by such holders to the Litigation Trust of the Litigation Trust Assets in exchange
for interests in the Litigation Trust. Accordingly, except in the event of contrary definitive
guidance, holders of Allowed Claims receiving interests in the Litigation Trust (i.e., the
beneficiaries of the Litigation Trust) would be treated for U.S. federal income tax purposes as the
grantors and owners of their respective share of the Litigation Trust Assets transferred to the
Litigation Trust (other than such Litigation Trust Assets as are allocable to Disputed Claims).

        While the following discussion assumes that the Litigation Trust will be treated as a
liquidating trust for federal income tax purposes, no ruling has been requested from the Internal
Revenue Service concerning the tax status of the Litigation Trust as a grantor trust. Accordingly,
there can be no assurance that the Internal Revenue Service would not take a contrary position to
the classification of the Litigation Trust as a grantor trust. If the Internal Revenue Service were to
successfully challenge such classification, the federal income tax consequences to the Litigation
Trust and the Beneficiaries thereof could materially vary from those discussed herein.

        The Litigation Trustee shall, in its business judgment, make continuing best efforts not to
unduly prolong the duration of the Litigation Trust. All Litigation Trust Assets held by the
Litigation Trust on the Effective Date shall be deemed for federal income tax purposes to have
been distributed by the Debtors on a Pro Rata basis to Holders of Allowed HRH Claims and
Allowed General Unsecured Claims, as applicable, and then contributed by such Holders to the
Litigation Trust in exchange for the Litigation Trust Interests. Thus, such Holders (and any
subsequent holders of interests in the Litigation Trust) will be treated as the direct owners of an
undivided beneficial interest in the assets of the Litigation Trust for all federal income tax
purposes. Accordingly, each Holder of Litigation Trust Interests will be required to report on its
federal income tax return(s) the Holder’s allocable share of all income, gain, loss, deduction or
credit recognized or incurred by the Litigation Trust.

        The Litigation Trustee shall be responsible for filing any required federal, state, and local
tax returns for the Litigation Trust. The Litigation Trust shall comply with all withholding and

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reporting requirements imposed by any federal, state, or local taxing authority, and all
Distributions made by the Litigation Trust shall be subject to any such withholding and reporting
requirements. The Litigation Trustee shall be authorized to take any and all actions that may be
necessary or appropriate to comply with such withholding and reporting requirements including,
without limitation, requiring that, as a condition to the receipt of a Distribution, Litigation Trust
Beneficiaries complete the appropriate IRS Form W-8 or IRS Form W-9, as applicable to each
Litigation Trust Beneficiary. Notwithstanding any other provision of the Plan, (a) each Litigation
Trust Beneficiary that is to receive a Distribution from the Litigation Trust shall have the sole and
exclusive responsibility for the satisfaction and payment of any tax obligations imposed on such
Holder by any Governmental Unit, including income and other tax obligations, on account of such
Distribution, and (b) no Distribution shall be made to or on behalf of such Litigation Trust
Beneficiary under the Plan unless and until such Litigation Trust Beneficiary has made
arrangements satisfactory to the Litigation Trustee to allow it to comply with its tax withholding
and reporting requirements. Any property to be distributed by the Litigation Trust or the Litigation
Trustee, as applicable, shall, pending the implementation of such arrangements, be treated as an
undeliverable Distribution to be held by the Litigation Trust or the Litigation Trustee, as
applicable, until such time as the Litigation Trust or the Litigation Trustee, as applicable, is
satisfied with the Litigation Trust Beneficiary’s arrangements for any withholding tax obligations.

F.     Information Reporting and Back-Up Withholding

       Information reporting requirements may apply to payments under the Plan. Additionally,
under the backup withholding rules, a Holder of a Claim may be subject to backup withholding
(currently at a rate of 24%) with respect to payments made pursuant to the Plan unless that Holder:
(a) comes within certain exempt categories (which generally include corporations) and, when
required, demonstrates that fact; or (b) timely provides a correct taxpayer identification number
and certifies under penalty of perjury that the taxpayer identification number is correct and that the
Holder is not subject to backup withholding (generally in the form of a properly executed IRS
Form W-9 for a U.S. Holder, and, for a Non-U.S. Holder, in the form of a properly executed
applicable IRS Form W-8 (or otherwise establishes such Non-U.S. Holder’s eligibility for an
exemption)). Backup withholding is not an additional tax but is, instead, an advance payment that
may be refunded to the extent it results in an overpayment of tax; provided that the required
information is timely provided to the IRS.

       The Reorganized Debtors and/or the Litigation Trustee, or the applicable agent, will
withhold all amounts required by law to be withheld from payments and comply with all applicable
information reporting requirements.

       THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF
U.S. FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR
HOLDER OF A CLAIM IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND
INCOME TAX SITUATION. ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS
SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX
CONSEQUENCES TO THEM OF THE TRANSACTION CONTEMPLATED BY THE
PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL,
OR FOREIGN TAX LAWS, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

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                                  ARTICLE IX.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

        In addition to the provisions set forth elsewhere in the Combined Disclosure Statement and
Plan, the following shall constitute the means for implementation of the Plan:

A.     Substantive Consolidation

       1.      Consolidation of the Chapter 11 Estates

        On the Effective Date, (i) any obligation of a Debtor and any guarantee thereof by any
other Debtor shall be deemed to be one obligation, and any such guarantee shall be eliminated, (ii)
each Claim filed or to be filed against more than one Debtor shall be deemed filed only against
one consolidated Debtor and shall be deemed a single Claim against and a single obligation of the
Debtors, and (iii) any joint or several liability of the Debtors shall be deemed one obligation of the
Debtors. On the Effective Date, and in accordance with the terms of the Plan and the consolidation
of the assets and liabilities of the Debtors, all Claims based upon guarantees of collection, payment
performance made by one Debtor as to the obligations of another Debtor shall be released and of
no further force and effect.

        The substantive consolidation effected pursuant to this Article IX.A of the Plan and the
Confirmation Order (i) shall not affect the rights of any holder of a Secured Claim with respect to
the collateral securing such Claim and (ii) shall not, and shall not be deemed to, prejudice the
Litigation Claims, which shall survive entry of the Confirmation Order (subject to the releases set
forth in Article XIV.D of the Plan) as if there had been no substantive consolidation.

         In the event the Court authorizes the Plan Proponents to substantively consolidate less than
all of the Estates: (a) the Plan shall be treated as a separate plan for each Debtor not substantively
consolidated and (b) the Plan Proponents shall not be required to resolicit votes with respect to the
Plan.

       2.      Substantive Consolidation Order

        The Plan shall serve as, and shall be deemed to be, a motion for entry of an order
substantively consolidating the Chapter 11 Cases for the limited purposes of voting and
Distribution. If no objection to substantive consolidation is timely filed and served by any holder
of an Impaired Claim on or before the deadline to object to the confirmation of the Plan, or such
other date as may be fixed by the Court and the Plan Proponents meet their burden of introducing
evidence to establish that substantive consolidation is merited under the standards of applicable
bankruptcy law, the Confirmation Order, which shall be deemed to substantively consolidate the
Debtors for the limited purposes of voting and Distribution, may be entered by the Court. If any
such objections are timely filed and served, a hearing with respect to the substantive consolidation
of the Chapter 11 Cases and the objections thereto shall be scheduled by the Court, which hearing
shall coincide with the Confirmation Hearing.

B.     The HRH Transactions



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         Subject to the potential consummation of an Alternative Transaction (described below), on
the Effective Date, and except as otherwise modified herein: (i) the assets of Bayonne (other than
any Litigation Claims) shall be transferred to HRH as set forth in and pursuant to the Collateral
Surrender Agreement, and HRH shall be granted all rights under the Collateral Surrender
Agreement; (ii) HRH shall be granted the right to operate and manage Christ Hospital and HUMC
as set forth in and pursuant to the Hospital Facilities MSA; and (iii) HRH shall be granted all rights
under the MSA.

        On the Effective Date, and as set forth in the Litigation Trust Agreement, HRH shall either
transfer or provide a line of credit for the Litigation Trust Seed Money, in the amount of $3,500,000,
to fund the Litigation Trust, secured by a first lien to the extent of the Litigation Trust Seed Money
on the proceeds of the Litigation Claims. The Litigation Trustee shall have the sole and absolute
discretion to determine whether to require the transfer of the Litigation Seed Trust Money at
inception of the Litigation Trust or to allow a line of credit to access the Litigation Trust Seed Money.
The Litigation Trust Seed Money shall bear interest at the rate of eighteen percent (18%) per annum
compounded annually. The foregoing shall constitute HRH’s sole monetary obligation to the
Litigation Trust. The Litigation Trust Seed Money, or any portion thereof, may be prepaid by the
Litigation Trustee at any time without payment of any penalty or premium of any kind.

        HRH shall provide a commitment for the funds necessary to confirm and consummate the
Plan, including the Litigation Trust Seed Money, not later than ten (10) calendar days prior to the
scheduled confirmation hearing.

         In the event that HRH fails to fund any portion of the Litigation Trust Seed Money within
the one (1) business day after demand therefor, the Committee, the Litigation Trustee and/or any of
the Parties may immediately contact the Mediator, who will be authorized to assist in resolving the
dispute. If the Parties are unable to resolve the dispute in mediation, the Committee, the Litigation
Trustee and/or any of the Parties may seek an emergency hearing with the Court, and none of the
Parties may oppose, contest, or object to the hearing of such dispute on shortened notice; provided
that all of the Parties’ rights, remedies and defenses are otherwise preserved.

         HRH shall be entitled to designate any third party to satisfy any portion or all of its
obligations under, or allow a third party to join or grant such party participation rights with respect
to, its existing or future DIP financings, as long as none of the transactions contemplated hereby
are adversely affected, impeded or impaired in any manner and no estate assets are used to pay the
Allowed claims of HRH or any such third party.

        As set forth herein, the Plan contemplates providing HRH various consent and consultation
rights and an ex-officio role on the Litigation Trust Oversight Committee. For the avoidance of
doubt, in the event the HRH Transactions are not consummated or approved by the Court, all such
provisions regarding HRH’s consent and consultation rights and ex-officio role on the Litigation
Trust Oversight Committee and all obligations of HRH with respect to the Litigation Trust shall
be null and void, notwithstanding anything to the contrary herein. In such scenario, the requisite
Plan modifications will be set forth in the Plan Supplement.




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C.     Litigation Claims

        The Litigation Trust shall have the exclusive right and authority to investigate, commence,
pursue and/or settle any Litigation Claims, with the net proceeds of such Litigation Claims to be
distributed in accordance with the Plan and Litigation Trust Agreement.

        The net proceeds of Litigation Claims (excluding Avoidance Action proceeds) shall first
be paid to HRH until the Litigation Trust Seed Money is repaid to HRH, together with accrued
interest as provided above. Thereafter, an amount equal to 100% of the net proceeds of Litigation
Claims (excluding Avoidance Action proceeds) will belong to the Litigation Trust, until sufficient
funds are available to provide a 10% recovery to holders of Allowed General Unsecured Claims,
provided, however, that such net proceeds shall not exceed $15 million. Thereafter, the next $5
million of net proceeds of Litigation Claims (excluding Avoidance Action proceeds) shall be paid
to HRH. Thereafter, all remaining net proceeds of Litigation Claims (excluding Avoidance Action
proceeds) shall be subject to a 65%-35% sharing arrangement between the holders of Allowed
General Unsecured Claims, on the one hand, and HRH, on the other hand, until such time as all
obligations under the HRH Exit Facility (including the Outstanding Judgment) are satisfied in full;
provided, however, and notwithstanding anything to the contrary herein or in any document related
to the Plan, that if there is a bona fide dispute as to whether the obligations under the HRH Exit
Facility are satisfied in full through allocation of net proceeds of Litigation Claims, the amount of
the Allowed HRH Claim shall be determined by agreement of HRH, the Reorganized Debtors, and
the Litigation Trustee, or, in the event the parties cannot reach a consensual agreement, by Order
of the Court. Thereafter, all net proceeds of Litigation Claims (excluding Avoidance Action
proceeds) shall be paid to the Litigation Trust, until all Allowed General Unsecured Claims are
paid in full. For the avoidance of doubt, “net proceeds” shall exclude any professional fees/costs
incurred and paid by the Litigation Trust in connection with the prosecution of any Litigation
Claims, but shall include such professional fees/costs as may be awarded as part of the applicable
judgment to be paid by a defendant or other third party.

        Notwithstanding anything herein to the contrary and to avoid doubt, all proceeds of
Avoidance Action actions shall belong to the Litigation Trust to be distributed to holders of
Allowed General Unsecured Claims; provided, however, that if and when holders of Allowed
General Unsecured Claims obtain a total forty percent (40%) recovery on account of Allowed
General Unsecured Claims, then thereafter, all remaining net proceeds of Litigation Claims
(specifically including Avoidance Action proceeds) shall be subject to a 65%-35% sharing
arrangement between the holders of Allowed General Unsecured Claims on the one hand and HRH
on the other hand.

        The Debtors and HRH shall reasonably cooperate with the Litigation Trustee in the pursuit
of the Litigation Claims.

       The Combined Disclosure Statement and Plan shall be interpreted so as to afford, for
the benefit of all Holders of Allowed Claims, the greatest opportunity for maximum recovery
by the Litigation Trustee on the Litigation Trust Assets and proceeds thereof, Litigation
Claims and proceeds thereof, and rights in and proceeds of any applicable Insurance Policies.
The proceeds of Litigation Claims are material to the implementation of the Plan and
maximization of recoveries to Creditors.

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D.     Reorganization Committee Evaluation of Potential Claims Against Current D&Os

        D&O Claims against the Debtors’ Current D&Os shall be evaluated by the independent
Reorganization Committee based upon information provided by all interested parties, including
the UCC, the Litigation Trustee, and management. Upon their receipt of all relevant information,
the Reorganization Committee shall give all such parties an opportunity to be heard to discuss
whether viable claims exist and should be pursued against the Current D&Os. Promptly thereafter,
the Reorganization Committee shall provide to all parties a written determination, consistent with
the Debtors’ fiduciary duties to their creditors, whether any such claims exist and should be
pursued, identifying the factual and legal predicates for the Reorganization Committee’s decisions,
which shall be final. All statutory common law immunities, including those arising under New
Jersey statutes, shall remain in full force and effect. To the extent any claims against the Current
D&Os are pursued, such claims and proceeds thereof shall constitute Litigation Claims. The
Reorganization Committee shall not have any liability for its evaluation and decision regarding
such claims. The Reorganization Committee shall continue to exist after the Effective Date for the
purpose of undertaking this evaluation and decision.

E.     Potential Alternative Transactions

        In accordance with the terms hereof, a third party may seek to overbid the proposed HRH
Transactions (an “Alternative Transaction”). Any bid for a proposed Alternative Transaction must
be submitted no later than the date that is twenty-one (21) calendar days after conditional approval
of the Disclosure Statement, with time being of the essence, such that no bids received after the
expiration of such period may be considered, except as otherwise ordered by the Court.

        If the Debtors receive a qualified bid before the expiration of the aforementioned period,
the Debtors shall immediately forward such bid to the Reorganization Committee, the UCC and
HRH. Upon timely receipt of a qualified bid, the Reorganization Committee will consider whether
the proposed Alternative Transaction in such qualified bid is higher or better and will make a
recommendation to the Debtors regarding any such proposed Alternative Transaction within seven
(7) calendar days of the timely submission of any qualified bid. When determining whether a bid
is higher or better, the Reorganization Committee shall consider, among other things, the
qualifications of the bidder (as set forth above), the impact on employees, the number or percentage
of employees to be retained post-closing, employee claims against Debtors, the ability of the bidder
to continue to own/operate Bayonne, Christ Hospital, and HUMC as part of the same system, and
collective bargaining agreements.

         Any proposed Alternative Transaction must be proposed by a qualified bidder and shall be
in an amount at least $1 million higher than HRH’s credit bid (discussed below) to take into
consideration the payment of a $1 million break-up fee, due and payable to HRH, in the event of
a closing of an Alternative Transaction regarding Bayonne to an alternative bidder. Additional bid
increments shall be determined by the Reorganization Committee, as ordered by the Court. A
qualified bidder shall be determined by the Reorganization Committee and shall be a person
demonstrating: (i) the financial wherewithal to consummate any proposed transaction, (ii) its
ability to achieve and secure regulatory approvals and comply with the New Jersey Department of


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Health certificate of need and licensure statutes and regulations, including the transfer of
ownership requirements, as well as the Community Health Care Asset Protection Act, (iii) its
ability to secure all contractual approvals to which the Debtors/their successors are subject, and
(iv) its agreement and wherewithal to either assume or pay off, at closing, all overpayments owed
by Bayonne Medical Center to Medicare, Medicaid and their MCOs/HMOs and other government
health care programs. In addition, each bid must state the bidder’s intent regarding the treatment
and retention of employees of the Debtors, the treatment of the Debtor’s collective bargaining
agreements with its various labor unions, including the Committee of Interns and Residents,
including whether the bidder will provide for the assumption of those collective bargaining
agreements and all attendant obligations.

        HRH will have the right to credit bid with regard to the Bayonne transaction and shall have
the right to contest or otherwise challenge the determination of a qualified bid, if any. Such credit
bid may include: (i) the prepetition first lien debt (approximated to be $8 million, plus interest)
acquired from Capitala, (ii) amounts advanced under the Bayonne DIP (approximated to be $21
million through February 1, 2025, plus interest), (iii) any amounts actually paid or advanced for
supplies, equipment, personnel and other items and services, (iv) operations/management fees in
a minimum approximate amount of $3,741,612; and (v) lease arrears such that the total of (i) – (v)
above shall approximate a credit bid of $32,741,612 as of December 18, 2024, it being understood
and agreed the foregoing amounts will be updated at the time the need for a credit bid becomes
ripe.

        If there is competitive bidding, HRH has the right to seek to augment its credit bid by the
Outstanding Judgment, outstanding operations/management fees, all amounts incurred, advanced,
assumed or paid for or on behalf of the Debtors and other amounts or consideration, and neither
the Debtors nor the UCC will oppose HRH’s augmented credit bid. Nothing herein shall prejudice
or otherwise waive the legal rights of any person not a Party hereto to object to any terms of the
Plan or alternative process described herein.

        For the avoidance of doubt, Section 2.05(a) of the Collateral Surrender Agreement is
stricken from the Collateral Surrender Agreement and the “Transaction Consideration” under the
Collateral Surrender Agreement shall be the credit bid of HRH described above.

F.     Sources of Consideration for Plan Distributions

        The Debtors’ and/or Reorganized Debtors’ Cash on hand and other Assets and the
Litigation Trust Assets shall be used to fund the distributions to Holders of Allowed Claims against
the Debtors in accordance with the treatment of such Claims provided pursuant to the Plan and
subject to the terms provided herein.

G.     The Litigation Trust

       On or prior to the Effective Date, the Debtors shall enter into the Litigation Trust
Agreement, in form and substance acceptable to the UCC, to establish the Litigation Trust for the
purposes of investigating, prosecuting, or settling the Litigation Claims; liquidating the Litigation
Trust Assets and distributing the proceeds as required under the Plan and Litigation Trust
Agreement. HRH shall have the right to consent to the Litigation Trust Agreement, such consent

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shall not be unreasonably withheld. To the extent of any dispute regarding the proposed Litigation
Trust Agreement, such dispute shall be determined by the Court.
        As further described in Article X hereof, on or before the Effective Date, the Debtors and
the Litigation Trustee shall sign the Litigation Trust Agreement and take all other steps necessary
to establish the Litigation Trust. On the Effective Date, and in accordance with and pursuant to
the terms of the Plan, the Debtors will transfer to the Litigation Trust all of their rights, title, and
interests in the Litigation Trust Assets. The Litigation Trustee shall accept all Litigation Trust
Assets on behalf of the Litigation Trust Beneficiaries, and be authorized to obtain, collect, seek
the turnover of, liquidate, and collect all of the Litigation Trust Assets not in its possession or
control. The Litigation Trust will then be created and effective without any further action by the
Court or any Person or Entity as of the Effective Date.

        HRH shall be a beneficiary of the Litigation Trust and be entitled to the same rights,
benefits and protections of each other beneficiary of the Litigation Trust.

H.     Corporate Action

       1.      Continued Corporate Existence

        Except as otherwise provided in the Plan, or any agreement, instrument, or other document
incorporated in the Plan or the Plan Supplement, on the Effective Date, each Debtor shall continue
to exist after the Effective Date, as a separate corporation, limited liability company, partnership,
not-for-profit entity, or other form of entity, as the case may be, with all the powers of a
corporation, limited liability company, partnership, not-for-profit entity, or other form as entity, as
the case may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor
is incorporated or formed and pursuant to the respective certificate of incorporation and bylaws
(or other analogous formation documents) in effect before the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other analogous formation documents) are
amended by the Plan or otherwise, and to the extent such documents are amended, such documents
are deemed to be amended pursuant to the Plan and require no further action or approval.

       2.      Cancellation of Old Securities and Agreements

        Except as otherwise provided in the Combined Disclosure Statement and Plan, and in any
contract, instrument, or other agreement or document created in connection with the Combined
Disclosure Statement and Plan, or otherwise as set forth in the HRH Transactions, on the Effective
Date and concurrently with the applicable Distributions made pursuant to Article XI hereof, any
promissory notes, share certificates, whether for preferred or common stock (including treasury
stock), other instruments evidencing any Claims or Interests, other than a Claim that is being
reinstated and rendered Unimpaired, and all options, warrants, calls, rights, puts, awards,
commitments or any other agreements of any character to acquire such Interests shall be deemed
canceled and of no further force and effect, without any further act or action under any applicable
agreement, law, regulation, order or rule, and the obligations of the Debtors under the notes, share
certificates, and other agreements and instruments governing such Claims and Interests shall be
discharged. The holders of or parties to such canceled notes, share certificates and other
agreements and instruments shall have no rights arising from or relating to such notes, share


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certificates and other agreements and instruments or the cancellation thereof, except the rights
provided pursuant to the Plan.

       3.      No Further Action

        On the Effective Date, all matters and actions provided for under the Combined Disclosure
Statement and Plan that would otherwise require approval of the directors and officers, or
members, managers, or shareholders of the Debtors shall be deemed to have been authorized and
effective in all respects as provided herein and shall be taken without any requirement for further
action by the directors and officers, members, managers, or shareholders of the Debtors.

       4.      Effectuating Documents

          The Reorganized Debtors and the Litigation Trustee acting pursuant to the terms and
conditions of the Litigation Trust Agreement, as applicable, shall be authorized to execute, deliver,
file, or record such documents, instruments, releases, and other agreements and to take such actions
as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan.

I.     Books and Records

         On or before the Effective Date, the Debtors shall transfer their Books and Records that
relate to the operation of the Litigation Trust or the Litigation Trust Assets to the Litigation Trust.
As soon as practicable after the Litigation Trust makes the final Distribution under the Plan and
the Litigation Trust Agreement and has complied with and fulfilled its obligations under the Plan,
the Litigation Trustee shall be free, in its discretion, to abandon, destroy, or otherwise dispose of
the books and records in compliance with applicable non-bankruptcy law at any time on and after
the Effective Date, without the need for any other or further Court Order.

J.     UCC Dissolution

        The UCC shall continue in existence until the Effective Date to exercise those powers and
perform those duties specified in Bankruptcy Code section 1103 and shall perform such other
duties as it may have been assigned by the Court prior to the Effective Date. Upon the occurrence
of the Effective Date, the UCC shall dissolve automatically, whereupon their members,
professionals, and agents shall be discharged and released from any duties and responsibilities in
the Chapter 11 Cases and under the Bankruptcy Code, except with respect to (i) obligations arising
under confidentiality agreements, which shall remain in full force and effect, (ii) prosecuting
applications for payment of fees and reimbursement of expenses of its Professionals or attending
to any other issues related to applications for payment of fees and reimbursement of expenses of
its Professionals, (iii) any motions or motions for other actions seeking enforcement of
implementation of the provisions of the Plan, and (iv) prosecuting or participating in any appeal
of the Confirmation Order or any request for reconsideration thereof.




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K.     Accounts and Reserves

       1.      Litigation Trust Account

        On or prior to the Effective Date, the Litigation Trust Account will be established and
maintained in one or more federally insured domestic banks in the name of the Litigation Trust.
Cash deposited in the Litigation Trust Account will be invested, held and used solely as provided
in the Litigation Trust Agreement. The Litigation Trustee is authorized to establish additional
Litigation Trust Accounts after the Effective Date, consistent with the terms of the Litigation Trust
Agreement.

       After the funding of the Litigation Trust Account on the Effective Date, the Litigation Trust
Account will be funded, as applicable, by Cash proceeds obtained through prosecution or
settlement of the Litigation Claims, by additional draws of the Litigation Trust Seed Money, if
applicable, or otherwise in accordance with the Plan and Litigation Trust Agreement.

        Upon obtaining an order of the Court authorizing final Distribution and/or closure of the
Debtors’ Chapter 11 Cases, any funds remaining in the Litigation Trust Account shall be
distributed in accordance with the Plan and the applicable Litigation Trust Agreement, and the
Litigation Trust Account may be closed.

       2.      Professional Fee Reserve

       As soon as practicable after Confirmation and not later than the Effective Date, the Debtors
or Reorganized Debtors shall set aside Cash in the Amount of the Professional Fee Estimate, which
Cash shall be used to fund the Professional Fee Reserve. The Professional Fee Reserve shall be
maintained by the Reorganized Debtors in trust for the Professionals, shall not be considered
property of the Reorganized Debtors, and shall be used solely to pay the Allowed Professional Fee
Claims. The Reorganized Debtors shall segregate and shall not commingle the Cash held in the
Professional Fee Reserve. The Reorganized Debtors shall pay each Professional Fee Claim within
two business days after such Professional Fee Claim becomes an Allowed Claim, upon entry of a
Final Order allowing such Claim.

         Once all Allowed Professional Fee Claims have been paid in full, any excess Cash
remaining in the Professional Fee Reserve shall be released from trust and available for use by the
Reorganized Debtors. To the extent that the Professional Fee Reserve is not sufficient to satisfy in
full all Allowed Professional Fee Claims, such Allowed Claims shall nevertheless be paid in full
by the Reorganized Debtors.

        Only Professionals employed in the Chapter 11 Cases by the Debtors, the UCC or the PCO
shall be entitled to payment from the Professional Fee Reserve.

       3.      Administrative Expense Claims Reserve

        On or before the Effective Date, the Debtors shall transfer to the Litigation Trust Cash in
the Amount of the Administrative and Priority Claims Estimate, which Cash shall be used by the
Litigation Trustee to fund the Administrative Expense Claims Reserve. The Cash so transferred
shall not be used for any purpose other than to pay Allowed Administrative Expense Claims

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(except Professional Fee Claims, which shall be paid from the Professional Fee Reserve) and
Allowed Priority Claims.

        The Litigation Trustee shall pay each Administrative Expense Claim (except Professional
Fee Claims, which shall be paid from the Professional Fee Reserve) and Priority Claim from the
Administrative Expense Claims Reserve on or as soon as reasonably practicable after the date such
Claim becomes an Allowed Claim. After all Administrative Expense Claims (except Professional
Fee Claims) and Priority Claims are Allowed or Disallowed and the Allowed amounts of such
Claims are paid by the Litigation Trustee, any remaining Cash in the Administrative Expense
Claims Reserve shall be transferred to the Reorganized Debtors. To the extent that the
Administrative Expense Claims Reserve is not sufficient to satisfy in full all Allowed
Administrative Expense Claims (except Professional Fee Claims, which shall be paid from the
Professional Fee Reserve) and Priority Claims, such Allowed Claims shall nevertheless be paid in
full by the Reorganized Debtors.

       4.      Other Reserves

       The Reorganized Debtors or Litigation Trust, as applicable, shall establish and administer
any other necessary reserves that may be required under the Plan or Litigation Trust Agreement,
including the Disputed Claims Reserve.

L.     Exemption from Certain Transfer Taxes

         Pursuant to Bankruptcy Code section 1146(a), any transfers of property pursuant hereto
shall not be subject to any stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real
estate transfer tax, mortgage recording tax, personal property tax, sales tax, use tax, privilege tax,
or other similar tax or governmental assessment in the United States, and the Confirmation Order
shall direct and be deemed to direct the appropriate federal, state or local government officials or
agents to forgo the collection of any such tax or governmental assessment and to accept for filing
and recordation instruments or other documents pursuant to such transfers of property without the
payment of any such tax or governmental assessment. Such exemption specifically applies,
without limitation, to (1) the creation of any mortgage, deed of trust, lien or other security interest;
(2) the assuming and assigning any contract, lease or sublease; (3) any transaction authorized by
the Plan; (4) any sale of an asset by the Litigation Trustee in furtherance of the Plan and (4) the
making or delivery of any deed or other instrument of transfer under, in furtherance of or in
connection with the Plan.

M.     Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan, the Litigation Trust Agreement, or in any
agreement, instrument, or other document incorporated into the Plan or the Plan Supplement
(including the HRH Transactions), on the Effective Date, pursuant to section 1141 of the
Bankruptcy Code, all property of the Debtors’ Estates other than the Litigation Trust Assets shall
vest in the Reorganized Debtors, free and clear of all Claims, Liens encumbrances and interests.
From and after the Effective Date, except as otherwise provided in the Plan, the Reorganized
Debtors may operate their business and use, acquire and dispose of property without supervision



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by the Court and free of any restrictions on of the Bankruptcy Code, other than those restrictions
expressly imposed by the Plan and the Confirmation Order.

N.     Applicability of Bankruptcy Code Sections 1145 and 1125(e)

        Under Bankruptcy Code section 1145, the issuance of any securities under the Plan (if
applicable) shall be exempt from registration under the Securities Act of 1933, as amended, and
all applicable state and local laws requiring registration of securities. If the Reorganized Debtors
or Litigation Trustee determines, with the advice of counsel, that the Litigation Trust or the
Reorganized Debtors are required to comply with the registration and reporting requirements of
the Securities and Exchange Act of 1934, as amended, or the Investment Company Act of 1940,
as amended, in connection with the distribution of any securities, then the Litigation Trustee shall
take any and all actions to comply with such reporting requirements and file necessary periodic
reports with the SEC.

O.     Preservation of Litigation Claims

        In accordance with Bankruptcy Code section 1123(b), the Litigation Trust shall retain and
may enforce all rights to commence and pursue, as appropriate, the Litigation Claims, and the
Litigation Trust’s rights to commence, prosecute, or settle such Litigation Claims shall be
preserved notwithstanding the occurrence of the Effective Date. The Litigation Trust may pursue
such Litigation Claims, as appropriate, in accordance with the best interests of the Litigation Trust
Beneficiaries. No Person or Entity may rely on the absence of a specific reference in the Combined
Disclosure Statement and Plan to any Litigation Claims against them as any indication that the
Litigation Trust shall not pursue any and all available Litigation Claims against them. Unless any
Litigation Claims are expressly waived, relinquished, exculpated, released, compromised, or
settled in the Combined Disclosure Statement and Plan or other Court Order, the Litigation Trust
expressly reserves all such Litigation Claims for later adjudication, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppels (judicial, equitable, or otherwise), or laches, shall apply to such Litigation
Claims as a consequence of the Confirmation or Consummation.

        Except as provided in Article XIV hereof, nothing contained herein shall be deemed a
waiver or relinquishment of any claims or Causes of Action of the Debtors or the Estates or any
Litigation Claims that are not settled with respect to Allowed Claims or specifically waived or
relinquished hereunder (collectively, along with the proceeds thereof, the “Retained Causes of
Action”). The Retained Causes of Action preserved hereunder include, without limitation, the
following claims, rights, or other Causes of Action:

       (i)      claims and Causes of Action (including, but not limited to, tort claims and D&O
                Claims), against any other party not expressly released or enjoined under this Plan;

       (ii)     Avoidance Actions, including, without limitation, against recipients of transfers
                disclosed in the Debtors’ Schedules during the 90-day period and/or one-year
                period preceding the Petition Date, as applicable;




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       (iii)     relating to pending litigation, including, without limitation, the suits, administrative
                 proceedings, executions, garnishments, and attachments listed in the Debtors’
                 Schedules;

       (iv)      claims and Causes of Action against the Prior Owners or any former owner or
                 Person in control of the Debtors, including, without limitation, claims and Causes
                 of Action based on preferential or fraudulent transfers, equitable subordination,
                 recharacterization, improper dividends, pre-Petition Date operations or
                 mismanagement, or any other misconduct;

       (v)       claims and Causes of Action against any of the Debtors’ former professionals,
                 consultants or any other advisors who are not expressly released pursuant to the
                 Plan;

       (vi)      D&O Claims arising from prepetition operations, mismanagement or breach of any
                 applicable fiduciary duty or law, including, without limitation failure to remit
                 payroll, withholding, trust fund, or other taxes;

       (vii)     against vendors, suppliers of goods or services (including attorneys, accountants,
                 consultants, or other professional service providers), utilities, contract
                 counterparties, and other parties for, including but not limited to: (A) services
                 rendered; (B) over- and under-payments, back charges, duplicate payments,
                 improper holdbacks, deposits, warranties, guarantees, indemnities, setoff, or
                 recoupment; (C) failure to fully perform or to condition performance on additional
                 requirements under contracts with the Debtor; (D) wrongful or improper
                 termination, suspension of services, or supply of goods, or failure to meet other
                 contractual or regulatory obligation; (E) indemnification and/or warranty claims;
                 or (F) turnover Causes of Action arising under §§ 542 or 543;

       (viii) against health plans, payors, and other related providers;

       (ix)      related to third-party non-Debtor’s violations of antitrust, unfair competition, or
                 similar laws, including for the avoidance of doubt, any claims or Causes of Action
                 against RJW Barnabas and any of its Affiliates or subsidiaries;

       (x)       against landlords or lessors, including, without limitation, for erroneous charges,
                 overpayments, returns of security deposits, indemnification, or for environmental
                 claims;

       (xi)      arising against current or former tenants or lessees, including, without limitation,
                 for non-payment of rent, damages, and holdover proceedings;

       (xii)     arising from damage to the Debtors’ property;

       (xiii) relating to claims, rights, or other Causes of Action the Debtors may have to
              interplead third parties in actions commenced against the Debtors;

       (xiv)     for collection of a debt or other amount owed to the Debtors;

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       (xv)     all Litigation Claims; and

       (xvi)    against insurance carriers, reinsurance carriers, underwriters, surety bond issuers or
                other related or similar parties relating to coverage, indemnity, contribution,
                reimbursement, or other matters.

       Except as otherwise expressly provided in the Plan, any and all claims and Causes of
Action of the Debtors and the Estates are preserved under the Plan.

       This Plan shall be interpreted so as to afford, for the benefit of all Holders of Allowed
Claims, the greatest opportunity for maximum recovery by the Litigation Trustee on the
Litigation Trust Assets and proceeds thereof, Litigation Claim (including, but not limited to,
D&O Claims, tort claims and Avoidance Actions) and proceeds thereof, and rights in and
proceeds of any applicable Insurance Policies. The proceeds of Litigation Claims (including,
but not limited to, D&O Claims, tort claims and Avoidance Actions) are material to the
implementation of this Plan and the recoveries to Creditors.

P.     Provider Agreements

        On the Effective Date, all of the Debtors’ Medicare and Medicaid provider agreements
relating to Christ Hospital and HUMC shall be assumed by the Reorganized Debtors and the
Reorganized Debtors shall be solely responsible for any claims or financial obligations arising
thereunder and the Litigation Trust shall have no responsibility for any claims or financial
obligations arising thereunder. On or as soon as practicable after the Effective Date, all of the
Debtors’ Medicare and Medicaid provider agreements relating to Bayonne shall be transferred to
HRH or its Affiliates and HRH or its Affiliates shall be solely responsible for any claims or
financial obligations arising thereunder and the Litigation Trust shall have no responsibility for
any claims or financial obligations arising thereunder.

Q.     Establishment of Claims Bar Dates

       1.       The General Claims Bar Date and Governmental Claims Bar Date

        The deadline for non-Governmental Units to file Proofs of Claim against any Debtor for
Claims arising before the Petition Date shall be 30 days after the Effective Date (the General
Claims Bar Date). The deadline for Governmental Units to file Proofs of Claim against any Debtor
for Claims arising before the Petition Date shall be the later of (a) the General Claims Bar Date;
and (b) May 2, 2025.

        The General Claims Bar Date and Governmental Claims Bar Date shall apply to all Claims
against any of the Debtors that arose before the Petition Date, including, but not limited to, Claims
against the Debtors arising under section 503(b)(9) of the Bankruptcy Code.

       2.       The Administrative Expense Claims Bar Date

      The deadline for any Creditor to file requests for payment of Administrative Expense
Claims (other than a Professional Fee Claim or any Statutory Fees) shall be 30 days after the


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Effective Date; provided that Professional Fee Claims shall be subject to the Professional Fee
Claims Bar Date.

                                 ARTICLE X.
                  PROVISIONS REGARDING THE LITIGATION TRUST

A.     Establishment and Administration of the Litigation Trust

        On the Effective Date, the Debtors and the Litigation Trustee shall sign the Litigation Trust
Agreement and, in its capacity as such, the Litigation Trustee shall accept all Litigation Trust
Assets on behalf of the Litigation Trust Beneficiaries, and be authorized to obtain, collect, seek
the turnover of, liquidate, and collect all of the Litigation Trust Assets not in its possession or
control. The Litigation Trust will then be created and effective without any further action by the
Court or any Person or Entity as of the Effective Date.

        The Litigation Trust shall be established for the primary purposes of liquidating the
Litigation Trust Assets and making Distributions in accordance with the Plan and the Litigation
Trust Agreement, with no objective to continue or engage in the conduct of a trade or business,
except only in the event and to the extent necessary to, and consistent with, the liquidating purpose
of the Litigation Trust.

B.     The Litigation Trust Oversight Committee

        The Litigation Trust shall be overseen by a three-member oversight committee
(the “Litigation Trust Oversight Committee”), consisting of three (3) members designated by the
UCC. The Litigation Trust Oversight Committee shall oversee the Litigation Trust and the
Litigation Trustee, as set forth herein and in the Litigation Trust Agreement. The Litigation Trustee
shall report to the Litigation Trust Oversight Committee from time to time. HRH shall have an ex-
officio role on the Litigation Trust Oversight Committee to provide usual and customary
communication and participation to be agreed upon with the Litigation Trustee to include rights to
attend meetings, conferences, receive contemporaneous communications, be a part of deliberations
and receive notice, subject to a recusal policy for all members of the Litigation Trust Oversight
Committee.

C.     Litigation Trust Assets

        On the Effective Date, the Reorganized Debtors shall transfer and assign to the Litigation
Trust all of their right, title, and interest in and to all of the Litigation Trust Assets and in
accordance with Bankruptcy Code section 1141, all such assets shall automatically vest in the
Litigation Trust free and clear of all Claims, Liens, and other interests, subject only to the interests
of the Litigation Trust Beneficiaries in the Litigation Trust Assets and the Litigation Trust
Expenses, as set forth in the Plan and the Litigation Trust Agreement. Thereupon, the Debtors
shall not have any interest in or with respect to the Litigation Trust Assets.

        On the Effective Date, in connection with the transfer and assignment of the rights, claims,
and Causes of Action that constitute Litigation Trust Assets to the Litigation Trust, any attorney-
client privilege, work-product doctrine, or other privilege or immunity attaching to any documents
or communications (whether written, electronic, or oral) transferred to, or otherwise acquired by,

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the Litigation Trust pursuant to the terms of the Plan or otherwise shall vest in the Litigation
Trustee and the representatives of the Litigation Trust, and the Litigation Trustee shall be
authorized to take any actions to the extent necessary to effectuate the transfer of such privileges
and rights attendant thereto. The Litigation Trustee’s receipt of all such privileges shall not operate
as a waiver of any other privileges or immunities possessed or retained by the Debtors. The
Litigation Trustee’s disclosure of any privileged documents or information to the members of the
Litigation Trust Oversight Committee or any ex-officio members of the Litigation Trust Oversight
Committee in connection with their duties under the Plan or the Litigation Trust Agreement shall
not result in any waiver of such privileged documents, communications or information.

D.     Other Funds to be Transferred to the Litigation Trust

        Pursuant to Article IX.K.3 hereof, on or before the Effective Date, in the event that the
Reorganized Debtors elect not to assume Allowed Administrative Expense Claims and Allowed
Priority Claims, the Debtors shall transfer Cash in the amount of the Administrative and Priority
Claims Estimate, which Cash shall be used by the Litigation Trustee to fund the Administrative
Expense Claims Reserve.

E.     Litigation Trust Distributions and Expenses

        Distributions from the Litigation Trust shall be made from the Litigation Trust Assets in
accordance with the Plan and the Litigation Trust Agreement. Such Distributions shall be made
after paying, reserving against, or satisfying, among other things, the operating and administrative
expenses of the Litigation Trust, including but not limited to all costs, expenses, and obligations
incurred by the Litigation Trustee (or professionals who may be employed by the Litigation
Trustee in administering the Litigation Trust) in carrying out their responsibilities to the Litigation
Trust under the Litigation Trust Agreement, or in any manner connected, incidental, or related
thereto. For the avoidance of doubt, the Litigation Trust Expenses shall be paid from the Litigation
Trust Assets.

F.     Appointment of the Litigation Trustee

        The identity of the Litigation Trustee shall be disclosed in the Plan Supplement, and shall
be selected by the UCC, in consultation with the Debtors and HRH. HRH shall have the right to
consent to the selection of the Litigating Trustee, such consent not to be unreasonably withheld.
To the extent of any dispute regarding the selection of the Litigation Trustee, such dispute shall be
determined by the Court. The appointment of the Litigation Trustee shall be approved in the
Confirmation Order, and such appointment shall be effective as of the Effective Date. The
Litigation Trustee shall have and perform all of the duties, responsibilities, rights, and obligations
set forth in the Plan and Litigation Trust Agreement.

        The Litigation Trustee shall not be required to give any bond or surety or other security for
the performance of its duties unless otherwise ordered by the Court. The Litigation Trustee shall
only be removed upon a Final Order of the Court determining that the Litigation Trustee engaged
in gross negligence or willful misconduct. On the Effective Date, all Litigation Trust Beneficiaries
of the Litigation Trust shall be deemed to have ratified and become bound by the terms and
conditions of the Litigation Trust Agreement. In the event that the Litigation Trustee resigns or is


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removed, terminated, or otherwise unable to serve as Litigation Trustee, then successors shall be
appointed as set forth in the Litigation Trust Agreement. Any successor Litigation Trustee
appointed shall be bound by and comply with the terms of the Plan, the Confirmation Order, and
the Litigation Trust Agreement.

      Following the Effective Date, the Litigation Trustee shall also be, and shall enjoy the
powers of, the Debtors’ authorized representative for all purposes, including, without limitation,
Bankruptcy Code section 1123. No further proof of such power shall be necessary or required.

G.     Litigation Trust Beneficiaries

        Holders of HRH Claims and General Unsecured Claims entitled to receive Distributions
pursuant to the terms of the Plan, whether or not such Claims are Allowed as of the Effective Date,
shall be the Litigation Trust Beneficiaries and shall be bound by the Litigation Trust Agreement.

H.     Litigation Trust Interests

        On the Effective Date, each Holder of an Allowed HRH Claim and Allowed General
Unsecured Claim shall, by operation of the Plan, receive its Pro Rata share of the Litigation Trust
Interests, as set forth in Article V above. Litigation Trust Interests shall be reserved for Holders
of Disputed General Unsecured Claims and issued by the Litigation Trust to, and held by the
Litigation Trustee in, the Disputed Claims Reserve pending allowance or disallowance of such
Claims. No other entity shall have any interest, legal, beneficial or otherwise, in the Litigation
Trust Assets upon the assignment and transfer of such assets to the Litigation Trust.

       The Litigation Trust Interests shall be uncertificated and shall be nontransferable except
upon death of the Holder or by operation of law. Holders of Litigation Trust Interests, in such
capacity, shall have no voting rights with respect to such interests.

        As set forth in the Litigation Trust Agreement, Distributions from the Litigation Trust on
account of Litigation Trust Interests shall be made from the Litigation Trust Assets and Litigation
Trust Proceeds after paying, reserving against or satisfying, among other things, the operating and
administrative expenses of the Litigation Trust, including but not limited to all costs, expenses and
obligations incurred by the Litigation Trustee (or professionals who may be employed by the
Litigation Trustee in administering the Litigation Trust) in carrying out their responsibilities under
the Litigation Trust Agreement, or in any manner connected, incidental or related thereto.

I.     Certain Powers and Duties of the Litigation Trust and Litigation Trustee

       1.      Powers and Duties of the Litigation Trust

         The Litigation Trustee shall be deemed the Estates’ representative in accordance with
Bankruptcy Code section 1123 and shall have all the rights and powers set forth in the Litigation
Trust Agreement, including, without limitation, the powers of a trustee under Bankruptcy Code
sections 704 and 1106 and Bankruptcy Rule 2004, in addition to any powers granted by law or
conferred to it by any other provision of the Plan, including without limitation any set forth herein;
provided, however, that enumeration of the following powers shall not be considered in any way
to limit or control the power and authority of the Litigation Trustee to act as specifically authorized

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by any other provision of the Plan, the Litigation Trust Agreement, and/or any applicable law, and
to act in such manner as the Litigation Trustee may deem necessary or appropriate, including,
without limitation, to discharge all obligations assumed by the Litigation Trustee or provided
herein, to conserve and protect the Litigation Trust and the Litigation Trust Assets, or to confer on
the Litigation Trust Beneficiaries the benefits intended to be conferred upon them by the Plan.

         The powers, rights, and responsibilities of the Litigation Trustee shall be specified in the
Litigation Trust Agreement and shall include the authority, power, and responsibility, among other
things, to, subject to the terms of the Litigation Trust Agreement, (a) receive, manage, invest,
supervise, and protect Litigation Trust Assets; (b) effect all actions and execute all agreements,
instruments and other documents necessary to implement the provisions of the Plan and the
Litigation Trust Agreement; (c) pay taxes or other obligations incurred by the Litigation Trust and
issue to employees or other Persons, and/or file with the appropriate Governmental Units,
applicable tax and wage returns and forms; (d) investigate, prosecute, settle, abandon, or
compromise any Litigation Claims without any further notice to or action, order, or approval by
the Court; (e) resolve issues involving Claims and Interests in accordance with the Plan, including
the power to object to Claims against the Debtors, and to subordinate and recharacterize Claims
by objection, motion, or adversary proceeding against the Debtors without any further notice to or
action, order or approval by the Court; (f) investigate, prosecute, settle, abandon, or compromise
any Litigation Claims without further notice to or action, order, or approval by the Court; (g)
resolve all Disputed Claims and any Claim Objections pending as of the Effective Date and,
without Court approval, settle, compromise, withdraw, or resolve in any manner such Disputed
Claims and Claim Objections; (h) prosecute any Objections to Claims and Disputed Claims that
the Litigation Trustee deems appropriate and, without Court approval, settle, compromise,
withdraw, or resolve in any manner such objections; (i) make Distributions from the Litigation
Trust to Holders of Allowed Claims as provided for in the Plan and the Litigation Trust Agreement;
(j) establish and administer any necessary reserves that may be required, including the Disputed
Claims Reserve and the Administrative Expense Claims Reserve; (k) employ and compensate
counsel or other advisors to assist in the performance of its duties, which counsel may include any
counsel who has represented the UCC during the pendency of the Chapter 11 Cases, provided,
however, that any such compensation shall be made only out of the Litigation Trust Assets and
Litigation Trust Proceeds; (l) file all necessary federal, state and local tax returns of the Litigation
Trust; (m) undertake all administrative functions of the Chapter 11 Cases; and (n) take such other
action as may be vested in or assumed by the Litigation Trustee consistent with the Plan, the
Litigation Trust Agreement, and any applicable Orders of the Court, or as may be necessary and
proper to carry out the provisions of the Plan.

        The Litigation Trust Agreement will provide that decisions regarding the prosecution,
compromise, defense of counterclaims, third-party claims or cross-claims, abandonment and/or
settlement of any Cause of Action that seeks recovery (or defense – but not including general
unsecured claims) or is otherwise reasonably valued at, equal to, or greater than $1,000,000 or
settlement of any Disputed Claim where the amount in dispute is equal to or greater than
$1,000,000 shall require HRH’s consent, such consent not to be unreasonably withheld. The
Litigation Trust Agreement will also provide that, to the extent that any proposed settlement may
bind, or affect the continued operations of the Debtors or their assets, HRH shall have approval
rights to address such issues or concerns, such approval not to be unreasonably withheld. To the
extent of any dispute regarding HRH’s consent rights as aforesaid, such dispute shall be

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determined by the Court (or the Mediator, if the parties then agree in writing to the extent
applicable).

        The Litigation Trust Agreement may establish certain powers, duties, and authorities in
addition to those explicitly stated herein, but only to the extent that such powers, duties, and
authorities do not affect the status of the Litigation Trust as a liquidating trust for United States
federal income tax purposes.

        The Litigation Trustee has full authority to take any steps necessary to administer the
Litigation Trust Agreement, including without limitation, the duty and obligation to liquidate
Litigation Trust Assets, to make Distributions therefrom in accordance with the provisions of the
Plan and to pursue, settle or abandon any Litigation Claims, all in accordance with the Litigation
Trust Agreement.

         For the avoidance of doubt, upon the occurrence of the Effective Date, the Litigation
Trustee shall automatically be granted, have, and be vested with exclusive standing and authority
to: (i) bring and prosecute any Litigation Claims in a court of competent jurisdiction in the name
of the Litigation Trust or in the name of the applicable Debtors as the Estates’ representative in
accordance with section 1123 of the Bankruptcy Code (whichever the Litigation Trustee may
determine is most favorable to maximizing recoveries for the benefit of Litigation Trust
Beneficiaries), notwithstanding any anti-assignment provisions under otherwise applicable law;
and (ii) negotiate, settle, waive, or otherwise resolve any Litigation Claims. The Litigation Trustee
shall have the right to freely amend the named plaintiff in any lawsuits asserting Litigation Claims
if the Litigation Trustee determines that such amendment is necessary to maximize recoveries for
the benefit of Litigation Trust Beneficiaries.

        For the further avoidance of doubt, upon the Effective Date, the Litigation Trustee shall
automatically be: (a) deemed a representative of the Debtors and the Estates with respect to all
Litigation Claims and any related Insurance Policies; and (b) granted and have the right to control
any and all privileges and protections on behalf of the Debtors, the UCC and the Estates with
respect to all Litigation Claims.

       2.      Books and Records

        On the Effective Date, the Litigation Trust shall: (a) take possession of all books, records,
and files of the Debtors and the Estates that relate to the operation and business of the Litigation
Trust or the Litigation Trust Assets; and (b) provide for the retention and storage of such books,
records, and files until such time as the Litigation Trustee determines, in accordance with the
Litigation Trust Agreement, that retention of same is no longer necessary or beneficial.

       3.      Investments of Cash

        The Litigation Trust may invest Cash (including any earnings thereon or proceeds
therefrom) as permitted by Bankruptcy Code section 345 or in other prudent investments,
provided, however, that such investments are permitted to be made by a Litigation Trust within
the meaning of Treasury Regulation Section 301.7701-4(d), as reflected therein, or under
applicable IRS guidelines, rulings, or other controlling authorities.


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       4.      Term of the Litigation Trust

        The Litigation Trust will terminate on the earlier of the: (a) final liquidation,
administration, and Distribution of the Litigation Trust Assets in accordance with the terms of the
Plan and the Litigation Trust Agreement, and its full performance of all other duties and functions
as set forth in the Plan or the Litigation Trust Agreement; and (b) the fifth anniversary of the
Effective Date. Notwithstanding the foregoing, multiple fixed term extensions can be obtained so
long as Court approval is obtained within six months before or after the expiration of the term of
the Litigation Trust and each extended term, in the discretion of the Litigation Trustee.
Notwithstanding any such termination, the Litigation Trustee shall have the power to: (a) take all
actions necessary to its full performance of all duties and functions as set forth in the Plan or the
Litigation Trust Agreement; and (b) seek to obtain a nunc pro tunc extension of the term of the
Litigation Trust. After (a) the final Distributions pursuant to the Plan, (b) the filing by or on behalf
of the Litigation Trust of a certification of dissolution with the Court, and (c) any other action
deemed appropriate by the Litigation Trustee, the Litigation Trust shall be deemed dissolved for
all purposes without the necessity for any other or further actions.

                                    ARTICLE XI.
                        PROVISIONS GOVERNING DISTRIBUTIONS

A.     Distributions on Allowed Claims

        Distributions to be made on account of Claims that are Allowed Claims as of the Effective
Date or become Allowed Claims thereafter, other than Class 6 or Class 2 Claims, shall be made
by the Disbursing Agent pursuant to the terms and conditions of the Plan and the Litigation Trust
Agreement. Notwithstanding any other provision of the Plan to the contrary, no Distribution shall
be made on account of any Allowed Claim or portion thereof that (1) has been satisfied after the
Petition Date; (2) is listed in the Schedules as contingent, unliquidated, disputed or in a zero
amount, and for which a Proof of Claim has not been timely Filed; or (3) is evidenced by a Proof
of Claim that has been amended by a subsequently Filed Proof of Claim.

B.     Disbursing Agent

        The Disbursing Agent shall make all Distributions, other than those to Class 6 or Class 2
Claims, required under the Plan, subject to the terms and provisions of the Plan and the Litigation
Trust Agreement. If the Disbursing Agent is an independent third party designated to serve in
such capacity, such Disbursing Agent shall receive, without further Court approval, reasonable
compensation from the Debtors for distribution services rendered pursuant to the Plan and
reimbursement of reasonable out-of-pocket expenses. No Disbursing Agent shall be required to
give any bond or surety or other security for the performance of its duties. The Disbursing Agent
shall be authorized and directed to rely upon the Debtors’ Books and Records and the Debtors’
and Litigation Trust’s representatives and professionals in determining Allowed Claims entitled to
Distributions under the Plan in accordance with the terms and conditions of the Plan.




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C.     Delivery of Distributions and Undeliverable or Unclaimed Distributions

       1.      Delivery of Distributions in General

        Distributions to Holders of Allowed Claims shall be made (a) at the addresses set forth on
the Proofs of Claim Filed by such Holders (or at the last known addresses of such Holders if no
Proof of Claim is Filed or if the Debtors have been notified of a change of address), (b) at the
addresses set forth in any written notices of address changes delivered to the Disbursing Agent
after the date of any related Proof of Claim, after sufficient evidence of such addresses as may be
requested by the Disbursing Agent is provided, (c) at the addresses reflected in the Schedules if no
Proof of Claim has been Filed and the Disbursing Agent has not received a written notice of a
change of address, (d) at the addresses set forth in the other records of the Debtors or the Disbursing
Agent at the time of the Distribution, or (e) in the case of the Holder of a Claim that is governed
by an agreement and is administered by an agent or servicer, at the addresses contained in the
official records of such agent or servicer.

        In making Distributions under the Plan, the Disbursing Agent may rely upon the accuracy
of the claims register maintained by the Claims and Noticing Agent in the Chapter 11 Cases, as
modified by any Final Order of the Court disallowing Claims in whole or in part.

       2.      Undeliverable Distributions

        If a Distribution to any Holder of an Allowed Claim is returned as “undeliverable” or is
otherwise unclaimed, no further Distributions shall be made to such Holder unless and until the
Disbursing Agent is notified in writing of such Holder’s then-current address and such Holder
provides sufficient evidence of such address as may be requested by the Disbursing Agent, at
which time all missed Distributions shall be made to such Holder without interest, subject to the
time limitations set forth below. Undeliverable Distributions shall remain in the possession of the
Litigation Trustee until the earlier of (i) such time as a Distribution becomes deliverable or (ii)
such undeliverable Distribution becomes an Unclaimed Distribution. Nothing contained in the
Combined Disclosure Statement and Plan or the Litigation Trust Agreement shall require the
Debtors, the Litigation Trust, the Litigation Trustee, or any Disbursing Agent to attempt to locate
any Holder of an Allowed Claim.

       3.      Unclaimed Distributions

       Any Cash or other property to be distributed under the Plan shall revert to the Litigation
Trustee and/or the Litigation Trust, as applicable, if it is not claimed by the Entity on or before the
Unclaimed Distribution Deadline. If such Cash or other property is not claimed on or before the
Unclaimed Distribution Deadline, the Distribution made to such Entity shall be deemed to be
reduced to zero.

        In the case of undeliverable or Unclaimed Distributions on account of Administrative
Expense Claims, Priority Tax Claims, or Priority Non-Tax Claims, any Cash otherwise reserved
for undeliverable or Unclaimed Distributions shall revert to the Administrative Expense Claims
Reserve. In the case of undeliverable or Unclaimed Distributions on account of Litigation Trust
Interests, any Cash otherwise reserved for undeliverable or Unclaimed Distributions shall revert
to the Litigation Trust, and all title to and all beneficial interests in the Litigation Trust Assets

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represented by any such undeliverable Distributions shall revert to and/or remain in the Litigation
Trust and shall be distributed in accordance with the Litigation Trust Agreement and the Plan. The
reversion of such Cash to the Administrative Expense Claims Reserve or the Litigation Trust, as
applicable, shall be free of any restrictions thereon and notwithstanding any federal or state escheat
laws to the contrary and shall be treated in accordance with the terms of the Plan and the Litigation
Trust Agreement.

        Any Holder of an Allowed Claim that does not assert a Claim pursuant to the Plan for an
undeliverable or Unclaimed Distribution within 90 days after the date such Distribution was made
shall be deemed to have forfeited its Claim for such undeliverable or Unclaimed Distribution and
shall be forever barred and enjoined from asserting any such claim for an undeliverable or
Unclaimed Distribution against the Reorganized Debtors, the Debtors, their Estates, the Litigation
Trustee, the Litigation Trust, and their respective agents, attorneys, representatives, employees or
independent contractors, and/or any of its or their property.

        If there is any residual unclaimed property at the time of dissolution of the Litigation Trust,
such residual unclaimed property shall be available for a subsequent Distribution on a Pro Rata
basis to other Litigation Trust Beneficiaries or donated to a charitable organization at the sole
discretion of the Litigation Trust or the Litigation Trustee, as applicable.

D.     Timing of Distributions

        Unless otherwise provided herein, on each Distribution Date, each Litigation Trust
Beneficiary shall receive such Distributions in accordance with Article XI hereof. In the event
that any payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be completed
on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. The Litigation Trustee shall have no obligation to recognize any transfer of Claims
or Interests occurring on or after the Effective Date.

E.     Means of Cash Payment

        Cash payments made pursuant to the Plan shall be in U.S. dollars and shall be made at the
option and in the sole discretion of the Disbursing Agent by (i) checks drawn on or (ii) wire
transfers from a domestic bank selected by the Disbursing Agent. In the case of foreign creditors,
Cash payments may be made, at the option of the Disbursing Agent, in such funds and by such
means as are necessary or customary in a particular jurisdiction; provided that the Disbursing
Agent receives a signed receipt or otherwise verifiable record of any such Cash payment.

F.     Interest on Claims

       Unless otherwise specifically provided for in the Plan, or the Confirmation Order, or
required by applicable law, postpetition interest shall not accrue or be paid on any Claims, and no
Holder shall be entitled to interest accruing on or after the Petition Date on any Claim. Except as
otherwise specifically provided for in the Plan, or the Confirmation Order, or required by
applicable law, interest shall not accrue or be paid upon any Disputed Claim in respect of the
period from the Petition Date to the date a final Distribution is made thereon if and after such
Disputed Claim becomes an Allowed Claim.

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G.     No Creditor to Receive More than Payment in Full

        Notwithstanding any other provision hereof, no Holder of a Claim shall receive more than
full payment of its applicable Allowed Claim, including any interest, costs or fees that may be
payable with respect thereto under or pursuant to the Plan.

H.     Disallowance of Untimely Claims

        Any Claim for which a bar date has been established that is not timely Filed or otherwise
asserted as directed on or before the applicable bar date shall: (a) be forever Disallowed, barred,
and expunged in its entirety; and (b) not be enforceable against the Debtors, the Estates, the
Litigation Trust, and/or the Litigation Trustee, all without further notice to any party, or action,
approval, or order of the Court, irrespective of whether such Claim was Filed prior to, on, or
following the Confirmation Date. Except as otherwise agreed by the Litigation Trustee, any and
all Holders of Claims for which a bar date has been established that is not timely Filed or otherwise
asserted as directed on or before the applicable bar date shall not be treated as Creditors for
purposes of voting and distribution pursuant to Bankruptcy Rule 3003(c)(2).

I.     Claims Paid or Payable by Third Parties

               1.      Claims Paid by Third Parties

        A Claim shall be reduced in full, and such Claim shall be Disallowed without a Claim
Objection having to be Filed and without further notice to any party, or action, approval, or order
of the Court, to the extent that the Holder of such Claim received payment in full on account of
such Claim from a party that is not the Debtors, the Estates, the Litigation Trust, or the Litigation
Trustee. To the extent a Holder of a Claim receives a Distribution on account of such Claim and
receives payment from a party that is not the Debtors, the Estates, the Litigation Trust, or the
Litigation Trustee on account of such Claim, such Holder shall, within two weeks of such Holder’s
receipt thereof, repay the Distribution to the Reorganized Debtors or the Litigation Trust, as
applicable, to the extent the Holder’s total recovery on account of such Claim from the third party
and under the Plan exceeds the Allowed amount of such Claim determined as of the date of any
such Distribution under the Plan. The failure of such Holder to timely repay or return such
Distribution shall result in the Holder owing the Reorganized Debtors or the Litigation Trustee, as
applicable, annualized interest at the federal judgment rate on such amount owed for each day after
the two-week grace period specified above until the amount is repaid.

               2.      Claims Payable by Third Parties

        No Distribution shall be made on account of an Allowed Claim that is payable by a party
that is not the Debtors, the Estates, the Litigation Trust, or the Litigation Trustee, including
pursuant to any insurance policy, until the Holder of such Allowed Claim has exhausted all
remedies with respect to such third party or insurance policy. To the extent that one or more of the
Debtors’ insurers or another third party agrees to satisfy in full or in part an Allowed Claim, then
immediately upon such agreement, the applicable portion of such Claim may be Disallowed and
expunged without a Claim Objection having to be Filed and without further notice to any party, or
action, approval or order of the Court. Unless and until the Holder of a Claim that is payable by a
party that is not the Debtors, the Estates, the Litigation Trust, or the Litigation Trustee exhausts all

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remedies with respect to such third party of insurance policy, such Claim shall be deemed
estimated at zero dollars ($0) for all purposes of the Plan and Litigation Trust Agreement without
further notice to any party, or action, approval or order of the Court.

J.     Withholding and Reporting Requirements

        In accordance with Bankruptcy Code section 346 and in connection with the Plan and all
Distributions hereunder, the Disbursing Agent shall, to the extent applicable, comply with all
withholding and reporting requirements imposed by any federal, state, provincial, local, or foreign
taxing authority. The Disbursing Agent shall be authorized to take any and all actions necessary
and appropriate to comply with such requirements.

         All Distributions hereunder shall be subject to withholding and reporting requirements. As
a condition of making any Distribution under the Plan, each Person and Entity holding an Allowed
Claim is required to provide any information necessary in writing, including returning W-9
statements, to effect the necessary information reporting and withholding of applicable taxes with
respect to Distributions to be made under the Plan as the Disbursing Agent may request. The
Disbursing Agent shall be entitled in its sole discretion to withhold any Distributions to a Holder
of an Allowed Claim who fails to provide tax identification or social security information within
the timeframe requested in writing by the Disbursing Agent to such Holder of an Allowed Claim,
which timeframe shall not be less than 30 days. Unless the Litigation Trustee agrees otherwise
in its sole discretion, all Distributions to any Holder of an Allowed Claim that fails to timely
respond to a request for tax information deemed necessary or appropriate by the Litigation
Trustee shall be waived and forfeited and the applicable Claim shall be deemed Disallowed
without notice or further order of the Court.

       Notwithstanding any other provision of the Plan, each Person and Entity receiving a
Distribution pursuant to the Plan shall have sole and exclusive responsibility for the satisfaction
and payment of tax obligations on account of any such Distribution.

K.     Setoffs

       Subject to the terms and conditions of the Litigation Trust Agreement, the Debtors, the
Reorganized Debtors and/or the Litigation Trust may, but shall not be required to, set off against
any Claim and the payments or other Distributions to be made under the Plan on account of the
Claim, claims of any nature whatsoever that the Debtors may have against the Holder thereof,
provided that any such right of setoff that is exercised shall be allocated, first, to the principal
amount of the related Claim, and thereafter to any interest portion thereof, but neither the failure
to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by the
Debtors and/or the Litigation Trust of any such claim that the Debtors may have against such
Holder.




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L.     Procedure for Treating and Resolving Disputed, Contingent, and/or Unliquidated
       Claims

       1.      Objection Deadline; Prosecution of Objections

       Except as set forth in the Plan with respect to Professional Fee Claims and Administrative
Expense Claims, all objections to Claims must be Filed and served on the Holders of such Claims
by the Claims Objection Deadline.

         Notwithstanding any requirements that may be imposed pursuant to Bankruptcy Rule 9019,
on and after the Effective Date, the Litigation Trustee shall have the authority to: (a) File, withdraw
or litigate to judgment Objections to and requests for estimation of Claims provided, however, that
such actions where the amount in dispute is or is otherwise reasonably valued at equal to or greater
than $1,000,000 shall require HRH’s consent, such consent not to be unreasonably withheld; (b)
settle or compromise any Disputed Claim without any further notice to or action, order or approval
by the Court provided, however, that such actions where the amount in dispute is or is otherwise
reasonably valued at equal to or greater than $1,000,000 shall require HRH’s consent, such consent
not to be unreasonably withheld; and (c) administer and adjust the Claims register to reflect any
such settlements or compromises without any further notice to or action, order, or approval by the
Court; provided, however, that the objection to and settlement of Professional Fee Claims shall not
be subject to this Article XI.L, but rather shall be governed by Article IV.D hereof. In the event
that any Objection Filed by the Debtors remains pending as of the Effective Date, the Litigation
Trustee shall be deemed substituted for the Debtors, as applicable, as the objecting party, in his or
her sole discretion.

         The Court shall retain jurisdiction to estimate any such Claim, including during the
litigation of any Objection to such Claim or during the appeal relating to such Objection. In the
event that the Court estimates any contingent or unliquidated Claim, that estimated amount shall
constitute a maximum limitation on such Claim for all purposes under the Plan (including for
purposes of Distributions), and the Litigation Trustee may elect to pursue any supplemental
proceedings to object to any ultimate Distribution on such Claim.

        The Litigation Trust shall be entitled to assert all of the Debtors’ rights, claims, defenses,
offsets, rights of recoupment, setoffs, rights of disallowance, subrogation, recharacterization
and/or equitable subordination and counter-claims with respect to Claims, subject to HRH’s
consent rights as set forth above.

       2.      No Distributions Pending Allowance

        Notwithstanding any other provision of the Plan or the Litigation Trust Agreement, no
payments or Distributions shall be made with respect to all or any portion of a Disputed Claim
unless and until all objections to such Disputed Claim have been settled or withdrawn or have been
determined by Final Order, and the Disputed Claim, or some portion thereof, has become an
Allowed Claim.

        To the extent that a Claim is not a Disputed Claim but is held by a Holder that is or may be
liable to the Debtors or the Litigation Trust on account of a Cause of Action, no payments or
Distributions shall be made with respect to all or any portion of such Claim unless and until such

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Claim and liability have been settled or withdrawn or have been determined by Final Order of the
Court, administrative tribunal, or such other court having jurisdiction over the matter.

       3.      Disputed Claims Reserve

         On the Distribution Date, the Litigation Trust shall withhold on a Pro Rata basis from
property that would otherwise be distributed to Holders of Claims entitled to Distributions under
the Plan on such date, in a separate Disputed Claims Reserve, such amounts or property as may be
necessary to equal one hundred percent (100%) of Distributions to which Holders of such Disputed
Claims would be entitled under the Plan if such Disputed Claims were allowed in their Disputed
Claim Amount. The Litigation Trust may request, if necessary, estimation for any Disputed Claim
that is contingent or unliquidated, or for which the Litigation Trust determines to reserve less than
the face amount. If the Litigation Trust elects not to request such an estimation from the Court
with respect to a Disputed Claim that is contingent or unliquidated, the Litigation Trust shall
withhold the applicable Disputed Claims Reserve based upon the good faith estimate of the amount
of such Claim by the Litigation Trust. If practicable, the Litigation Trust shall invest any Cash
that is withheld as the Disputed Claims Reserve in an appropriate manner to ensure the safety of
the investment, in accordance with the Litigation Trust Agreement. Nothing in the Plan or the
Litigation Trust Agreement shall be deemed to entitle the Holder of a Disputed Claim to
postpetition interest on such Claim, however.

       4.      Distributions After Allowance

        Payments and Distributions to Holders of Disputed Claims that ultimately become Allowed
Claims shall be made in accordance with provisions of the Plan and the Litigation Trust Agreement
that govern Distributions to Holders of Allowed Claims.

       5.      De Minimis Interim Distributions

        The Litigation Trust shall not be required to make any interim distributions to Holders of
Allowed Claims aggregating less than $100.00; provided, however, that Holders of Allowed
Claims shall be entitled to final distributions regardless of their amount. Cash that otherwise would
be payable under the Plan to Holders of Litigation Trust Interests but for this Article XI.L.5 shall
remain Litigation Trust Assets to be used in accordance with the Litigation Trust Agreement. Cash
that otherwise would be payable under the Plan to Holders of Administrative Expense Claims,
Priority Tax Claims, and Priority Non-Tax Claims but for this Article XI.L.5 shall remain in the
Administrative Expense Claims Reserve.

       6.      Fractional Dollars

        Notwithstanding any other provision of the Plan, the Disbursing Agent shall not be required
to make Distributions or payments of fractions of dollars. Whenever any payment of a fraction of
a dollar under the Plan would otherwise be called for, the actual payment shall reflect a rounding
of such fraction to the nearest whole dollar (up or down), with half dollars being rounded down.




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       7.      Allocation of Distributions Between Principal and Interest

       To the extent that any Allowed Claim entitled to a Distribution under the Plan is composed
of indebtedness and accrued but unpaid interest thereon, such Distribution shall, for all income tax
purposes, be allocated to the principal amount of the Claim first and then, to the extent the
consideration exceeds the principal amount of the Claim, to the portion of such Claim representing
accrued but unpaid interest.

       8.      Distribution Record Date

        The Disbursing Agent shall have no obligation to recognize the transfer of or sale of any
participation in any Allowed Claim that occurs after the close of business on the Distribution
Record Date. Instead, the Disbursing Agent shall be entitled to recognize and deal for all purposes
under the Plan with only those record Holders stated on the official Claims register or the Debtors’
Books and Records, as applicable, as of the close of business on the Distribution Record Date.

                          ARTICLE XII.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.     Rejection of Executory Contracts and Unexpired Leases

       The Plan provides for the rejection of those contracts listed on the Schedule of Rejected
Executory Contracts and Unexpired Leases. The Confirmation Order shall constitute an order
approving such rejection as of the Effective Date.

        Further, except as otherwise provided in the Plan or in any contract, instrument, release, or
other agreement or document entered into in connection with the Plan, each of the Executory
Contracts and Unexpired Leases to which any Debtor is a party shall be deemed automatically
rejected by the Debtors as of the Effective Date, unless such contract or lease (1) previously has
been assumed or rejected by the applicable Debtor; (2) expired or terminated pursuant to its own
terms; (3) is the subject of a motion to assume or reject pending before the Court as of the
Confirmation Date; (4) is identified in the Plan Supplement as an Executory Contract or Unexpired
Lease to be assumed; (5) is an Insurance Policy; or (6) is contemplated by the HRH Transactions;
provided, however, that nothing contained in the Plan shall constitute an admission by a Debtor
that any such contract or lease is an Executory Contract or Unexpired Lease or that a Debtor or its
successors and assigns has any liability thereunder; provided further, that the Debtors reserve their
rights, at any time before the Confirmation Date, to assume any Executory Contract or Unexpired
Lease that was not already rejected prior to the Confirmation Date. The Confirmation Order shall
constitute an order approving such rejection as of the Effective Date.

       Confirmation of the Plan shall be subject to assumption, renegotiation and/or rejection of
applicable labor agreements. To the extent that any labor agreement is sought to be rejected, the
Debtors and HRH (to the extent applicable) shall comply with section 1113 of the Bankruptcy
Code.

       The rejection of any Executory Contracts shall not impact the continued existence of the
Reorganization Committee after the Effective Date for purposes of evaluating claims against
Current D&Os.

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B.     Rejection Claims Bar Date

        If the rejection of an Executory Contract or Unexpired Lease pursuant to Article XII.A
above gives rise to a Claim by the other party or parties to such contract or lease, such Claim shall
be forever barred and shall not be enforceable against the Debtors, their Estates, the Litigation
Trust, the Litigation Trustee, or their respective successors or assets, unless a Proof of Claim is
Filed with the Claims and Noticing Agent and served on counsel for the Debtors and the Litigation
Trust by the Rejection Claims Bar Date. Any Proofs of Claim not Filed and served by the Rejection
Claims Bar Date will be forever barred from assertion against the Debtors, their Estates, the
Litigation Trust, the Litigation Trustee, or their respective successors or assets. Unless otherwise
Ordered by the Court, all Claims arising from the rejection of Executory Contracts and Unexpired
Leases shall be treated as Class 7 (General Unsecured Claims) under the Plan.

C.     Indemnification and Reimbursement

        The Debtors and/or the Reorganized Debtors, as applicable, shall indemnify their current
and former employees with respect to any liability to such employees arising from any failure of
the Debtors to pay state or federal payroll taxes. Further, any obligations of the Debtors pursuant
to their organizational documents, including amendments, entered into any time prior to the
Effective Date, to indemnify, reimburse, or limit the liability of any Person pursuant to the Debtors’
operating agreements, bylaws, policy of providing employee indemnification, applicable state law
or specific agreement in respect of any claims, demands, suits, causes of action, or proceedings
against such Persons based upon any act or omission related to such Persons’ service with, for or
on behalf of the Debtors prior to the Effective Date with respect to all present and future actions,
suits and proceedings relating to the Debtors shall survive confirmation of the Plan and except as
set forth herein, remain unaffected thereby, and shall not be discharged, irrespective of whether
such defense, indemnification, reimbursement or limitation of liability accrued or is owed in
connection with an occurrence before or after the Petition Date; provided, however, that all related
monetary obligations, other than those related to payroll taxes, shall be limited solely to available
insurance coverage and neither the Debtors, their estates, the Litigation Trust, the Litigation
Trustee, nor any of their respective assets shall be liable for any such obligations, except for the
Debtors’ obligations with respect to indemnification regarding payroll taxes. This provision for
indemnification obligations shall not apply to or cover any Claims, suits or actions against a Person
that result in a final order determining that such covered person is liable for fraud, willful
misconduct, gross negligence, bad faith, self-dealing or breach of the duty of loyalty.

D.     Continuation of Insurance Policies

        Notwithstanding anything to the contrary herein, all Insurance Policies in effect as of the
Effective Date shall remain in full force and effect in accordance with their terms on and after the
Effective Date and shall not be deemed rejected pursuant to the Plan. The Reorganized Debtors
shall pay any premiums necessary to maintain such Insurance Policies and may not terminate any
such Insurance Policies without the consent of the Litigation Trustee.

       Confirmation and effectiveness of the Plan will not discharge, impair, or otherwise modify
any rights of the Debtors, the Estates, the Litigation Trust, the Litigation Trustee, or any other
beneficiary under the Insurance Policies. On the Effective Date, the Insurance Policies and the

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proceeds thereof (subject in all cases to the terms of the Insurance Policies or the rights of any
other beneficiaries therein) shall automatically vest in the Reorganized Debtors and/or the
Litigation Trust, as applicable. For the avoidance of doubt, the Insurance Policies are not
Executory Contracts and are neither assumed nor rejected under the Plan.

        The Confirmation Order shall constitute a determination that no default by the Debtors
exists with respect to any of the Insurance Policies and that nothing in any prior order, any prior
agreements, or this Plan shall be construed or applied to modify, impair, or otherwise affect the
enforceability of the Insurance Policies or any coverage thereunder with regard to any Causes of
Action (including, but not limited to, the Litigation Claims, D&O Claims and tort claims), or
claims, interests, or rights of the Debtors, the Estates, the Litigation Trustee, or the Litigation Trust.
The Plan shall be liberally construed to protect the interests of all Creditors in all Causes of Action
(including, but not limited to, Litigation Claims, D&O Claims and tort claims), and to limit any
Claims against the Estate.

        Nothing in this Plan shall diminish, impair, or otherwise affect (i) rights of the Debtors’
current or former directors, officers, trustees, managers, or any other Person covered under the
Insurance Policies, or (ii) payments from the proceeds or the enforceability of any Insurance
Policies that may cover (a) claims by the Debtors, or (b) claims against the Debtors or covered
Persons thereunder.

                                ARTICLE XIII.
                  CONDITIONS PRECEDENT TO CONFIRMATION AND
                          CONSUMMATION OF THE PLAN

A.      Conditions Precedent to Confirmation

        The following are conditions precedent to confirmation of the Plan, each of which must be
satisfied:

       1.     The Combined Disclosure Statement and Plan, Plan Supplement(s), the
Confirmation Order, and any other related definitive documents shall be in form and substance
reasonably acceptable to the Plan Proponents and HRH. Any dispute regarding the definitive
documents shall be determined by the Mediator.

       2.      The Professional Fee Reserve account shall be funded in the amount of the
Professional Fee Estimate.

       3.     HRH (or its designee) will have provided a commitment for the funds necessary to
confirm and consummate the Plan; and

        4.      The Confirmation Order shall have been entered by the Court.

B.      Conditions Precedent to Effective Date

      The following are conditions precedent to the occurrence of the Effective Date, each of
which must be satisfied or waived:


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       1.      All conditions precedent to Confirmation of the Plan shall have either been satisfied
or waived.

        2.     The Solicitation Procedures Order and the Confirmation Order shall not have been
stayed, vacated, or reversed and shall have become a Final Order.

        3.     The Plan shall not have been materially amended, altered, or modified from the
Plan as confirmed by the Confirmation Order, unless the Plan Proponents and HRH have provided
written consent to such material amendment, alteration, or modification.

       4.     All authorizations, consents, regulatory approvals, rulings, or documents necessary
to implement and effectuate the Plan have been obtained.

         5.     All definitive documents shall, where applicable, have been executed and remain
in full force and effect.

        6.      The Litigation Trust Seed Money shall have been provided to the Litigation Trustee
or the Litigation Trustee shall have otherwise agreed to the funding of the Litigation Trust Seed
Money from HRH.

       7.       The Litigation Trust Agreement shall have been executed and the Litigation Trustee
and the Litigation Trust Oversight Committee shall have been appointed.

        8.    The Professional Fee Reserve and the Administrative Expense Claims Reserve
shall have been funded in Cash in full, unless the Debtors assume responsibility for Allowed
Administrative Expense Claims and Allowed Priority Claims as set forth herein.

       9.      The Litigation Trust shall have been established and the Litigation Claims shall
have been transferred to and vested in the Litigation Trust free and clear of all Claims and Liens,
except as specifically provided in the Plan and the Litigation Trust Agreement.

       10.   All actions and all agreements, instruments, or other documents necessary to
implement the terms and provisions of the Plan are effected or executed and delivered, as
applicable.

C.     Establishing the Effective Date

        The calendar date to serve as the Effective Date shall be a Business Day of, on, or promptly
following the satisfaction or waiver of all conditions to the Effective Date, which date will be
selected by the Debtors. On or within two Business Days of the Effective Date, the Debtors shall
File and serve a notice of occurrence of the Effective Date. Such notice shall contain, among other
things, notice of the General Claims Bar Date, the Governmental Claims Bar Date, the
Administrative Expense Claims Bar Date, the Professional Fee Claims Bar Date, and the Rejection
Claims Bar Date with respect to Executory Contracts or Unexpired Leases rejected pursuant to the
Plan.



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D.     Waiver of Conditions

        Each of the conditions to Confirmation and the occurrence of the Effective Date set forth
in Article XIII hereof may be waived in whole or in part by unanimous agreement of the Plan
Proponents, without any other notice to other parties-in-interest or the Court. The failure to satisfy
or waive any condition to Confirmation or the occurrence of the Effective Date may be asserted
by the Plan Proponents regardless of the circumstances giving rise to the failure of such condition
to be satisfied. The failure of any party to exercise any of its foregoing rights shall not be deemed
a waiver of any of its other rights, and each such right shall be deemed an ongoing right that may
be asserted thereby at any time.

E.     Consequences of Non-Occurrence of Effective Date

        If the Effective Date does not occur within 90 days following the Confirmation Date, or by
such later date after notice and hearing, as is proposed by the Debtors, then upon motion by the
Debtors and upon notice to such parties-in-interest as the Court may direct, (i) the Plan shall be
null and void in all respects; (ii) any settlement of Claims shall be null and void without further
order of the Court; and (iii) the time within which the Debtors may assume and assign or reject all
Executory Contracts shall be extended for a period of 30 days after such motion is granted.

                                    ARTICLE XIV.
                               EFFECTS OF CONFIRMATION

A.     Compromise and Settlement of Claims and Controversies

         Pursuant to Bankruptcy Code section 1123 and Bankruptcy Rule 9019 and in consideration
for the classification, Distributions, releases, and other benefits provided pursuant to the Combined
Disclosure Statement and Plan, on the Effective Date, the provisions of the Combined Disclosure
Statement and Plan shall constitute a good faith compromise and settlement of all Claims, Interests,
and controversies resolved pursuant to the Combined Disclosure Statement and Plan or relating to
the contractual, legal and subordination rights that a Holder of a Claim or Interest may have with
respect to any Claim or Interest, or any Distribution to be made on account of such Claim or
Interest. The entry of the Confirmation Order shall constitute the Court’s approval of the
compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by
the Court that such compromise or settlement is in the best interests of the Debtors, their Estates,
and Holders of Claims and Interests and is fair, equitable and reasonable.

B.     Binding Effect

        The Combined Disclosure Statement and Plan shall be binding upon and inure to the
benefit of the Debtors, all present and former Holders of Claims and Interests, whether or not such
Holders shall receive or retain any property or interest in property under the Combined Disclosure
Statement and Plan, and their respective successors and assigns, including, but not limited to, the
Litigation Trust and all other parties-in-interest in the Chapter 11 Cases.




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C.     Discharge of the Debtors

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan or in any contract, instrument, or other agreement or document created
pursuant to the Plan, the Distributions, rights, and treatment that are provided in the Plan shall be
in complete satisfaction, discharge, and release, effective as of the Effective Date, of all Claims,
Interests, and causes of action in or against any Debtor, its assets or property of any nature
whatsoever, including any interest accrued on Claims from and after the Petition Date, whether
known or unknown, contingent or noncontingent, or liquidated or unliquidated, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of
such Claims, Interests or causes of action, that arose or accrued before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each
case whether or not: (1) a Proof of Claim based upon such Claim, debt, right, cause of action or
Interest is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or
Interest based upon such debt or right is Allowed pursuant to section 502 of the Bankruptcy Code;
or (3) the Holder of such a Claim or Interest has accepted the Plan. Unless expressly provided in
the Plan, the Confirmation Order shall be a judicial determination of the discharge of all Claims
and Interests subject to the Effective Date occurring.

D.     Debtor Releases

        Effective as of the Effective Date, for good and valuable consideration, the adequacy
of which is hereby confirmed, the Debtors, their Estates, and the Debtors’ current and
former Affiliates, successor, and assigns, including any successor to the Debtors or any Estate
representative appointed or selected pursuant to Bankruptcy Code section 1123(b)(3),
including the Litigation Trustee, shall be deemed to forever release, waive, and discharge
each of the Released Parties from any claim, Claim, Cause of Action, obligation, suit,
judgment, damages, debt, right, remedy, liability, action, proceeding, suit, account,
controversy, agreement, promise, right to legal remedies, right to equitable remedies, or
right to payment, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising in law, equity, or otherwise, for any act or omission in connection with,
relating to, or in any manner arising from, in whole or in part, the Debtors, the Debtors’
operations, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of
any security of the Debtors, the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the assertion or enforcement of rights and
remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any
Avoidance Actions, or the Combined Disclosure Statement and Plan, and the administration,
formulation, preparation, dissemination, solicitation, negotiation, consummation, and
implementation of any of the foregoing or any contract, instrument, release, or other
agreement, understanding, accord, course of dealing, or document created or entered into in
connection with or evidencing any of the foregoing, whether or not accrued, arising or having
occurred, liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity, mixed, or
otherwise, that may be based in whole or part on any act, omission, transaction, agreement,
understanding, course of dealing, event or other occurrence or omission taking place on or
prior to the Effective Date.

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E.     Exculpation and Limitation of Liability

        Except as otherwise specifically provided herein, the Exculpated Parties shall not
have or incur, and are hereby released and exculpated from, any liability, whether known,
unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, secured, or unsecured and whether
asserted or assertable directly or derivatively in law or equity, to any Holder of a Claim or
an Interest, or any other party-in-interest, or any of their respective members, directors,
officers, managers, trustees, employees, advisors, attorneys, professionals, agents, partners,
stockholders or Affiliates, or any of their respective successors or assigns, for any act or
omission in connection with, relating to or arising out of, the Chapter 11 Cases, the
formulation, negotiation, or implementation of the Combined Disclosure Statement and
Plan, solicitation of acceptances of the Plan, the pursuit of Confirmation of the Plan, the
Confirmation of the Plan, the Consummation of the Plan, or the administration of the Plan
or the property to be distributed under the Plan, except for acts or omissions which are the
result of fraud, gross negligence, or willful misconduct (in each case as determined by a Final
Order entered by a court of competent jurisdiction), and such parties in all respects shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities under the Combined Disclosure Statement and Plan.

       Notwithstanding any other provision of the Combined Disclosure Statement and
Plan, no Holder of a Claim or an Interest, no other party-in-interest, none of their respective
members, directors, officers, employees, advisors, attorneys, professionals, agents, partners,
stockholders or Affiliates, and none of their respective successors or assigns, shall have any
right of action against the Exculpated Parties for any act or omission in connection with,
relating to or arising out of, the Chapter 11 Cases, the formulation, negotiation, or
implementation of the Combined Disclosure Statement and Plan, solicitation of acceptances
of the Plan, the pursuit of Confirmation of the Plan, the Consummation of the Plan, or the
administration of the Plan or the property to be distributed under the Plan, except for acts
or omissions which are the result of fraud, gross negligence, or willful misconduct (in each
case as determined by a Final Order entered by a court of competent jurisdiction). For the
avoidance of doubt, nothing contained in this paragraph shall exculpate acts or omissions
prior to the Petition Date or post-Effective Date.

F.     Injunction

       Effective as of the Effective Date, all Persons and Entities that hold, have held, or may
hold a claim, Claim, Cause of Action, obligation, suit, judgment, damages, debt, right,
remedy, action, proceeding, suit, account, controversy, agreement, promise, right to legal
remedies, right to equitable remedies, or right to payment, or liability of any nature
whatsoever, that is released, exculpated, compromised, or settled pursuant to this Combined
Disclosure Statement and Plan, shall be permanently, forever and completely stayed,
restrained, prohibited, barred and enjoined from taking any of the following actions (other
than actions to enforce any rights or obligations under the Combined Disclosure Statement
and Plan): (i) commencing, conducting, or continuing in any manner, directly or indirectly,
any suit, action or other proceeding (including, without limitation, any judicial, arbitral,
administrative or other proceeding) in any forum against or affecting the Debtors, the

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Litigation Trust, or any of their respective property; (ii) enforcing, levying, attaching
(including, without limitation, any pre-judgment attachment), collecting, or in any way
seeking to recover any judgment, award, decree, or other order against the Debtors, the
Litigation Trust, or any of their respective property; (iii) creating, perfecting, or in any way
enforcing in any manner, directly or indirectly, any encumbrance or Lien of any kind against
the Debtors, the Litigation Trust, or any of their respective property; (iv) asserting any right
of setoff, directly or indirectly, against any obligation due to the Debtors, the Litigation
Trust, or any of their respective property, except with respect to any right of setoff asserted
prior to the entry of the Confirmation Order, whether asserted in a Proof of Claim or
otherwise, or as otherwise contemplated, impaired, or allowed by the Plan; (v) acting or
proceeding in any manner, in any place whatsoever, that does not conform to or comply with
the provisions of the Combined Disclosure Statement and Plan; and (vi) prosecuting or
otherwise asserting (A) any Claim or Interest, including any right, claim, or Cause of Action
released pursuant to the Plan, (B) any form of objection to any Claim that is Allowed by the
Plan and Confirmation Order, or (C) Avoidance Actions against any Holder of a Claim that
is Allowed or any Avoidance Action released by the Plan. Additionally, unless otherwise
explicitly stated in the Combined Disclosure Statement and Plan, in furtherance of the
releases granted by the Plan or Confirmation Order, the injunction contemplated by this
paragraph shall prohibit the assertion against the Litigation Trust and the Litigation Trustee
of all Claims or Interests, if any, related to the Debtors.

        Confirmation of the Plan shall further have the effect of permanently enjoining all
Persons and Entities from obtaining (i) any documents or other materials from current
counsel for the Debtors that are in the possession of such counsel as a result of or arising in
any way out of its representation of the Debtors, provided, however, that the Litigation
Trustee shall be entitled to obtain any such documents or other materials as are reasonably
necessary to prosecute or liquidate the Litigation Trust Assets, (ii) any documents or other
materials from current counsel for the UCC that are in the possession of such counsel as a
result of or arising in any way out of its representation of the UCC, provided, however, that
the Litigation Trustee shall be entitled to obtain any such documents or other materials, or
(iii) Books and Records, provided, however, that the Litigation Trustee shall be entitled to
obtain any such Books and Records as are reasonably necessary to prosecute or liquidate the
Litigation Trust Assets.

                                    ARTICLE XV.
                              RETENTION OF JURISDICTION

A.     Retention of Jurisdiction

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, following the Effective Date, the Court shall retain such jurisdiction over the Chapter 11
Cases as is legally permissible, including, without limitation, such jurisdiction as is necessary to
ensure that the interests and purposes of the Combined Disclosure Statement and Plan are carried
out. The Court shall have exclusive jurisdiction of all matters arising out of the Chapter 11 Cases
and the Combined Disclosure Statement and Plan pursuant to, and for the purposes of, Bankruptcy
Code sections 105(a) and 1142 and for, among other things, the following purposes:


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        1.      To the extent not otherwise determined by the Combined Disclosure Statement and
Plan, to determine (a) the allowance, classification, or priority of Claims upon objection by any
party-in-interest entitled to File an objection, or (b) the validity, extent, priority, and
nonavoidability of consensual and nonconsensual Liens and other encumbrances against assets of
the Estates, the Debtors, or the Litigation Trust;

         2.     To issue injunctions or take such other actions or make such other orders as may be
necessary or appropriate to restrain interference with the Combined Disclosure Statement and Plan
or its execution or implementation by any Person or Entity, to construe and to take any other action
to enforce and execute the Combined Disclosure Statement and Plan, the Confirmation Order, or
any other order of the Court, to issue such orders as may be necessary for the implementation,
execution, performance, and Consummation of the Combined Disclosure Statement and Plan and
all matters referred to herein, and to determine all matters that may be pending before the Court in
the Chapter 11 Cases on or before the Effective Date with respect to any Person or Entity;

       3.      To protect the assets or property of the Estates, the Debtors, or the Litigation Trust,
including Causes of Action, from claims against, or interference with, such assets or property,
including actions to quiet or otherwise clear title to such property or to resolve any dispute
concerning Liens or other encumbrances on any assets of the Estates, the Debtors, or the Litigation
Trust;

       4.      To determine any and all applications for allowance of Professional Fee Claims;

      5.     To determine any Priority Tax Claims, Priority Non-Tax Claims, or Administrative
Expense Claims entitled to priority under Bankruptcy Code section 507(a);

       6.      To resolve disputes concerning any reserves with respect to Disputed Claims or the
administration thereof;

        7.     To resolve any dispute arising under or related to the implementation, execution,
Consummation, or interpretation of the Combined Disclosure Statement and Plan and the making
of Distributions hereunder;

       8.     To modify the Combined Disclosure Statement and Plan under Bankruptcy Code
section 1127, remedy any defect, cure any omission, or reconcile any inconsistency in the
Combined Disclosure Statement and Plan or the Confirmation Order so as to carry out their intent
and purposes;

       9.     To issue such orders in aid of Consummation of the Combined Disclosure
Statement and Plan and the Confirmation Order notwithstanding any otherwise applicable non-
bankruptcy law, with respect to any Person or Entity, to the full extent authorized by the
Bankruptcy Code;

      10.    To enter and implement such Orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, revoked, modified, or vacated;



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       11.    To determine any and all motions related to the rejection, assumption, or
assignment of Executory Contracts or Unexpired Leases or determine any issues arising from the
deemed rejection of Executory Contracts and Unexpired Leases set forth in Article XII.A hereof;

        12.     Except as otherwise provided herein, to determine all applications, motions,
adversary proceedings, contested matters, actions, and any other litigated matters instituted in and
prior to the closing of the Chapter 11 Cases;

       13.     To enter a final decree closing the Chapter 11 Cases;

       14.     To hear and determine any tax disputes concerning the Debtors and to determine
and declare any tax effects under the Plan; provided, however, that nothing herein shall be
construed to confer jurisdiction upon the Court to make determinations as to federal tax liabilities
and federal tax treatment, except as provided under 11 U.S.C. § 505;

        15.     To enforce, interpret, and determine any disputes arising in connection with any
stipulations, orders, judgments, injunctions, exculpations, and rulings entered in connection with
the Chapter 11 Cases (whether or not the Chapter 11 Cases has been closed);

       16.     To resolve any disputes concerning whether a Person or Entity had sufficient notice
of the Chapter 11 Cases, the General Claims Bar Date, the Governmental Claims Bar Date, the
Rejection Claims Bar Date, the Administrative Expense Claims Bar Date, the Professional Fee
Claims Bar Date, and/or the Confirmation Hearing for the purpose of determining whether a
Claim, or Interest is released, satisfied and/or enjoined hereunder or for any other purpose;

       17.      To ensure that Distributions are accomplished pursuant to the provisions of the Plan
and the Litigation Trust Agreement;

        18.    To determine any other matters that may arise in connection with or related to the
Combined Disclosure Statement and Plan, the Confirmation Order or any contract, instrument,
release, indenture or other agreement or document created or implemented in connection with the
Combined Disclosure Statement and Plan; and

       19.     To hear any other matter not inconsistent with the Bankruptcy Code.

B.     Retention of Non-Exclusive Jurisdiction by the Court

         Notwithstanding anything else in the Combined Disclosure Statement and Plan, the Court
shall retain non-exclusive jurisdiction over all Litigation Claims prosecuted by the Litigation Trust.

C.     Alternative Jurisdiction

       In the event that the Court is without jurisdiction to resolve any matter, then the District
Court or such other administrative tribunal or court of competent jurisdiction shall hear and
determine such matter. If the District Court does not have jurisdiction, then the matter may be
brought before any court having jurisdiction with regard thereto.


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D.     Failure of Court to Exercise Jurisdiction

       If the Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
including the matters set forth in Article XV.A hereof, the provisions of Article XV.A hereof shall
have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by any other
court having jurisdiction with respect to such matter.

                              ARTICLE XVI.
           MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.     Modifications and Amendments

        Alterations, amendments, or modifications of the Combined Disclosure Statement and Plan
may be proposed in writing by the Plan Proponents, at any time before the Confirmation Date;
provided that the Combined Disclosure Statement and Plan, as altered, amended or modified,
satisfies the conditions of Bankruptcy Code sections 1122 and 1123, and the Plan Proponents shall
have complied with Bankruptcy Code section 1125. Additionally, after the Confirmation Date and
prior to substantial Consummation of the Plan, the Plan Proponents may, under Bankruptcy Code
section 1127(b), institute proceedings in the Court to remedy any defect or omission or reconcile
any inconsistencies in the Combined Disclosure Statement and Plan or the Confirmation Order,
and such matters as may be necessary to carry out the purpose and effect of the Combined
Disclosure Statement and Plan so long as such proceedings do not adversely affect the treatment
of Holders of Claims under the Combined Disclosure Statement and Plan; provided, however, that
prior notice of such proceedings shall be served in accordance with the Bankruptcy Rules or order
of the Court.

B.     Effect of Confirmation on Modifications

        Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan
since the solicitation thereof are approved pursuant to Bankruptcy Code section 1127(a) and do
not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.     Revocation or Withdrawal of the Plan

         The Plan Proponents reserve the right to revoke or withdraw the Plan before the
Confirmation Date. If the Plan Proponents revoke or withdraw the Plan, or if Confirmation or
Consummation of the Plan does not occur, then (1) the Plan shall be null and void in all respects,
(2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an
amount certain any Claim or Class of Claims), assumption or rejection of Executory Contracts or
Unexpired Leases effected by the Plan, and any document or agreement executed pursuant to the
Plan, shall be deemed null and void, and (3) nothing contained in the Plan, and no acts taken in
preparation for Consummation of the Plan, shall (i) constitute or be deemed to constitute a waiver
or release of any Claims by or against, or any Interests in, the Debtors or any other Person or
Entity, (ii) prejudice in any manner the rights of the Plan Proponents or any other Person or Entity,
or (iii) constitute an admission of any sort by the Plan Proponents or any other Person or Entity.



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                                     ARTICLE XVII.
                               MISCELLANEOUS PROVISIONS

A.     Terminations of Injunctions or Stays

       Unless otherwise provided herein or in the Confirmation Order, all injunctions or stays
provided for in the Chapter 11 Cases under Bankruptcy Code sections 105 or 362 or otherwise,
and extant on the Confirmation Date, shall remain in full force and effect until the Effective Date.

B.     Severability of Provisions

        If, prior to Confirmation, any term or provision of the Combined Disclosure Statement and
Plan is held by the Court to be invalid, void, or unenforceable, then the Court, at the request of the
Plan Proponents, shall have the power to alter and interpret such term or provision to make it valid
or enforceable to the maximum extent practicable, consistent with the original purpose of the term
or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
the remainder of the terms and provisions of the Combined Disclosure Statement and Plan shall
remain in full force and effect and shall in no way be affected, impaired, or invalidated by such
holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Combined Disclosure
Statement and Plan, as it may have been altered or interpreted in accordance with the foregoing, is
valid and enforceable pursuant to its terms.

C.     Payment of Statutory Fees

        All fees payable through the Effective Date pursuant to 28 U.S.C. § 1930 shall be paid on
or as soon as practicable after the Effective Date. The Reorganized Debtors shall pay Statutory
Fees to the U.S. Trustee in accordance with 28 U.S.C. § 1930 until the Chapter 11 Cases are closed
or converted and/or the entry of a final decree. Quarterly fees shall continue to accrue for the
Debtors and be timely paid until the Chapter 11 Cases are closed, dismissed or converted. In
addition, the Reorganized Debtors shall File post-confirmation quarterly reports or any pre-
confirmation monthly operating reports not Filed as of the Confirmation Hearing in conformance
with the U.S. Trustee Guidelines. The Litigation Trustee shall reasonably cooperate with the
Reorganized Debtors to provide information relating to the Litigation Trust necessary for the
Reorganized Debtors to prepare the post-confirmation quarterly reports. The U.S. Trustee shall not
be required to File a request for payment of its quarterly fees, which shall be deemed an
Administrative Expense Claim against the Debtors and their Estates.

D.     Service of Documents

        All notices, requests and demands to or upon the Debtors, the Litigation Trust and/or the
Litigation Trustee, as applicable, to be effective shall be in writing and, unless otherwise expressly
provided herein, shall be (a) in writing; (b) served by (i) certified mail, return receipt requested,
(ii) hand delivery, (iii) overnight delivery service, (iv) first class mail, or (v) facsimile
transmission; (c) deemed to have been duly given or made when actually delivered or, in the case
of notice by facsimile transmission, when received and telephonically confirmed; and
(d) addressed as follows:

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                 Entity                                  Contact Information
                                                    CarePoint Health Systems, Inc.,
                                                308 Willow Avenue, Hoboken, NJ 07030
                                                          Attn: Shamiq Syed

                                                              With a copy to

                                                         Dilworth Paxson LLP
                 Debtors                  800 King Street – Suite 202, Wilmington, DE 19801
                                          Attn: Peter C. Hughes (phughes@dilworthlaw.com)

                                                        Dilworth Paxson LLP
                                          1650 Market St., Suite 1200, Philadelphia, PA 19102
                                                     Attn: Lawrence McMichael
                                                  (lmcmichael@dilworthlaw.com)


                                                    [__________________________]

                                                           With a copy to
                                                    Sills Cummis & Gross P.C.,
           Litigation Trustee                           One Riverfront Plaza,
                                                         Newark, NJ 07102
                                                     Attn: Andrew H. Sherman
                                         (asherman@sillscummis.com) and Boris Mankovetskiy
                                                 (bmankovetskiy@sillscummis.com)


E.     2002 Service List

        After the Effective Date, any Entities or Persons that want to continue to receive notice in
these Chapter 11 Cases must File a renewed request to receive documents pursuant to Bankruptcy
Rule 2002 no later than thirty days after the Effective Date; provided, however, that the U.S.
Trustee shall be excused from this requirement and shall remain on the Bankruptcy Rule 2002
service list. To the extent a renewed request is not timely Filed with the Court, the Debtors and the
Litigation Trustee are authorized to limit notice and not include such Entities or Persons on any
post-Effective Date Bankruptcy Rule 2002 service list.

F.     Filing of Additional Documents

        On or before substantial consummation of the Plan, the Plan Proponents shall File with the
Court such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan.




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G.     Plan Supplement(s)

         Exhibits to the Combined Disclosure Statement and Plan not attached hereto shall be Filed
in one or more Plan Supplements by the Plan Supplement Filing Date. Any Plan Supplement (and
amendments thereto) Filed by the Plan Proponents shall be deemed an integral part of the
Combined Disclosure Statement and Plan and shall be incorporated by reference as if fully set
forth herein. Substantially contemporaneously with their Filing, the Plan Supplements may be
viewed at the case website (https://dm.epiq11.com/case/carepoint/info) or the Court’s website
(https://ecf.deb.uscourts.gov/). Unless otherwise ordered by the Court, to the extent any exhibit or
document in the Plan Supplement is inconsistent with the terms of any part of the Combined
Disclosure Statement and Plan that does not constitute the Plan Supplement, the Plan Supplement
shall control. The documents considered in the Plan Supplement are an integral part of the
Combined Disclosure Statement and Plan and shall be deemed approved by the Court pursuant to
the Confirmation Order.

H.     Votes Solicited in Good Faith

        Upon entry of the Confirmation Order, the Plan Proponents will be deemed to have
solicited votes on the Plan in good faith and in compliance with the Bankruptcy Code, and pursuant
to Bankruptcy Code section 1125(e), the Plan Proponents and each of their respective Affiliates,
agents, representatives, members, principals, shareholders, officers, directors, employees,
advisors, and attorneys will be deemed to have participated in good faith and in compliance with
the Bankruptcy Code and, therefore, no such parties will have any liability for the violation of any
applicable law, rule, or regulation governing the solicitation of votes on the Plan.

I.     Closing of Chapter 11 Cases

       The Reorganized Debtors and the Litigation Trustee shall, promptly after the full
administration of the Chapter 11 Cases, file with the Court all documents required by Bankruptcy
Rule 3022 and any applicable order necessary to close the Chapter 11 Cases.

J.     No Admissions

        Notwithstanding anything herein to the contrary, nothing contained in the Combined
Disclosure Statement and Plan shall be deemed as an admission by any Entity with respect to any
matter set forth herein.

K.     Inconsistency

       In the event of any inconsistency among the Combined Disclosure Statement and Plan and
any other instrument or document created or executed pursuant to the Combined Disclosure
Statement and Plan, the provisions of the Combined Disclosure Statement and Plan shall govern.

L.     Request for Expedited Determination of Taxes

        The Reorganized Debtors, the Litigation Trust, and the Litigation Trustee, as applicable,
shall have the right to request an expedited determination under Bankruptcy Code section 505(b)


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with respect to tax returns filed, or to be filed, for any and all taxable periods ending after the
Petition Date through the Effective Date.

M.     Reservation of Rights

       Except as expressly set forth herein, the Combined Disclosure Statement and Plan shall
have no force or effect unless the Court shall enter the Confirmation Order. None of the Filing of
the Combined Disclosure Statement and Plan, any statement or provision contained herein, or the
taking of any action by the Plan Proponents with respect to the Combined Disclosure Statement
and Plan shall be or shall be deemed to be an admission or waiver of any rights of the Plan
Proponents, Holders of Claims or Interests before the Effective Date.



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Dated: January 7, 2025

Respectfully submitted,

CAREPOINT HEALTH SYSTEMS, INC. on behalf of itself
and each of the Debtors

By:    /s/
       Shamiq Syed
       Chief Financial Officer




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